                                                                                                                    Page 1 of 52
            Case 3:06-cv-06384-CRB               Document 18-4        Filed 12/11/06         Page 1 of 52




         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 1
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))


         Release No. 199, Release No. ID - 199, 2002 WL           nominal officers and directors, and baselessly
        169185 (S.E.C. Release No.)                               inflated its assets.FN[FN1] The amended OIP
                                                                  further alleges that the three Respondents then
                        S.E.C. Release No.                        disseminated false and misleading statements
                          Initial Decision                        regarding the company's assets and its operations to
                                                                  purchasers and sellers of Dynamic American's
                                                                  stock. The amended OIP also asserts that
          *1 IN THE MATTER OF ROBERT G. WEEKS,                    Respondents sold over fifty million shares of
          DAVID A. HESTERMAN, AND KENNETH L.                      Dynamic American stock in the United States
                             WEEKS                                without benefit of a registration statement or a valid
             Administrative Proceeding File No. 3-9952            exemption from registration. Finally, the amended
                                                                  OIP charges Respondents with causing reporting
                                                                  and recordkeeping violations by Dynamic American
                         February 4, 2002                         and with willfully failing to file required stock
                                                                  ownership reports.

        INITIAL DECISION                                            The amended OIP alleges that Respondents
                                                                  willfully violated Sections 5(a), 5(c), and 17(a) of
        APPEARANCES:                                              the Securities Act, Section 10(b) of the Exchange
                                                                  Act, and Rule 10b-5 thereunder. It further alleges
        Thomas D. Carter for the Division of Enforcement,         that Respondents willfully violated Sections
        Securities and Exchange Commission.                       13(b)(5), 13(d), 13(g), and 16(a) of the Exchange
                                                                  Act, and Rules 13d-1, 13d-2, and 16a-3 thereunder.
        James N. Barber for Respondent Robert G. Weeks.           Finally, it claims that Respondents caused Dynamic
                                                                  American's      violations   of    Sections   13(a),
        David W. Parsons for Respondents David A.                 13(b)(2)(A), and 13(b)(2)(B)(ii) of the Exchange
        Hesterman and Kenneth L. Weeks.                           Act, and Rules 13a-1, 13a-10, 13a-11, 13a-13,
        BEFORE: James T. Kelly, Administrative Law                12b-20, and 12b-25 thereunder. As relief for these
        Judge                                                     alleged violations, the Division of Enforcement
          The Securities and Exchange Commission (SEC             (Division) seeks cease and desist orders,
        or Commission) issued its Order Instituting               disgorgement of ill-gotten gains, civil money
        Proceedings (OIP) on August 2, 1999, pursuant to          penalties, and penny stock bars against all three
        Section 8A of the Securities Act of 1933 (Securities      Respondents.
        Act) and Sections 15(b)(6)(A) and 21C of the
        Securities Exchange Act of 1934 (Exchange Act).             I held a public hearing in Salt Lake City, Utah, on
        The Commission amended the OIP on November 5,             July 10 through 14 and July 17 through 18, 2000.
        1999.                                                     Robert Weeks appeared in person and testified.
                                                                  Hesterman and Kenneth Weeks did not appear,
          In relevant part, the amended OIP alleges that,         although their attorney participated by offering
        between June 1995 and November 1996,                      arguments and cross-examining witnesses. The
        Respondents Robert G. Weeks (Robert Weeks),               parties have had an opportunity to file proposed
        David A. Hesterman (Hesterman), and Kenneth L.            findings of fact, conclusions of law, and briefs, and
        Weeks (Kenneth Weeks) took control of Dynamic             the matter is ready for decision.FN[FN2] I base my
        American Corporation (Dynamic American), a Utah           findings and conclusions on the entire record and on
        corporation, exercised authority over the company's       the demeanor of the witnesses who testified at the

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 2 of 52
            Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06         Page 2 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 2
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        hearing. I applied “preponderance of the evidence”         2000. At the administrative hearing, I also permitted
        as the applicable standard of proof. See Steadman          Respondents to question a Commission employee
        v. SEC, 450 U.S. 91, 97-104 (1981). I have                 about the circumstances under which the Division
        considered and rejected all arguments, proposed            took the investigative testimony of Cordes (Tr.
        findings, and conclusions that are inconsistent with       1107-13, 1121-27).
        this decision.
                                                                     The motion that Hesterman and Kenneth Weeks
        PRELIMINARY ISSUES                                         eventually filed in district court sought only to
                                                                   suppress testimony and documents that the Office of
        1. Delays Encountered In Resolving The Case.               the U.S. Attorney had obtained from Cordes. It
                                                                   alleged that an administrative subpoena from the
          *2 Before addressing the merits, some                    Dynamic American civil investigation had been
        explanation is warranted for the age of the case.          misused to develop evidence for the Pan World
        After the Commission issued the OIP, it took five          criminal case. In their district court motion,
        months simply to get started. First, the Division          Hesterman and Kenneth Weeks did not repeat many
        sought to amend the OIP. As noted, the                     of their earlier allegations of grand jury secrecy
        Commission granted that relief on November 5,              violations by the Division's staff, and they never
        1999. Second, the Office of the U.S. Attorney for          requested the district court to make a finding of
        the District of Utah requested a ninety-day stay in        contempt (Memorandum in Support of Motion to
        this proceeding to permit completion of two related        Suppress Evidence Relating to Robert Cordes and
        grand jury investigations. I granted that request by       for Discovery, dated September 13, 2000, attached
        Order of September 28, 1999. Third, Respondent             to Division's Response to Kenneth Weeks's and
        Kenneth Weeks was not served with the OIP or the           Hesterman's Answer to Show Cause Order, dated
        Commission's Order amending the OIP until                  September 14, 2000).
        January 5, 2000.
                                                                     I stayed the posthearing briefing schedule in this
          Shortly before the hearing was to begin,                 proceeding, pending the district court's resolution of
        Respondents Hesterman and Kenneth Weeks                    the motion to suppress. See Orders of August 29,
        alleged that certain Division personnel had violated       2000; September 21, 2000; October 24, 2000;
        the grand jury secrecy rule in the investigation           November 27, 2000; January 9, 2001; and February
        leading to this administrative proceeding and in a         27, 2001.
        related criminal investigation involving the officials
        of Pan World Minerals International, Inc. (Pan               *3 On May 8, 2001, U.S. Magistrate Judge
        World). The purported grand jury secrecy violations        Ronald N. Boyce issued a Report and
        related to the manner in which the investigative           Recommendation denying Hesterman's and Kenneth
        testimony of Robert Cordes (Cordes), a key figure          Weeks's motion to suppress the testimony and
        in this case, had been obtained. As relief,                evidence obtained from Cordes (DX 191). Among
        Hesterman and Kenneth Weeks sought dismissal,              other things, the Magistrate Judge determined that
        summary disposition, a stay, or the suppression of         there was no due process violation in the manner in
        evidence in this proceeding. After briefing and a          which the evidence was obtained from Cordes. He
        telephonic prehearing conference, I denied the             further found that there was no prohibition on using
        motion for summary disposition and the alternative         the information from Cordes gained in the Dynamic
        motion to postpone the oral hearing. I also denied         American civil investigation in the Pan World
        the motion to dismiss or suppress, without prejudice       criminal case. The Magistrate Judge also held that
        to renewal at a later date. I held that, if Respondents    once a person communicates information to a third
        diligently pursued contempt relief in federal district     party, even with the understanding that the
        court and obtained a ruling in that forum on their         communication is to be confidential, he cannot
        claim of grand jury secrecy violations, I would keep       object if that person discloses the information, or
        the administrative record open for an appropriate          records thereof, to government authorities.
        period to receive the results. See Order of July 7,

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 3 of 52
            Case 3:06-cv-06384-CRB                Document 18-4       Filed 12/11/06         Page 3 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 3
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

          The posthearing stay added eight months to the            *4 The Division's posthearing pleadings make
        age of this case, but I believed it prudent to have a     frequent reference to Pan World. In this, they
        complete record on such a sensitive allegation. Cf.       contrast with the amended OIP, which never
        Siegel Trading Co., Inc., [1977-1980 Transfer             mentioned Pan World. Robert Weeks moves to
        Binder] Comm. Fut. L. Rep. (CCH) ¶ 20,527 at              strike all such references in the Division's
        22,182 (CFTC Dec. 16, 1977) (“While the                   posthearing pleadings. He argues that the Division
        [Commodity Futures Trading Commission (CFTC)]             is seeking to introduce irrelevant information only
        considers even the allegation of violations of Grand      to besmirch the character of Respondents (RW Br.
        Jury secrecy by [CFTC] personnel to be a very             at 8). The Division insists that it referred to Pan
        serious matter, the [CFTC] will consider such             World only to test the credibility, knowledge of
        charges only in the context of a well-developed           prior wrongdoing, and bias of Respondents'
        factual record.”). I requested the parties to advise      witnesses (Div. Reply Br. at 16).
        me if either side filed written objections to the
        Magistrate Judge's Report and Recommendation.               Robert Weeks's motion will be granted in part
        See Order of April 19, 2001. I have received no           and denied in part. At this juncture, the allegations
        such notice, and I consider the allegations of            in both Pan World proceedings remain unproven
        governmental misconduct to be abandoned.                  (Tr. 196). It is inappropriate for the Division to
                                                                  assert, as if it were an adjudicated fact, that
        2. Robert Weeks's Motion To Strike The                    Hesterman and Kenneth Weeks controlled Pan
        Division's References To Pan World.                       World at the time that the company was selling
                                                                  unregistered securities (Div. Prop. Find. 291, 308,
          In June 1997, the Commission filed a civil              310; Div. Reply Br. at 16). Cf. Fed. R. Evid. 404(b)
        injunctive complaint in the U.S. District Court for       (“Evidence of other crimes, wrongs, or acts is not
        the District of Utah, alleging that Pan World,            admissible to prove the character of a person in
        Robert Weeks, Hesterman, Kenneth Weeks, and               order to show action in conformity therewith.”). It is
        others violated the registration and antifraud            likewise inappropriate for the Division to argue that
        provisions of the federal securities laws from 1989       certain witnesses in the present proceeding lacked
        through 1995. See SEC v. Pan World Minerals,              credibility because they previously provided
        Int'l, Inc., No. 2:97 CV 425B (D. Utah), SEC Litig.       professional services for Pan World or for each
        Rel. No. 15380 (June 2, 1997).                            other (Div. Prop. Find. 291,302-03, 306, 308, 310,
                                                                  327, 330). The Division presented absolutely no
          In May 1998, a grand jury indicted Robert Weeks         evidence that such witnesses did anything illegal,
        and Hesterman on three counts of securities fraud in      immoral, or unethical in their dealings with Pan
        connection with the sale of Pan World stock during        World, and I reject its efforts to create “guilt by
        1992 and 1993 (DX 191 at 2). See United States v.         association.” Finally, the Commission has made
        Weeks, No 2:98 CR 728S (D. Utah), SEC Litig.              clear that uncharged and unproven misconduct
        Rel. No. 15758 (May 28, 1998). In December 1999,          provides no basis for enhanced sanctions. See Int'l
        the grand jury returned a superceding indictment          S'holders Servs. Corp., 46 S.E.C. 378, 386 n. 19
        that added Kenneth Weeks and others as defendants         (1976).
        in that criminal case. The superceding indictment
        also added new charges relating to money                   That is not to say that all evidence concerning
        laundering (DX 191 at 2).                                 Pan World is irrelevant here. As shown above,
                                                                  Respondents were quite willing to draw attention to
          The district court stayed the Commission's civil        Pan World when they were alleging that the
        action pending resolution of the parallel criminal        Division's staff violated the grand jury secrecy rule.
        action. The stay was still in effect in February 2001     Moreover, in response to questions posed' by his
        when the district court entered an order                  own attorney, Robert Weeks asserted that the
        administratively closing the case with the provision      Commission had “harassed [him] for eight years in
        that any party could move to reopen it (DX 191 at         Pan World” (Tr. 246). Cf. SEC v. Orton, 1996 U.S.
        3). The criminal case is still pending.                   App. LEXIS 28998 (10th Cir. 1996) (noting that the

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 4 of 52
            Case 3:06-cv-06384-CRB                  Document 18-4       Filed 12/11/06         Page 4 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 4
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Commission's investigation of Pan World                     MASCO established several offshore corporations
        commenced in January 1992). At all times relevant           that transacted business in Dynamic American stock
        to the operation of Dynamic American, Robert                (DX 191 at 5). Proceeds from such transactions
        Weeks knew of the Commission's investigation of             were deposited in the Bahamian bank accounts of
        Pan World, as well as the grand jury investigation          these offshore corporations and then distributed at
        that he believed would lead to his indictment (Tr.          the direction of Kenneth Weeks or Hesterman (DX
        208). From May 10 to May 23, 1995, the                      181, DX 182).
        Commission suspended trading in Pan World stock.
        See Exchange Act Rel. No. 35697 (May 10, 1995).               Respondents were not present when the Division
        On August 8, 1995, the U.S. District Court for the          took Cordes's investigative testimony on January 27
        District of Utah entered a permanent injunction             and 28, 1999 (DX 184, DX 185). The Division
        against Pan World relating to violations of the             subpoenaed Cordes to testify at the hearing, but he
        securities registration requirements in Section 5 of        failed to appear (Tr. 1133-34; DX 188). It then
        the Securities Act. See SEC v. Pan World Minerals,          requested that I accept into evidence the transcript
        Int'l, Inc., No. 95 C 434S (D. Utah), SEC Litig. Rel.       of Cordes's investigative testimony, as well as the
        No. 14606 (Aug. 16, 1995). The Division may                 documents that Cordes authenticated during his
        properly refer to these facts in its effort to show that    investigative testimony (Tr. 1133-51, 1155-61; DX
        Robert Weeks had a motive to hide his alleged               91, DX 92, DX 93, DX 95, DX 127, DX 129, DX
        control of Dynamic American. Cf. Fed. R. Evid.              130, DX 184, DX 185). See Rule 235(a) of the
        404(b) (evidence of other crimes, wrongs, or acts           Commission's Rules of Practice (describing the
        may be admissible to prove motive or intent).               circumstances under which a prior sworn statement
                                                                    of a witness who is not a party may be introduced
        3. Adverse Inference From Refusal To Testify.               into the record). Respondents objected, citing their
                                                                    right to conduct such cross-examination as may be
          *5 The Division subpoenaed both Hesterman and             required for a full and true disclosure of the facts.
        Kenneth Weeks to testify as a part of its                   See Rule 326 of the Commission's Rules of
        case-in-chief. Neither Respondent appeared at the           Practice; 5 U.S.C. § 556(d); Barry C. Scutillo, CPA,
        hearing. I found that the subpoenas had been                74 SEC Docket 2497, 2533-34 (May 3, 2001)
        properly served (Tr. 5-13, 472-73, 677, 1131-33,            (Initial Decision) (collecting cases that discuss the
        1152-54; DX 189). The attorney for Hesterman and            importance of cross-examination), review granted. I
        Kenneth Weeks stipulated that both Respondents              admitted the investigative transcript into evidence
        would have asserted their Fifth Amendment right             under Rule 235(a)(2) (providing that a motion to
        against self-incrimination if they had appeared (Tr.        introduce a prior sworn statement may be granted if
        1152-54). In these circumstances, an adverse                the witness is out of the United States and the party
        inference may be drawn from their refusal to testify.       offering the prior sworn statement did not procure
        See Pagel, Inc. v. SEC, 803 F.2d 942, 946-47 (8th           the absence of the witness).
        Cir. 1986); N. Sims Organ & Co. v. SEC, 293 F.2d
        78, 80-81 (2d Cir. 1961); see also Baxter v.                  *6 In anticipation of such a ruling, counsel for
        Palmigiano, 425 U.S. 308, 319 (1976). No adverse            Respondents interviewed Cordes by telephone and
        inference is appropriate as to Robert Weeks, who            obtained from him an affidavit that cast doubt on
        did appear and testify.                                     his earlier investigative testimony (Tr. 1136-37,
                                                                    1150-51). Respondents then offered that affidavit
        4. Cordes's Investigative Testimony.                        into evidence. The Division did not object, and I
                                                                    also accepted it into the record (Tr. 1501-03; RX
          Cordes is a Canadian citizen who resides in the           135).FN[FN3]
        Bahamas (Tr. 1134). He operates Management and
        Services Company, Ltd. (MASCO), which forms                   While Cordes's investigative transcript and his
        corporations in various jurisdictions and provides          affidavit are in evidence, both must be weighed
        nominee officers and directors for some of them.            carefully. See SEC v. Harrison, 80 F. Supp. 226,
        On instructions from Kenneth Weeks, Cordes or               232 (D.D.C. 1948) (holding that investigative

                                    © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                      Page 5 of 52
            Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 5 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                     Page 5
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        testimony that is not subject to cross-examination         communications privilege to bar such testimony. I
        should not be disregarded, but “must be subjected          overruled his objection and accepted the testimony,
        to the strictest scrutiny for possible ambiguity and       but I also advised Kenneth Weeks's attorney that he
        equivocation”), appeal dismissed, 184 F.2d 691             could seek reconsideration of my bench ruling in his
        (D.C. Cir. 1950), vacated as moot, 340 U.S. 908            posthearing brief (Tr. 889). As noted, Kenneth
        (1951); SEC v. Glass Marine Indus., Inc., 194 F.           Weeks did not file a posthearing brief. To facilitate
        Supp. 879, 884 (D. Del. 1961) (following Harrison          further review, the basis for my ruling is set forth
        and holding that judicial reservation about such           below.
        statements “goes to the credibility to be assigned to
        the ex parte statements and not to their admissibility       *7 The Commission's Rules of Practice do not
        ”).                                                        explicitly recognize that claims of common law
                                                                   privilege may be raised in contested adjudicatory
          There are two decisions evaluating prior sworn           hearings. To be sure, Rule 230(b)(1)(i) of the
        statements accepted into evidence under Rule 235           Commission's Rules of Practice permits the
        of the Commission's Rules of Practice, and both are        Division to withhold investigative documents from
        consistent with Harrison and Glass Marine. See             respondents on the grounds of unspecified privilege.
        MGSI, Sec., Inc., 71 SEC Docket 1307, 1316-17              However, there is no provision in the Commission's
        (Jan. 12, 2000) (Initial Decision) (admitting an           Rules of Practice that authorizes a respondent to
        investigative transcript into evidence under Rule          invoke a common law privilege to bar the
        235(a)(4), notwithstanding the lack of opportunity         introduction of evidence by the Division. Rule 300
        to cross-examine, but giving reduced weight to the         of the Commission's Rules of Practice requires that
        statement because there was no cross-examination),         all hearings shall be conducted in a fair and
        final, 71 SEC Docket 1972 (Feb. 11, 2000); Carroll         impartial manner. I interpret Rule 300 as permitting
        A. Wallace, CPA, 73 SEC Docket 3969, 4014 (Dec.            the invocation of common law privileges in a
        18, 2000) (Initial Decision) (accepting into               Commission administrative proceeding to the same
        evidence the investigative transcript of a New             extent that Rule 501 of the Federal Rules of
        Zealand accountant, giving it little weight, and           Evidence would permit the invocation of common
        refusing to make demeanor-based credibility                law privileges in federal district court. The issue for
        findings), review granted.                                 decision is whether Kenneth Weeks properly
                                                                   invoked the confidential marital communications
          In short, both the federal courts and the                privilege under the facts of this case.
        Commission's Administrative Law Judges have
        recognized that ex parte investigative transcripts           Evidentiary privileges in litigation are not favored
        have limitations as fact-finding tools. By analogy,        and their scope must be construed narrowly. See
        the same limitations apply to affidavits, particularly     Univ. of Pennsylvania v. EEOC, 493 U.S. 182, 189
        where Respondents' counsel and the affiant “               (1990) (collecting cases). Federal common law
        negotiated every sentence” (Tr. 1151). This Initial        recognizes two types of marital privilege: the
        Decision evaluates the evidence obtained from              privilege against adverse spousal testimony and the
        Cordes with these limitations in mind.                     confidential marital communications privilege. See
                                                                   Trammel v. United States, 445 U.S. 40, 50-51
        5.    Confidential     Marital     Communications          (1980). The former allows one spouse called as a
        Privilege.                                                 witness against the other in a criminal proceeding to
                                                                   refuse to testify; it is designed to protect marital
          Susan Weeks was an important witness. The                harmony at the time the testimony is demanded. The
        Division offered her testimony to link her former          latter prohibits disclosure, in civil and criminal
        husband, Kenneth Weeks, to Cordes, to several              cases, of confidential communications from one
        offshore corporations formed by Cordes or                  spouse to another; it is designed to protect and
        MASCO, and to the flow of funds between the                further marital intimacy as of the time the
        United States, Canada, and the Bahamas. Kenneth            communication is made between the spouses. See
        Weeks     invoked     the   confidential   marital         Blau v. United States, 340 U.S. 332, 333 (1951);

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 6 of 52
            Case 3:06-cv-06384-CRB                Document 18-4       Filed 12/11/06          Page 6 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 6
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Wolfle v. United States, 291 U.S. 7, 14 (1934).           (Tr. 889-91).
        Unlike the adverse testimonial privilege, the marital
        communications privilege generally survives a               The courts have determined that the confidential
        terminated marriage. See Pereira v. United States,        marital communications privilege will not apply to
        347 U.S. 1, 6 (1954); United States v. Marashi, 913       communications made while the spouses, although
        F.2d 724, 729 (9th Cir. 1990).                            still technically married, are living separate lives
                                                                  with no reasonable expectation of reconciliation.
          The     confidential   marital    communications        See United States v. Singleton, 260 F.3d 1295,
        privilege may be asserted against the production of       1300-01 (11th Cir. 2001) (holding that the privilege
        evidence when four prerequisites are met: (1) there       is not available in cases of permanent separation
        must have been a communication; (2) there must            prior to divorce); United States v. Roberson, 859
        have been a valid marriage at the time of the             F.2d 1376, 1378 (9th Cir. 1988) (holding that the
        communication; (3) the communication must have            privilege did not apply, based only on the evidence
        been made in confidence; and (4) the privilege must       of separation and irreconcilability at the time of the
        not have been waived. See SEC v. Lavin, 111 F.3d          conversation, and without regard to whether the
        921, 925 (D.C. Cir. 1997); Marashi, 913 F.2d at           marriage was still valid under state law); In re
        729-30.                                                   Witness Before Grand Jury, 791 F.2d 234, 238 (2d
                                                                  Cir. 1986) (“[A] court may rely primarily on the
          *8 Much of Susan Weeks's testimony did not              duration of the couple's physical estrangement,
        involve confidential marital communications.              which is the guiding factor in determining ‘
        Rather, it involved things that Susan Weeks               permanent separation’ and which is usually clear
        observed or overheard: she received packages at her       from the record. The longer the period of
        home, sent by overnight courier from the Bahamas          estrangement at the time of the subject ‘
        (Tr. 849-50); she saw checks from a Bahamian bank         communications,’ the easier it will be for the
        made payable to the spouses' creditors (Tr. 858-60,       government to show that the couple, though still
        862); she overheard Kenneth Weeks talking to              legally wed, had been in fact permanently separated
        Cordes by telephone, and instructing Cordes to send       and thus could not invoke the privilege.”). A trial
        money (Tr. 854); and she overheard Kenneth                court must first determine if the spouses were
        Weeks talking to Hesterman by telephone, and              separated at the time of the communication and
        discussing an offshore corporation that figured in        then, if so, it should develop the record as to the
        the case (Tr. 853-54). Such evidence was not              irreconcilability of the marriage. See Singleton, 260
        privileged.                                               F.3d at 1301 (holding that cohabitation and other
                                                                  evidence of intent or lack of intent to reconcile are
          Other aspects of Susan Weeks's testimony did            important factors); United States v. Murphy, 65
        involve communications between husband and wife.          F.3d 758, 761 (9th Cir. 1995) (applying Roberson,
        The principal ones were Kenneth Weeks's                   859 F.2d at 1381).
        identification of Cordes as “Bahama Bob” (Tr.
        854); Kenneth Weeks's admission that he and                 *9 Kenneth and Susan Weeks were married in
        Robert Weeks kept Hesterman behind the scenes             October 1983 and their divorce became final on
        because of Hesterman's prior criminal conviction          October 8, 1999 (Tr. 839-40). Kenneth Weeks
        (Tr. 871-73); and Kenneth Weeks's statement in the        moved out of the spouses' marital home in Sandy,
        summer of 1997 that, if anything ever happened to         Utah, in November 1997 (Tr. 839). Thereafter, he
        him, Susan Weeks should call Bahama Bob, who              lived in New York City. When he returned to Utah
        would see to it that she would have “more money           to visit his children, he either stayed in hotels or at
        than [she] could spend” so that she could provide         his sister's house (Tr. 441, 446-47, 839). Based on
        for their children “very well forever” (Tr. 854-55).      the case law cited above, any communications
        FN[FN4] Kenneth Weeks also told his wife that he          between Kenneth and Susan Weeks after November
        used a third party to do the offshore banking for         1997 were not privileged.
        himself and Hesterman, and he bragged that the
        government would never find his offshore accounts           Communications back to November 1995 were

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 7 of 52
            Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06         Page 7 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 7
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        not privileged either. Kenneth Weeks traveled              record as RX 25 (Tr. 1012-15). Cf. Fed. R. Evid.
        extensively, starting in 1992 (Tr. 840-41, 845-46).        106 (the “Rule of Completeness”). Respondents'
        He lived apart from his wife for six months in 1996        expansive understanding of the Rule of
        and for seven months in 1997(Tr. 447, 841,                 Completeness is not justified. It does not mean that
        845-46). His brother considered him to be a                an entire writing is automatically admissible
        resident of New York at the relevant time (Tr.             whenever any part of it is introduced. See United
        201-02). While extensive business travel alone             States v. Haddad, 10 F.3d 1252, 1259 (7th Cir.
        would not necessarily be probative of marital              1993); United States v. Soures, 736 F.2d 87, 91 (3d
        separation, Kenneth Weeks had been romantically            Cir. 1984). Nor does it make admissible what
        involved with Michele Martin-also a New York               should otherwise be excluded. See United States
        resident-as early as November 1995 (Tr. 471,               Football League v. Nat'l Football League, 842 F.2d
        842-43). He maintained a joint bank account with           1335, 1375-76 (2d Cir. 1988); United States v.
        Michele Martin as early as September 1995 (DX              Burreson, 643 F.2d 1344, 1349-50 (9th Cir. 1981).
        158). He married Michele Martin as soon as his             I was particularly concerned about those portions of
        divorce from Susan Weeks became final (Tr.                 RX 25 that were written in Spanish, but were not
        446-47). In August 1997, Kenneth Weeks informed            accompanied by an English translation (Tr. 629-30,
        his wife that he was not sure he was happy with her,       1017-18, 1166). See Scutillo, 74 SEC Docket at
        and he refused her request to seek marriage                2531-32 (holding that it is fundamentally unfair to
        counseling (Tr. 844-46). I conclude that Kenneth           opposing parties and to decision makers to offer a
        and Susan Weeks were permanently separated as of           foreign language document without a verbatim
        November 1995, at the very latest, and that marital        translation by a qualified interpreter).
        communications from that point forward were not
        privileged.                                                  *10 Once Respondents raised an objection, the
                                                                   Division had to make a choice: it could acquiesce in
        6. Robert Weeks's Motion to Sanction the                   the admission of more of the document than it
        Division by Striking Its Expert Witness                    intended, or it could forego the use of the originally
        Testimony.                                                 proffered portion. Cf. American Bald Eagle v. Bhatti
                                                                   , 9 F.3d 163, 167-68 (1st Cir. 1993). The Division
          At the hearing and in their briefs, the parties          chose the latter option and it never offered the
        skirmished over a July 25, 1995, document entitled “       partial document into evidence (Tr. 1162-64,
        Bolivian Tin & Silver, S.A., An Overview and               1260-61). I denied Respondents' motion to
        Preliminary Business Plan” (RW Br. at 25-28; Div.          introduce RX 25 during the Division's case-in-chief
        Reply Br. at 17-19). The complete document is              (Tr. 1018).
        several hundred pages long. It includes a
        fourteen-page text, written in English, as well as           Robert Weeks then asked me to suspend the
        extensive appendices. Some of the appendices are           hearing for “at least” thirty days so that he could
        in English and some are in Spanish. There are no           obtain Spanish-to-English translations. See Motion
        English translations for the materials written in          to Continue Administrative Hearing, dated July 14,
        Spanish. The Division's exhibit list, dated May 26,        2000. Rule 111(d) of the Commission's Rules of
        2000, identified the document as prospective DX 28.        Practice gives hearing officers discretion to regulate
        FN[FN5] However, prospective DX 28 included                the course of the proceeding and the conduct of the
        only the first fourteen pages of text. Respondents         parties and their counsel. In the exercise of that
        never identified any prospective exhibits before the       broad discretion, I denied the motion (Tr. 1162-67).
        hearing, even after receiving a second chance to do        Robert Weeks had already missed the deadline for
        so (Tr. 296-97). See Order of June 19, 2000.               identifying proposed exhibits (Tr. 1167). See Order
                                                                   of June 19, 2000. He remained silent at a prehearing
          Respondents      objected     to    the   Division's     conference at which the parties agreed that the
        identification of only a portion of the document as a      hearing, once commenced, would continue to
        prospective exhibit (Tr. 1010-11, 1163-64). They           completion (Tr. 1167). Based on the absence of
        sought to introduce the entire document into the           good cause, the length of the proceedings to date,

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                      Page 8 of 52
            Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 8 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                     Page 8
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        and the stage of the proceedings at the time of the        SEC v. Kaufman, 835 F: Supp. 157, 159-60
        request, an adjournment was not warranted under            (S.D.N.Y. 1993), aff'd sub nom. SEC v.
        Rule 161 of the Commission's Rules of Practice.            PriceWaterhouse, 41 F.3d 805 (2d Cir. 1994);
                                                                   Viktoria-Schaefer Int'l v. U.S. Dept. of Army, 659
          Respondents then elected not to translate any            F. Supp. 85, 89 (D.D.C. 1987).
        Spanish-language documents into English. During
        Respondents' case, I accepted into evidence the            FINDINGS OF FACT
        English-language portions of RX 25, but I refused
        to accept the Spanish-language portions because            The Regulatory Background
        they were not accompanied by English-language
        translations (Tr. 1273-78).                                  *11 In April 1990, the Commission adopted
                                                                   Regulation S, 17 C.F.R. §§ 230.901 et seq., to
          Robert Weeks now argues that the Division was “          clarify and simplify the extraterritorial application
        ethically required” to translate the Spanish-language      of the registration provisions of the Securities Act.
        documents during its investigation (RW Br. at 27).         See Offshore Offers and Sales, 46 SEC Docket 40
        As a sanction for the Division's purported ethical         (Apr. 24, 1990). The Commission intended to
        lapse, Robert Weeks asks me to strike the testimony        provide American issuers with an efficient
        of the Division's expert witnesses. His theory is that     capital-raising alternative whereby stock could be
        the Division provided its experts with only a small        issued and sold outside the United States without
        portion of the data and materials that were in its         registration. Regulation S contains a general
        possession, and then herded its experts into offering      statement providing that Section 5 of the Securities
        opinions that the Spanish-language documents               Act does not apply to offers and sales of securities
        would have discredited (RW Br. at 25-28). That             that occur Outside the United States. The rule also
        request for sanctions is denied. There is no reason        has two non-exclusive safe harbors. See id. at 41.
        to assume that the significance of the                     One safe harbor applies to offers and sales by
        Spanish-language documents was apparent during             issuers, distributors, and their affiliates who are
        the investigation; indeed, their significance has not      involved in the distribution process. The other safe
        been established even today. I conclude that there         harbor applies to resales by persons other than an
        was no misconduct by the Division. If Respondents          issuer. Regulation S is not available for any
        wanted to use the Spanish-language documents for           transaction or series of transactions that, although in
        cross-examination of the Division's experts, or            technical compliance with the rules, is part of a plan
        during their case-in-chief, it was incumbent upon          or scheme to evade the registration requirements of
        them, not the Division, to have the documents              the Securities Act. See Preliminary Note 2 to
        translated.                                                Regulation S. In such cases, registration under the
                                                                   Securities Act is required.
           Robert Weeks also maintains that it was “
        unconscionable” to force Respondents to incur the            After a few years, it became clear that
        considerable        expense        of       translating    unscrupulous parties were aggressively exploiting
        Spanish-language documents into English (RW Br.            Regulation S in ways that the Commission never
        at 27). There is no merit to that claim, either. The       intended. See Laurie P. Cohen, Rule Permitting
        general rule requires each party to finance its own        Offshore Stock Sales Yields Deals That Spark SEC
        litigation. That applies with full force to translation    Concerns, Wall St. J., Apr. 26, 1994, available at
        expenses. See In re Puerto Rico Elec. Power Auth.,         1994 WL-WSJ 295529. Some market participants
        687 F.2d 501, 506-09 (1st Cir. 1982); In re Korean         were    conducting    placements    of   securities
        Air Lines Disaster of Sept. 1, 1983, 103 F.R.D. 357        (purportedly offshore under Regulation S) under
        (D.D.C. 1984). If Respondents ultimately prevail in        circumstances that indicated that such securities
        this adversary adjudication, and can show that they        were in essence being placed offshore temporarily
        are otherwise eligible, they would be free to seek         to evade the registration requirements. The
        recovery of any translation expenses under the             temptations were obvious: it was quicker, less
        Equal Access to Justice Act, 5 U.S.C. § 504. See           expensive, and avoided regulatory oversight. In the

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 9 of 52
            Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06         Page 9 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 9
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        absence of a rule requiring the timely disclosure of       Form 8-K for Regulation S sales within fifteen days
        unregistered sales of equity securities, issuers were      of their occurrence. See Periodic Reporting of
        able to sell shares offshore at a substantial discount     Unregistered Equity Sales, 62 SEC Docket 3059,
        to the domestic market price. The shares were then         3059 (Oct. 10, 1996). The amended rules took
        resold in the United States before the domestic            effect on November 18, 1996, just as the scheme
        market had been made aware of potential significant        alleged in the amended OIP was collapsing.
        dilution or effects on the financial condition of the
        issuer of such transactions.                               The Three Respondents

          In June 1995, just as the events in the present            Robert Weeks lives in Holiday, Utah (Tr. 15). He
        case were starting to unfold, the Commission issued        graduated from the University of Utah in 1968 with
        an interpretive release stating that such transactions     a degree in industrial engineering (Tr. 17). After
        ran afoul of Preliminary Note 2 would not be               working as an engineer for Kennecott Copper for
        covered by the safe harbors, and would not be              one year, he left the mining industry until 1989 (Tr.
        deemed an offer and sale outside the United States         17, 262). From 1989 through 1997, he was involved
        for purposes of the general statement in Regulation        in several South American mining projects (Tr.
        S. See Problematic Practices Under Regulation S,           262-63). He was also president and chairman of the
        59 SEC Docket 1998 (June 27, 1995) (Problematic            board of directors of Pan World (Tr. 1363, 1442).
        Practices). The Commission promised to take                Robert Weeks characterized himself as an unpaid
        enforcement action against those who sought to             consultant for Dynamic American (Tr. 57-58, 114,
        evade the registration requirements of the Securities      155, 280-81).
        Act under the color of compliance with Regulation
        S. See id. at 1999. The Division has subsequently            The record is silent about the educational
        done so several times. See e.g., SEC v. Schiffer,          backgrounds and work histories of Hesterman and
        [1998 Supplement] Fed. Sec. L. Rep. (CCH) ¶                Kenneth Weeks. Robert Weeks worked with
        90,247 at 91,085-86 (S.D.N.Y. 1998); SEC v.                Hesterman “off and on” for over ten years (Tr.
        Cavanagh, 1 F. Supp. 2d 337 (S.D.N.Y. 1998), aff'd         176). In March 1984, a grand jury indicted
        , 155 F.3d 129 (2d Cir. 1998); SEC v. Softpoint,           Hesterman for securities fraud in connection with a “
        Inc., 958 F. Supp. 846, 852-54, 859-61 (S.D.N.Y.           check kiting” scheme. See SEC Litig. Rel. No.
        1997); Charles F. Kirby, 73 SEC Docket 3550,               10312 (Mar. 20, 1984). After Hesterman pled
        3566-67 (Dec. 7, 2000) (Initial Decision), review          guilty, the federal district court sentenced him to
        granted. The Problematic Practices interpretive            three years in prison and also placed him on
        release did not create new law; it simply expressed        probation for five years. See SEC Litig. Rel. No.
        the Commission's concern about practices that had          10442 (July 2, 1984). Robert Weeks and others
        always been unlawful.                                      involved in Dynamic American's operations knew
                                                                   about Hesterman's criminal record, but they did not
          *12 At the same time, the Commission proposed            find it particularly disturbing (Tr. 299-300, 626,
        amendments to its annual and quarterly report forms        1358-60, 1366).
        for domestic issuers that would require the
        disclosure of unregistered sales of equity securities      Dynamic American and Jethro J. Barlow
        during the previous fiscal quarter, whether pursuant
        to a private placement, a Regulation S offering, or          Dynamic American was a Utah corporation,
        otherwise.      See     Streamlining      Disclosure       originally organized in 1961 under the name
        Requirements Relating to Significant Business              National Land Corporation (DX 14). At all times
        Acquisitions and Requiring Quarterly Reporting of          relevant to this proceeding, it focused on mining
        Unregistered Equity Sales, 59 SEC Docket 1991,             and mineral ventures (Tr. 302). By the end of 1994,
        1993-94 (June 27, 1995). As adopted in October             Dynamic American had no mining activities, no
        1996, the final rules require quarterly reporting for      revenues, no employees, and only $75.00 in its bank
        exempt equity sales other than those made in               account (Tr. 302-03, 343-44, 1293; DX 14).
        reliance on Regulation S, and current reporting on         Dynamic American did claim to own over $4.3

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 10 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 10 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 10
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        million worth of “high grade ore concentrates” near        door to the public markets and a way around the
        Pioche, Nevada, but it lacked the funds to put those       Commission's penny stock disclosure rules (Tr. 259,
        assets into production (Tr. 1293; DX 14 at 3). FN[FN6]     482).FN[FN9] In December 1994, Dynamic
        Jethro J. Barlow (Barlow), an accountant                   American held a special shareholder meeting to
        and management consultant, became president and            authorize up to a one-for-thirty-five reverse split of
        chairman of Dynamic American's board of directors          its common stock and the filing of restated articles
        in July 1991 (Tr. 302; DX 14 at 6; official notice of      of incorporation (Tr. 303, 1320-21; DX 14 at 4;
        Form 10-K for the year ending December 31, 1991            official notice of Information Statement pursuant to
        at F-9). Until mid-1995, Barlow conducted                  Section 14(c) of the Exchange Act, filed Nov. 10,
        Dynamic American's business, such as it was, from          1994). The shareholders authorized the board of
        Hildale, Utah, the small town on the Arizona-Utah          directors to determine the exact amount of the
        border where he lived.                                     reverse split at a later date.

          *13 Dynamic American's outside auditors had for          The Bolivian Tin Venture
        several years included a “going concern”
        qualification to their reports on the company's              Terry C. Turner (Turner) is a mining company
        financial condition (DX 14; official notice of Forms       entrepreneur and an attorney licensed to practice
        10-K for years ending December 31, 1991, 1992,             law in both Utah and Bolivia (Tr. 1361, 1490). As a
        and 1993). Continuation of an entity as a “going           businessman, Turner had introduced several South
        concern” is assumed in financial reporting in the          American mining properties to Robert Weeks over
        absence of significant information to the contrary.        the years (Tr. 1446). As a lawyer, he was general
        Information that significantly contradicts the “going      counsel for Pan World from 1989 to 1991 and
        concern” assumption relates to the entity's inability      outside counsel for Dynamic American from 1995
        to continue to meet its obligations as they become         through 1996 (Tr. 1442, 1444).
        due without substantial disposition of assets outside
        the ordinary course of business, restructuring of            In 1994, Robert Weeks asked Turner to review
        debt, externally forced revisions of its operations, or    some Bolivian mining properties for Pan World and
        similar actions. See Codification of Statements on         later for Dynamic American (Tr. 1364). In the
        Auditing Standards § 341.01 (1994).                        spring of 1995, Turner returned to Salt Lake City
                                                                   from Bolivia. Turner explained to Robert Weeks
          At the end of 1994, Dynamic American had ten             that Fernando Pero (Pero), a resident of La Paz,
        million shares of common stock authorized and              Bolivia, had expressed interest in selling his
        approximately 7.2 million shares of common stock           Bolivian mines and tin smelter for securities or cash
        outstanding (DX 14 at F4).FN[FN7] Barlow owned             (Tr. 912, 1366-68). The properties had belonged to
        over 3.8 million shares (52% of the outstanding            Pero's family for generations (Tr. 1186, 1241).
        shares), and 3,400 public investors held the
        remaining 48% of the outstanding shares (Tr. 306,            *14 Pero's tin smelter had operated for fifty years
        429; DX 14 at 4, 8). At all relevant times, bid and        in Oruro, Bolivia, but in 1992 it was compelled to
        ask prices for Dynamic American's common stock             move to a new location outside the Oruro city limits
        were posted on the National Association of                 (DX 16, Due Diligence Analysis at 2; RX 25 at 7).
        Securities Dealers's (NASD) electronic bulletin            Completion of the relocation had been hampered by
        board (DX 14 at 4).FN[FN8]                                 a lack of funds (Tr. 50, 494, 496, 589). By
                                                                   mid-1995, the smelter was 75% to 80% complete,
          Dynamic American had value because it was a              but it still needed a fuming furnace (Tr. 494, 496,
        public company in good standing, had a trading             1225). Pero's tin mines were in the Tres Cruces area
        history, claimed $4.3 million in assets on its audited     of Bolivia, approximately 150 kilometers (ninety
        financial statements, and offered net operating loss       miles) north of Oruro (DX 16, Due Diligence
        carry-forwards (Tr. 259, 305, 1480; DX 22). In             Analysis at 3, RX 25 at 4, RX 116). The mines were
        other words, Dynamic American was attractive as a          inactive, and operating capital was also required to
        “shell corporation” for anyone seeking the back            reopen them (Tr. 50-51, 495). To run the smelter

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 11 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 11 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 11
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        while his mines were closed, Pero had been                  Once Barlow decided to relinquish control and to
        purchasing low-grade tin concentrates from                allow Dynamic American to go on to other projects
        independent producers (Tr. 50-51, 495, 1261). The         without him, his later decisions were “fairly
        smelter was operating at a low level and was barely       cooperative” to “facilitate the initial agreement”
        breaking even (Tr. 495-96, 589, 1185, 1262; RX 25         (Tr. 409). I find as a fact that Barlow began to take
        at 7).                                                    directions from the three Respondents at the Salt
                                                                  Lake City meeting in June 1995. After that meeting,
        The Three Respondents Persuade Barlow To                  Barlow made no independent policy decisions
        Surrender Control Of Dynamic American                     relating to Dynamic American. I find it particularly
                                                                  significant that Barlow signed a corporate
          By mid-1995, Dynamic American was looking               resolution on June 15, 1995, authorizing the
        for a larger opportunity in the mining industry (Tr.      issuance of 600,000 shares of Dynamic American
        305). It did not have to wait long. The matchmaker        common stock to a foreign entity that was not even
        was Nathan W. Drage (Drage), a Salt Lake City             incorporated until June 28, 1995 (DX 1 at DA 41,
        attorney who represented Barlow, Dynamic                  DX 91, DX 127 at 10615 and 10793, DX 184 at
        American, Hesterman, and Pan World (Tr. 242,              102).
        304, 1288, 1291, 1329-31). Hesterman and Robert
        Weeks discussed Dynamic American with Drage,                 *15 Dynamic American then spruced itself up: it
        and Drage told Barlow to call Robert Weeks (Tr.           authorized a one-for-twenty reverse split of its
        304, 1294).                                               common stock, increased the authorized shares of
                                                                  its common stock from ten million shares to fifty
          Barlow traveled to Salt Lake City to meet with          million shares, created three new classes of
        Robert Weeks, Hesterman, and Kenneth Weeks in             preferred stock, underwent an untimely audit of its
        June 1995 (Tr. 306, 321, 427). The three                  1994 financial statements, and filed its overdue
        Respondents outlined for Barlow the possible              1994 annual report with the Commission (Tr. 252,
        acquisition of Pero's properties. They explained that     502-04, 595-96, 636, 1298, 1320; DX 3, DX 14 at
        the properties would be purchased with Dynamic            4, DX 16 at 3). Hesterman guided Barlow through
        American stock, that the venture would require            the necessary steps (Tr. 502-04, 595-96).
        more stock than Barlow held, and that it would
        require him to transfer his control of Dynamic            Robert Weeks Travels To Bolivia
        American to new ownership (Tr. 306). After the
        merger, Dynamic American would be responsible               Alan K. Burton (Burton) is a mining engineer
        for raising the money Pero needed for operating           who lives in Novato, California (Tr. 478, 508). He
        capital.                                                  has extensive mining experience, including nine
                                                                  years as a project engineer with Bechtel
          In exchange for surrendering control of Dynamic         Corporation (Bechtel) and twelve years as vice
        American, the three Respondents promised Barlow           president of the investment banking group at Bank
        that certain of his and Dynamic American's aged           of America (Tr. 479; DX 16 at 4). Burton left Bank
        payables would be retired or refinanced; that             of America in 1992. Thereafter, he was a part-time
        Barlow would receive cash payments of $3,000 per          consultant to Bechtel, his former employer, from his
        month, with possible increases to $10,000 per             home in Novato (Tr. 478, 609; DX 16). Burton had
        month; and that Barlow would get a residual interest      known Robert Weeks for one or two years, but the
        in other projects (Tr. 315-18; DX 22). Barlow never       two men had never worked together (Tr. 487).
        insisted that the agreement be memorialized in
        writing. He lacked a clear understanding as to who          Robert Weeks contacted Burton in the second
        was obligated to pay him, and whether the payments        quarter of 1995. He informed Burton that he and “
        would come from capital contributions or the              his interests” had acquired Dynamic American, a
        eventual profits of the Bolivian mining operations        shell corporation, and had identified tin assets in
        (Tr. 316-18).                                             Bolivia they wanted to purchase in return for
                                                                  Dynamic American stock. The proceeds would be

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 12 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 12 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 12
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        used to refurbish the smelter and reopen the tin           the probability of developing one or more major ore
        mines (Tr. 479-80). Robert Weeks asked Burton to           bodies in the area was extremely high and he stated
        travel with him to Bolivia, inspect Pero's properties,     that an early high priority would be a systematic and
        and determine if the assets were worth pursuing (Tr.       thorough exploration program (DX 16). Burton
        49-51, 53-54, 106-07, 493).                                wrote that “it would be nice to have more definitive
                                                                   information” on the available ore bodies, but he
          In June 1995, Robert Weeks and Burton spent              found that the shortage of knowledge was “largely
        about a week in Bolivia, where they observed the           offset by the attractiveness of the exploration play.”
        smelter and the mines and met with Pero and                He concluded that the project was “clearly worth at
        Turner. They also met with Ronald L. Atwood                least $40 million” (DX 16).
        (Atwood), Ph.D., a metallurgist who was Turner's
        business partner in various South American mining          Bolivian Tin & Silver, S.A.
        ventures (Tr. 49-50, 495, 513-14, 1252-53,
        1272-73). According to Robert Weeks and Turner,              Although Robert Weeks had engaged Turner to
        Pero's asking price was firm at $40 million (Tr. 108,      scout Bolivian mining properties for Pan World and
        1386).FN[FN10] Robert Weeks asked Burton to                Dynamic American, Turner reported back to Robert
        prepare a report that would support a $40 million          Weeks as the representative of a new and
        valuation (Tr. 106-07, 504).                               mysterious client, Bolivian Tin & Silver, S.A.
                                                                   (BT&S). BT&S was a corporation organized under
          Robert Weeks and Burton understood in July               the laws of the Turks and Caicos Islands, British
        1995 that Dynamic American would have to put up            West Indies (Tr. 1375; DX 5, RX 133). Paragraph
        $10 million to bring the Bolivian operations up to         III.B.2.a of the amended OIP alleges that BT&S
        full capacity (Tr. 498). In particular, they               was an affiliate of Dynamic American.FN[FN11]
        understood that Pero's top priority was to acquire a
        fuming furnace from Germany for the smelter (Tr.             Robert Weeks described himself as a paid
        496).                                                      consultant or “conduit” for BT&S (Tr. 27, 280). He
                                                                   stated that Turner and Pero hired him to bring
          Burton completed his report on September 5,              experts to Bolivia who could evaluate Pero's
        1995. It was in the form of a pro forma cash flow          properties and then to find someone to finance the
        analysis, and Dynamic American filed it as an              project (Tr. 30-31). Burton understood from
        exhibit to its quarterly report for the period ending      conversations with Robert Weeks that the entity
        June 30, 1995 (DX 16). Burton estimated that it            acquiring Pero's properties was comprised of North
        would take $2 million to complete the relocation of        American and Bolivian interests. He believed that
        the smelter. Once funding was available, he opined         the North American interests were Robert Weeks,
        that completion of the smelter's relocation could          Hesterman, and Kenneth Weeks (Tr. 480, 483). He
        occur within six months.                                   inferred that the Bolivian interests included Pero
                                                                   and possibly Turner (Tr. 491-92). Robert Weeks
          With respect to the mines in the Tres Cruces             told Burton that a company had been set up in the
        region, Burton concluded that the area had never           Caribbean and that the shares held by the North
        been systematically explored or drilled (DX 16). He        American interests and the Bolivian interests would
        knew that the term “reserves” had many definitions,        be transferred to that offshore entity to reduce the
        that Pero's underground tin reserves could not be          holding periods before Dynamic American's stock
        considered “proven” by the Commission's                    could be resold in the United States (Tr. 119, 487).
        definition, and that the absence of proven reserves        I credit Burton's testimony. I infer that he was
        would make it difficult, if not impossible, to raise       referring to BT&S and to Regulation S.
        funds through debt financing (Tr. 506-11,618-19,
        627-29). Burton informed Robert Weeks, who was               In October 1996, Robert Weeks told Barlow that
        disappointed (Tr. 511-12).                                 Pero owned 25% of BT&S and that he, Hesterman,
                                                                   and Kenneth Weeks collectively owned another
         *16 Nonetheless, Burton opined in his report that         three-fifths (Tr. 308-10; DX 25 at DA 204).

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 13 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 13 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 13
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        FN[FN12] I find as a fact that the three                   one share of restricted Dynamic American common
        Respondents were at least partial owners of BT&S,          stock. BT&S's promise to pay Pero five million
        and collectively had the authority to control it. The      shares of Dynamic American common stock was to
        Division asks me to infer that Turner owned the            come out of the convertible preferred stock that
        remaining 15% of BT&S (Div. Reply Br. at 11).              BT&S received from Dynamic American. As in
        FN[FN13] I expressly decline to do so. The                 step one, the Dynamic American-BT&S contract
        Division had the opportunity to question Turner on         provided that the laws of the United States and the
        this subject at the hearing, but it elected not to do      Commission's regulations would govern the resale
        so. Under the circumstances, no such inference is          of Dynamic American shares. It also specified the
        appropriate.                                               rate at which Pero could resell his Dynamic
                                                                   American shares, pledged payment to Pero for
        Dynamic American Acquires The Bolivian Tin                 consulting services, offered Pero an annual bonus,
        Properties In A Two-Step Transaction                       and provided Pero or his representative a seat on
                                                                   Dynamic American's board of directors (DX 5).
          Dynamic American acquired the Bolivian tin               Turner drafted the contract (Tr. 88, 1388). Turner
        properties in a two-step transaction. In step one of       signed on behalf of BT&S, and Barlow signed for
        the transaction, BT&S purchased all right, title, and      Dynamic American (Tr. 331, 1388).FN[FN15]
        interest in Pero's properties. In exchange, BT&S           Barlow did not negotiate the terms of the
        promised to give Pero five million shares of               transaction and he never communicated with Pero
        Dynamic American common stock, plus cash,                  (Tr. 327-28,336).
        which BT&S anticipated receiving from Dynamic
        American (Tr. 1383-84; RX 133). The contract                 After the transaction, BT&S became Dynamic
        provided that the resale of Dynamic American               American's largest shareholder. Two of the
        shares would be governed by the laws of the United         contractual terms merit attention. First, BT&S did
        States and the regulations promulgated by the              not own any Dynamic American stock when it
        Commission. It specified the rate at which Pero            agreed to terms with Pero. Second, although Pero
        could resell his Dynamic American shares once the          was willing to sell his Bolivian properties for five
        holding period expired (a maximum of $20,000 per           million shares of Dynamic American stock,
        month during the first year and $50,000 per month          Dynamic American agreed to pay twenty million
        during the second year). The contract also called for      shares of its stock to acquire the properties from
        BT&S to pay Pero at least $72,000 per year for             BT&S.
        consulting services, plus a bonus of $200,000 per
        year (RX 133, Exhibit A). Finally, the contract            Robert Weeks Selects Figurehead Officers And
        provided that Pero or his representative would have        Directors For Dynamic American And Barlow
        a seat on Dynamic American's board of directors.           Ratifies His Choices
        Drage was to hold the five million shares of
        Dynamic American common stock in escrow for                  From 1991 through mid-1995, Barlow and his
        sixty days, while Dynamic American completed a             brothers were Dynamic American's only officers
        due diligence analysis of the Bolivian tin properties.     and directors (Tr. 301-02; DX 14 at 6-7). When
        Robert Weeks was present in La Paz when Pero and           Barlow agreed to surrender control of the company,
        Turner signed the contract (Tr. 102-04, 283-84).           he understood that a capable mining person would
        FN[FN14]                                                   replace him as president (Tr. 353-55). After
                                                                   mid-1995, Barlow remained as a director. He
          *17 In step two of the transaction, BT&S passed          proved willing to sign documents about which he
        through to Dynamic American the Bolivian mining            knew nothing, as long as Robert Weeks or
        assets it had purchased from Pero (DX 5). In return,       Hesterman told him the documents were necessary
        Dynamic American agreed to pay BT&S $40                    to the success of the Bolivian tin venture (Tr. 338,
        million, consisting of twenty million shares of its        340, 342, 346-48, 351, 355, 359). Barlow's brother,
        Class A convertible preferred stock with a face            Oliver, also remained a director of Dynamic
        value of $2 per share. Each share was convertible to       American, but he had very little involvement in the

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 14 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 14 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 14
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        company's affairs (Tr. 328, 340, 346-47, 1292,             vice president and a director of Dynamic American
        1306).                                                     (Tr. 142, 170, 896, 902). Cox agreed to do so,
                                                                   partly out of gratitude for the office space and partly
          On August 1, 1995, Burton met with Robert                out of a sense of obligation to and friendship for
        Weeks, Hesterman, and perhaps Kenneth Weeks at             Robert Weeks (Tr. 906, 935). Cox knew that the
        the Pan World office in Salt Lake City (Tr. 520-21).       Commission's investigation of Pan World was
        Robert Weeks asked Burton to become president,             underway and that Robert Weeks, Hesterman, and
        chief executive officer, and chairman of the board         Kenneth Weeks preferred not to be formally
        of directors of Dynamic American (Tr. 116-17, 516;         involved in the management of Dynamic American
        RW Br. at 16). Burton agreed and negotiated the            (Tr. 208-09, 271-72, 909-10).
        terms of his compensation with Hesterman (Tr. 516;
        DX3 at 4360). The three Respondents promised                 Cox had no knowledge of the mining industry
        Burton an office in San Francisco, California, a           (Tr. 224). He made no management decisions for
        salary of $5,000 per month, and stock options (Tr.         Dynamic American and he never attended a board
        500, 513, 571, 609). Robert Weeks then sent                meeting (Tr. 902, 906). He answered the office
        Barlow the corporate resolutions ratifying Burton's        telephone, fielded investor inquiries, and signed
        employment, and Barlow signed them (Tr. 352-55;            corporate resolutions because Robert Weeks asked
        DX 1 at DA 444-45). Barlow played no role in               him to do so (Tr. 225; 906, 934-35, 950-51). Cox
        selecting his successor (Tr. 353-55).                      also transmitted directions from Robert Weeks to
                                                                   Barlow (Tr. 363; DX 24 at DA 459).
           *18 Burton assumed his new titles about a month
        before he completed his due diligence analysis (Tr.          Barlow, Burton, and Cox did not manage
        513-14). In reality, Burton had few duties. Burton         Dynamic American's finances after June 1995.
        described himself as a “president in waiting,” with        Barlow maintained Dynamic American's bank
        little to do until Robert Weeks obtained the               account at the Bank of Ephraim in central Utah, but
        necessary financing (Tr. 521). He acknowledged             that account had a balance of only $75.00. When
        that he “robber stamped” corporate resolutions             Robert Weeks and Hesterman needed Barlow to
        about which he knew next to nothing (Tr. 560-61).          write a $5,000 check on July 31, 1995, for an
        If Robert Weeks and Hesterman did not want to              investment banking agreement, they had to wire the
        answer Burton's questions about the company's              money to the Bank of Ephraim to cover the draft
        operations or finances, they would be evasive, or          (Tr. 370-73, 423-24; DX 10). Cox opened another
        would tell Burton that certain things were none of         account for Dynamic American at a bank in Salt
        his business (Tr. 541-44, 553, 609-10). Burton             Lake City, but he only used it for one transaction
        meekly accepted those responses. Burton also               (Tr. 910-11). Burton executed a signature card for
        proved remarkably naive: when he learned of                that account, but he did not know if the account was
        Hesterman's securities fraud conviction, he accepted       ever opened (Tr. 527). Burton knew nothing about
        the explanation that Hesterman had taken the blame         Dynamic American's account at the Bank of
        for his father, and the assurance that, because of that    Ephraim (Tr. 527).
        conviction, Hesterman would be careful to turn
        square comers in the future (Tr. 626).                       *19 Barlow prepared Dynamic American's
                                                                   quarterly financial statements as of March 30, 1995,
          J. Edwards Cox (Cox) owned a small software              and June 30, 1995, carrying forward the numbers
        business in the Salt Lake City area and was a friend       from the prior quarters (Tr. 379-80, 384). Turner
        and neighbor of Robert Weeks (Tr. 141, 169-70,             provided Barlow with figures from Bolivia (Tr.
        224, 906). Until the spring of 1995, Cox was               313). After compiling this information, Barlow sent
        working out of a basement office in his home (Tr.          the quarterly financial statements to Robert Weeks
        891, 935). Robert Weeks offered him office space           and the annual financial statements to the outside
        in the Pan World suite, and Cox worked there until         auditors (Tr. 313, 384). Barlow discussed the
        the spring of 1997 (Tr. 141, 169, 201, 895). In            financial statements as of June 30, 1995, with
        August 1995, Robert Weeks asked Cox to become              Robert Weeks (Tr. 380).

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 15 of 52
           Case 3:06-cv-06384-CRB               Document 18-4         Filed 12/11/06         Page 15 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 15
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

          Barlow's diary confirms that Robert Weeks and           and stored it, along with other Dynamic American
        Hesterman were involved in preparing financial            records, on the hard drive of Pan World's office
        statements for inclusion in Dynamic American's            computer (Tr. 716). Pan World, not Dynamic
        quarterly and annual reports to the Commission. On        American, paid Bosgraaf's salary (Tr. 743-44).
        one occasion, Robert Weeks informed Barlow that
        he needed the Form 10-Q as soon as possible (DX             *20 Robert Weeks was the principal contact with
        25 at DA 187). On another, Robert Weeks advised           Barlow, Burton, and Cox. Once Dynamic American
        Barlow that he was moving Dynamic American's              corporate resolutions were generated in the Salt
        fiscal year end to September 30 to match that used        Lake City office, Robert Weeks sent them to
        by the Bolivian mining venture (DX 25 At DA               Barlow for signature (Tr. 337-39, 364-70; DX 24).
        188). Hesterman informed Barlow that the NASD             Robert Weeks also told Barlow where to forward
        wanted to know why the auditor's opinion letter for       those documents after Barlow had signed them.
        the calendar year 1994 audit had been included with
        the fiscal year 1995 audit (DX 25 at DA 197).             Dynamic American Values Its Bolivian Mining
        Hesterman also advised Barlow that he had signed          Properties At $40 Million And Then At $38.6
        Barlow's name on letters, and kept Barlow up to           Million
        date on the progress of the fiscal year 1995 audit
        (DX 25 at DA 197).                                          Dynamic American valued the Bolivian mines
                                                                  and smelter at $40 million in the unaudited balance
        Dynamic American Operates Out Of Pan World's              sheet it filed with the Commission for the quarter
        Office In Salt Lake City                                  ending September 30, 1995 (DX 18). It later valued
                                                                  those properties at $38.6 million in the amended
          Dynamic American's periodic reports to the              annual report it filed with the Commission for the
        Commission listed Barlow's post office box and            fiscal year ending September 30, 1995 (DX 21).
        home in Hildale as the corporation's mailing address      FN[FN16] Paragraph III.B.2.b of the amended OIP
        through March 31, 1995 (DX 14, DX 15). Its                alleges that Dynamic American made similar
        reports to the Commission after that date used            representations about the valuation of the Bolivian
        Burton's home in Novato as the corporation's              mining properties in the balance sheet of its
        mailing address (DX 16, DX 18, DX 20, DX 21). In          quarterly report for June 30, 1995, and in the
        fact, Dynamic American conducted its business             balance sheet of the original, annual report it filed
        from Salt Lake City after June 1995.                      for the fiscal year ending September 30, 1995.
                                                                  Those allegations are inaccurate, but any error is
          At all relevant times, Robert Weeks and                 harmless.FN[FN17]
        Hesterman worked at Pan World's office in Salt
        Lake City (Tr. 114, 121, 201, 442, 703-05).                 The $40 million valuation was the price
        Kenneth Weeks had an office in the same suite that        supposedly paid under the BT&S-Dynamic
        he used when he was in Salt Lake City. Cox also           American contract. It represented twenty million
        worked in that suite, as did Bill Bosgraaf                Class A convertible preferred shares of Dynamic
        (Bosgraaf), Pan World's office manager/secretary          American, at an assigned value of $2 per share.
        (Tr. 703, 745). Bosgraaf spent 20% to 25% of his          Later, as reported in an amended annual report for
        time on Dynamic American business (Tr. 744).              the fiscal year ending September 30, 1995,
        Bosgraaf answered the telephone for Dynamic               Dynamic American reduced to $38.6 million the
        American, typed Dynamic American corporate                value it attributed to the Bolivian mineral properties
        resolutions and press releases at Hesterman's             and smelter. The change was based upon new
        request, and assembled and mailed information to          Dynamic American Class B convertible preferred
        prospective Dynamic American investors (Tr.               shares issued to BT&S. Dynamic American did this
        705-07, 710-11, 717-18, 721, 723). Bosgraaf used          because the original preferred shares (when issued
        Pan World's postage meter to pay for Dynamic              as restricted common stock in November 1995)
        American's mailings (Tr. 744). Bosgraaf also              turned out to be worth considerably less than the $2
        designed Dynamic American's corporate letterhead          per share recited in the BT&S-Dynamic American

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                               Page 16 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 16 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                               Page 16
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        contract (DX 1 at 4566-67, DX 21 at 5-6). In fact,          From June 1995 through late 1996, Dynamic
        BT&S never received convertible preferred shares          American issued approximately fifty-six million
        of any value (DX 42). BT&S eventually received            shares of stock in the names of three foreign
        twenty million shares of Dynamic American                 corporations and one foreign individual.
        restricted common stock, but the market value of
        that stock on the date of issuance was less than $6         Stockton, Ltd. (Stockton), was a corporation
        million (Tr. 184, 670-72; DX 42, DX 190). FN[FN18]        organized under the laws of Nevis, West Indies, on
        The shares had a restrictive legend and                   June 28, 1995 (DX 91, DX 127, DX 184 at 102). It
        could not be sold until the two-year holding period       was involuntarily dissolved on July 1, 1998 (DX
        had expired (Tr. 182, 670, 1455-56; DX 177 at 27).        184 at 77). Stockton had no employees and its only
                                                                  business was investing in securities (DX 184 at
        Dynamic American Values Its Pioche Assets At              124-25). Kenneth Weeks directed Cordes and
        $4.3 Million                                              MASCO to form Stockton; Cordes then sent
                                                                  Stockton's bills to Kenneth Weeks (DX 91, DX 184
          Dynamic American also claimed as assets 35,000          at 76, 80-83, 87). Kenneth Weeks instructed Cordes
        tons of tailings in the vicinity of Pioche, Nevada.       and MASCO to open brokerage accounts for
        See supra notes 6, 9. In its financial statements for     Stockton, to sign documents for Stockton, and to
        the year ending December 31, 1993, Dynamic                establish a bank account for Stockton at Canadian
        American had valued these tailings in excess of           Imperial Bank of Commerce (CIBC) in Freeport,
        $4.3 million (official notice of 1993 Form 10-K).         Bahamas (DX 93, DX 184 at 78, 86, 93, 100, 126).
        This valuation was based on their historical cost-the     Cordes knew that Hesterman was also associated
        previously recorded values of the assets Dynamic          with Stockton, but he dealt less frequently with
        American had exchanged for the tailings (DX 180           Hesterman (DX 95, DX 184 at 84-85, 89-90,
        at 3). Barlow had attempted to put the Pioche assets      107-08).
        into production, but he was unsuccessful (Tr. 1293).
                                                                    Beginning in June 1995, Stockton received over
          *21 Dynamic American continued to carry                 23.6 million shares of Dynamic American stock
        forward the $4.3 million valuation of the Pioche          authorized by Dynamic American corporate
        assets on its audited financial statements for the        resolutions (Tr. 797; DX 1, DX 169). For example,
        years ending December 31, 1994, and September             on June 15, 1995, Dynamic American's directors
        30, 1995 (DX 14, DX 20, DX 21). See supra note 9.         authorized the issuance of 600,000 shares of
        It also reported the same valuation on its unaudited      common stock to Stockton; on October 30, 1995,
        financial statements for the quarters ending March        the board authorized the conversion of Stockton's
        31, 1995; June 30, 1995; and September 30, 1995           Class B convertible preferred shares to common
        (DX 15, DX 16, DX 18).                                    stock and directed the transfer agent to issue 1.75
                                                                  million shares of common stock; on February 15,
          The Division presented expert testimony                 1996, the board authorized the issuance of 4.2
        challenging Dynamic American's valuation of the           million shares of common stock to Stockton; on
        Pioche assets.FN[FN19] Although Respondents               March 1, 1996, the board authorized the issuance of
        offered no rebuttal to the Division's valuation           5.5 million shares of common stock to Stockton;
        analysis, they demonstrated that they never changed       and on May 1, 1996, the board authorized the
        the valuation after they became involved with             issuance of four million shares of common stock to
        Dynamic American. They asserted that they had             Stockton (DX 1).FN[FN20] All such shares were
        nothing to do with the Pioche asset valuation in the      issued pursuant to Regulation S (DX 1). Another
        first place, and were not shown to have known that        three million shares were authorized on February 5,
        it was improper. This defense will be considered          1996, and 4.6 million more shares were authorized
        below.                                                    on July 22, 1996 (DX 169).

        Dynamic American Issues Shares To Foreign                  *22 Barlow had no idea what Stockton was or
        Persons In Purported Reliance On Regulation S             what services it had performed for Dynamic

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 17 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06          Page 17 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 17
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        American, and he never asked (Tr. 346-47, 356-57,         documentary evidence that Cordes provided during
        360-61): He just signed the resolutions at the            his investigative testimony outweighs the affidavit. I
        request of Robert Weeks or Hesterman, and then            find as a fact that Hesterman and Kenneth Weeks
        forwarded the executed documents to Dynamic               controlled Stockton and NCM/Hamilton.
        American's transfer agent or returned them to Salt
        Lake City. Burton signed some of these resolutions,         Fernando Cordero (Cordero) is a Bolivian
        even though he was not aware of any services              attorney who purportedly performed consulting and
        rendered, or payments made, by Stockton to                legal work for Dynamic American in Bolivia (Tr.
        Dynamic American. When Burton asked Robert                23-24, 231-32, 1313-14, 1339; DX 18 at 5). In a
        Weeks or Hesterman for an explanation, he was             Form S-8 dated July 14, 1995, Dynamic American
        informed that it was none of his business (Tr.            described Cordero as “an employee of the
        552-53; 556-57, 561). Even though Cordes and his          company's newly acquired subsidiary” (official
        employees at MASCO were the nominal officers of           notice). The specific nature of Cordero's services
        Stockton, Cordes had no idea what services                was unknown to Robert Weeks, Barlow, Burton,
        Stockton performed for Dynamic American (DX               Cox, and Drage (Tr. 23-24, 231, 342, 551, 556,
        184 at 79, 108-09). There is no evidence that             561, 933, 1314, 1339).FN[FN22]
        Stockton paid anything for these shares.
                                                                    *23 Dynamic American issued 10.9 million
          Nevada County Mining, Inc. (NCM), was another           shares of common stock to Cordero. On June 14,
        Nevis corporation, organized on June 28, 1995, and        1995, Dynamic American's directors authorized
        run by Cordes and MASCO at Kenneth Weeks's                issuance of 150,000 shares of common stock to
        instruction (DX 127, DX 129, DX 184 at 71, 184,           Cordero (DX 1). The transfer agent issued those
        189). Kenneth Weeks ordered Cordes to change the          common shares on July 20, 1995 (DX 177). On July
        name of NCM to Hamilton, Ltd. (Hamilton); that            18, 1995, Dynamic American's directors authorized
        change took effect on August 7, 1996 (DX 127, DX          issuance of 100,000 Class B convertible preferred
        184 at 185-86, 189). NCM/Hamilton had no                  shares to Cordero. Those shares could be converted
        employees and its only business was investing in          to common stock at a ratio of ten common shares
        securities (DX 184 at 198-99). Kenneth Weeks              for one convertible preferred share. On September
        directed the disbursements from NCM's/Hamilton's          18, 1995, Dynamic American's directors stated that
        Bahamian bank account (DX 184 at 189, 200).               Cordero had instructed the company to convert the
                                                                  Class B convertible preferred shares to common
          Dynamic American issued sixteen million shares          stock. The board then authorized the transfer agent
        of stock to NCM/Hamilton. Dynamic American's              to issue Cordero one million common shares, noting
        directors authorized the issuance to NCM of six           that the Regulation S holding period had passed and
        million shares of restricted common stock on or           instructing the transfer agent to issue the certificates
        about June 30, 1995 (DX 1). By corporate                  without a restrictive legend. On October 30, 1995,
        resolution dated July 1, 1996, Dynamic American's         Dynamic American's board stated that Cordero had
        directors authorized issuance to “Hamilton” of five       instructed the company to convert additional Class
        million shares of unrestricted common stock (DX 1).       B convertible preferred shares to common stock.
        FN[FN21] Finally, on August 30, 1996, the                 The board authorized the transfer agent to issue
        directors authorized issuance of another five million     1.75 million common shares to him. The board
        shares of unrestricted common stock to Hamilton           again noted that the Regulation S holding period
        (DX 1, DX 169). All such resolutions invoked              had expired, and it instructed the transfer agent to
        Regulation S (DX 1).                                      issue the shares without restrictive legend. On
                                                                  December 15, 1995, the board authorized issuance
          I have considered Cordes's affidavit, which states      of five million common shares to Cordero. On
        that Hesterman and Kenneth Weeks were merely              March 1, 1996, the directors authorized issuance of
        consultants for Stockton and Hamilton, and which          2.5 million common shares to Cordero. The transfer
        asserts that they were not the legal or beneficial        agent issued those shares on May 31, 1996 (Tr.
        owners of either company (RX 135 at ¶ 5). The             656; DX 177 at 27, 1476). Finally, on July 19,

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 18 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 18 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 18
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        1996, the directors authorized issuance of another        he mailed Dynamic American information packets
        500,000 shares to Cordero (DX 1).                         to prospective investors (Tr. 717-18). The
                                                                  information packets typically included press
          The Division does not request a finding that            releases, fact sheets, and Dynamic American's
        Cordero was a nominee for any of the three                Forms 10-Q and 10-K (Tr. 709-10, 893-94,
        Respondents. Most of the shares of Dynamic                897-901).
        American stock originally issued to Cordero were
        later reissued in the name of Stockton.                     Press releases. On August 10, 1995, Dynamic
                                                                  American announced its acquisition of the Bolivian
          I have already described the distribution of            tin smelter and mines for a price of $40 million (DX
        twenty million shares of Dynamic American to              3). In relevant part, the press release stated that the
        BT&S in November 1995. See supra note 18. The             smelter had been retooled and modernized with
        most significant feature of that distribution was its     upgraded “state of the art” equipment from
        timing. It did not occur until well after the three       Germany and that, with an investment of $500,000
        Respondents had already caused Dynamic                    for minor capital improvements and a revolving
        American to issue millions of shares to Stockton,         concentrate purchase fund, revenues could be
        NCM/Hamilton, and Cordero.                                expected to increase from their present level of $2.5
                                                                  million per year to about $12 million per year, with
        Dynamic American Touts The Bolivian Tin Venture           about a 50% net operating margin.
        To The Investing Public
                                                                    The press release also contained the following
          Robert Weeks or Hesterman told Burton that they         disclaimer: “At the present time, [Dynamic
        were going to raise $10 million to finance the            American] has insufficient capital to maximize its
        Bolivian tin venture, either through private              investment in the assets. However, after close of
        placements or a public offering (Tr. 518-20,              escrow, [Burton], newly appointed president of
        527-28). To achieve that goal, Robert Weeks,              [Dynamic American], is considering with the
        Burton, Cox, and others traveled to New York,             assistance of investment bankers and other
        Boston, London, Los Angeles, and San Francisco            professional consultants, various methods of
        (Tr. 528-33, 536-38, 602, 906, 922). They staffed         recapitalizing the company” (DX 3). Similar
        booths at investors' conventions, distributed             disclaimers appeared in Dynamic American's
        promotional literature, and pitched the Bolivian tin      quarterly reports for the periods ending June 30,
        venture to prospective market makers and investors.       1995, and September 30, 1995 (DX 16 at 6 (“At the
        Robert Weeks also promoted Dynamic American by            time of publication, [Dynamic American] has no
        taping a television “infomercial” and by appearing        firm plans as to how it could obtain sufficient
        on a radio talk show aimed at investors (Tr. 532-33,      capital to maximize its investment and meet the
        601-02, 731-32, 922). These efforts were not              afore described capital requirements.”), DX 18 at 7
        successful; the fact that the Bolivian mines lacked       (same)).
        proven reserves was frequently identified as a
        negative factor (Tr. 511, 548-49).                           On May 21, 1996, Dynamic American announced
                                                                  that its Bolivian operating subsidiary had obtained
          *24 The Division has identified several press           $1 million in financing (DX 3, DX 34). The press
        releases, letters, and fact sheets that allegedly         release further stated that the company had invested
        misrepresented Dynamic American's efforts to raise        the capital in its Bolivian tin operations and that the
        capital for the Bolivian tin venture and the              transaction would enable smelter revenues to
        profitability of the venture. In each instance, the       increase to $6 million annually. The Division
        documents originated in the Respondents' Salt Lake        contends that the document was inaccurate because
        City office (Tr. 364-65, 571-72). Robert Weeks            it implied that Dynamic American had raised the $1
        reviewed at least some of these documents for             million when, in fact, Pero had raised the money on
        accuracy (Tr. 144-45, 148-49, 159-65). Robert             his own (Tr. 175, 571-72). At the time, BT&S had
        Weeks and Hesterman then supervised Bosgraaf as           given Dynamic American notice of its intent to

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 19 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 19 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 19
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        rescind the parties' contract (DX 42). Respondents         letter forecast a net operating margin of about 50%.
        argue that no default occurred until December 1996
        or January 1997, and that Dynamic American was               The letter also claimed that the mines being
        entitled to take credit for the work done by Pero          acquired showed “commercial values” in tin and
        (Tr. 1494-95; RW Br. at 38).                               other metals of about $100 per ton. It cautioned that
                                                                   the mines “must be drilled to confirm this estimation
          On July 1, 1996, Dynamic American announced              ” (DX 7 at DA 51).
        that Vanity A.V.V. Aruba (Vanity Aruba), an Aruba
        corporation, had extended a “firm offer” to provide           A second “Dear Investor” letter and a September
        $11 million in cash in exchange for 30% of                 6, 1995, narrative announced Dynamic American's
        Dynamic American's Bolivian assets and 25% of its          acquisition of the Bolivian tin properties (DX 32,
        outstanding common stock (DX 3). The July 1 press          DX 33). Burton prepared the narrative at
        release stated that the transaction was expected to        Hesterman's request and he forwarded it to Robert
        close within sixty days. The Division's theory is that     Weeks and Hesterman in Salt Lake City (Tr.
        the three Respondents knew that Dynamic                    568-73). Burton testified that someone else signed
        American was in default on its obligations to              his name to that “Dear Investor” letter without his
        BT&S, and was in no position to deliver 30% of the         permission (Tr. 568-69). The “Dear Investor” letter
        Bolivian assets to Vanity Aruba.                           implied that the smelter already had a fuming
                                                                   furnace and that it was currently capable of
          *25 On September 27, 1996, Dynamic American              handling low grade concentrates efficiently. It also
        issued another announcement, stating that Vanity           stated that Dynamic American planned the “
        Aruba was continuing with its analysis of the              immediate construction” of a new concentrator. The
        Bolivian properties and that “all communications           letter estimated that, with relatively minor capital
        with Vanity [Aruba] indicate positive progress”            additions, the Bolivian properties could generate an
        (DX 3). The September 27 announcement also                 annual income of up to $30 million. The letter
        stated that Dynamic American expected closing to           stated that two tailings piles, with about 500,000
        occur before the end of the calendar year. In fact,        tons each, had “proven” reserves of about 1% tin
        Vanity Aruba never provided any financing to               and significant quantities of other metals. It further
        Dynamic American (Tr. 129-30, 173-74, 219-21,              reported that a German geological consulting firm
        243-46, 275-77).                                           had categorized in excess of two million tons of
                                                                   underground ore in a “proven/probable” category,
          Letters and fact sheets. In July 1995, Dynamic           at about 0.9% tin. The letter concluded that there
        American sent a “Dear Investor” letter to its              were sufficient reserves to justify a six-year mine
        shareholders (DX 7). The letter, which originated in       life.
        Respondents' Salt Lake City office and which
        Barlow signed at Robert Weeks's request, informed            *26 Dynamic American also distributed two fact
        the shareholders of Dynamic American's contract to         sheets to investors (DX 8, DX 9). These documents
        acquire the Bolivian tin smelter and mines (Tr.            stated that the existing tailings piles at the Bolivian
        366-69). The letter projected the impact of capital        mines had one million tons of “proven reserves.”
        investment in the tin smelter and mines. It did not        They also stated that the underground ore bodies
        state that Dynamic American would make the                 contained $157 million in proven, probable,
        capital investment, but the Division argues that it        possible, and prospective reserves (DX 8 at 3, DX 9
        clearly implied that Dynamic American intended to          at 3). The fact sheets reported that two of the mines
        do so. In relevant part, the letter recited that the       “have only been partially evaluated,” while the third
        Bolivian properties then had revenues of                   mine “needs extensive sampling” (DX 8 at 3, DX 9
        approximately $2.5 million per year. It projected          at 3). Finally, the fact sheets presented pro forma
        that a first phase investment of $500,000 would            financial data representing that Dynamic American's
        raise revenues to about $12 million per year, and          assets were over $44 million. The fact sheets
        that a second phase investment of $3 million would         contained a disclaimer stating that Dynamic
        raise revenues to about $37 million per year. The          American's “expectation of results is subject to

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                Page 20 of 52
           Case 3:06-cv-06384-CRB               Document 18-4         Filed 12/11/06         Page 20 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                Page 20
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        adequate financing.”                                        Hesterman instructed the transfer agent to reissue
                                                                  the vast majority of the 10.9 million common shares
          The letterhead for the first fact sheet used            that Dynamic American had originally issued to
        Burton's home address in Novato, but provided a           Cordero (DX 177). Most of these shares were
        telephone number with a Utah area code for                reissued to Stockton or to Canadian and American
        investors to call (Tr. 573; DX 8). The second fact        brokerage accounts in Stockton's name; a smaller
        sheet projected that, if Dynamic American were to         quantity of Cordero's shares was reissued to pay
        invest $5.5 million in the Bolivian tin venture, the      Dynamic American's creditors (DX 177 at 906,
        market value of Dynamic American's stock would            1323, 1327, 1534-35, 1761, 1877-80, 2001-02).
        be $17 per share within eighteen months (DX 9).           The shares that Cordero continued to own do not
                                                                  figure in the Division's request for disgorgement.
        Two Of The Foreign Entities Receiving Dynamic             Except to the extent that Cordero's shares were
        American Stock Resell It Into The United States           reissued to Stockton and traded through Stockton's
                                                                  brokerage accounts, they will not be considered
          Stockton and Hamilton resold most of their              further (DX 169 at 2-4).
        unregistered shares into the United States through
        Canadian and American brokerage accounts (DX                *27 Between August 1995 and November 1996,
        169, DX 181, DX 182). In some instances, the              Stockton's and Hamilton's brokerage accounts
        shares covered short sales (Tr. 522; DX 25 at 220,        resold approximately thirty-three million shares of
        DX 185 at 253).FN[FN23] The brokerage firms               Dynamic American stock (including six million
        forwarded the proceeds of these transactions to           shares initially issued to Cordero) for proceeds in
        Stockton's and Hamilton's accounts at CIBC in the         excess of $3.7 million (DX 169, DX 181, DX 182).
        Bahamas. Stockton received $3,363,289 from the
        brokerage firms, while Hamilton received $378,154           The over-the-counter market for Dynamic
        (DX 181, DX 182). Cordes and MASCO then                   American's common stock was essentially inactive
        disbursed the proceeds to Respondents, to persons         from February 9, 1995, through July 3, 1995, with
        who had performed services for Dynamic                    only sporadic transactions (DX 190). During June
        American, and to others, based on telephonic              1995, for example, there were only three recorded
        instructions from Hesterman or Kenneth Weeks.             transactions, involving a total of 140 shares, at a
        The Division's case for disgorgement focuses on           price of $1.25 per share. The trading price of
        receipts by and disbursements from those two              Dynamic American common stock rose during July
        Bahamian bank accounts (DX 181, DX 182).                  1995 on steady trading volume. It peaked at $9.00
                                                                  per share on August 9, 1995. Thereafter, the share
          After Dynamic American issued twenty million            price dropped dramatically, while the trading
        shares of restricted common stock to BT&S, BT&S           volume remained steady. By the end of August
        split up that stock into ten parcels of two million       1995, Dynamic American traded at $4.50 per share.
        shares each (Tr. 1455-57; DX 177 at 6-7). A               By October 5, 1995, the price per share had
        representative of BT&S then persuaded Dynamic             declined to below $1.00. It never reached $1.00
        American's transfer agent to reissue the stock            again (DX 190).
        certificates without a restrictive legend (which
        required a two-year holding period) and to treat the        Dr. Steven F. Nielsen (Nielsen) is a dentist from
        shares as subject to Regulation S (which required         Shelley, Idaho (Tr. 968). He and his wife opened a
        only a forty-day holding period) (Tr. 651-52; DX          securities account in October 1994 with La Jolla
        177 at 6-7). The record does not show whether             Capital Corporation (La Jolla), a broker located in
        these twenty million shares were ever resold, or, if      San Diego, California (Tr. 970, 981).FN[FN25] On
        they were resold, what happened to the proceeds.          August 14, 1995, Nielsen bought 850 shares of
        FN[FN24] As a result, these twenty million shares         Dynamic American at $9.00 per share (Tr. 971; DX
        do not figure in the Division's request for               168) (settlement date). The price per share dropped
        disgorgement.                                             almost immediately. When Nielsen contacted his
                                                                  account representative to express concern, the

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 21 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 21 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 21
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        representative persuaded him that the price “should           The amended annual report for fiscal year 1995
        be coming back because of the strength of the              found at least one interested reader. Turner studied
        company” (Tr. 973). On January 2, 1996, Nielsen            it carefully and learned that Dynamic American had
        bought another 800 shares of Dynamic American at           issued 38.5 million shares to consultants after the
        $0.21 per share (DX 179) (settlement date). Both           end of fiscal year 1995 (DX 21, financial
        transactions resulted in total losses.                     statements, note 14 at 19). He complained to
                                                                   Barlow and Cox about the dilution of BT&S's
        Dynamic American Defaults On Its Contractual               shares (DX 48, DX 50). When he did not receive a
        Obligations To Pero, BT&S, and Burton                      prompt explanation that satisfied him, he threatened
                                                                   to alert federal and state regulatory agencies,
          Very few of the millions of dollars raised by            brokerage firms making a market in Dynamic
        Stockton's and NCM/Hamilton's sales of Dynamic             American's stock, the shareholders, and Vanity
        American stock ever found their way to Bolivia             Aruba (DX 51). Turner did not pursue this course
        (DX 48 at 2). Robert Weeks claimed that Pero               after Robert Weeks went to Bolivia to talk to him
        eventually received $200,000 to $400,000 (Tr.              (DX 25 at DA 205). In addition, Drage made veiled
        134-37). He offered no documentary evidence to             suggestions that Dynamic American might allege
        support that assertion and I do not give it much           that Turner had committed fraud (DX 54, DX 55,
        credence.FN[FN26] No money was ever available              DX 56).
        to drill holes and test for reserves (Tr. 512-13).
        Although the fuming furnace was critical to the              The Department of Commerce of the State of
        smelter's operation and would have cost less than $1       Utah involuntarily dissolved Dynamic American's
        million, Dynamic American never provided the               corporate charter on December 1, 1996 (Tr. 392).
        capital to acquire it (Tr. 496). Pero bought the           Pero terminated his contract with BT&S and
        fuming furnace in May 1996, without Dynamic                reasserted his ownership of the Bolivian smelter and
        American's involvement (Tr. 175, 496, 572).                mines in December 1996 or January 1997 (Tr.
                                                                   1494-95). Once the Commission commenced its
          In May 1996, a representative of BT&S wrote to           formal investigation, Robert Weeks simply walked
        Barlow and Burton, declared Dynamic American in            away from Dynamic American (Tr. 245-46). Cox
        default on its contractual obligations, and expressed      resigned his positions in the spring of 1997 (Tr.
        BT&S's intent to rescind the parties' contract (DX         895).
        42). As a separate matter, Burton never received the
        salary, the stock options, or the San Francisco office       Dynamic American's stock continued to trade
        that the three Respondents had promised him (Tr.           actively during the first half of 1997, at prices
        513, 516). His total compensation over ten months          below $0.04 per share (DX 190 at 1-6). In June
        had been approximately $8,000. When Burton                 1999, a telephone solicitor for Centex Securities,
        learned of Pero's complaints, it reinforced his own        Inc., called Nielsen with the news that Dynamic
        doubts about the venture (Tr. 578-79). Burton              American's stock was “starting to move again” (Tr.
        resigned his positions with Dynamic American in            974, 993-94). The solicitor inquired if Nielsen
        June 1996 (Tr. 517; DX 3 at 5717).                         would be interested in making a purchase (Tr.
                                                                   993-94). Nielsen wisely declined. Ultimately, the
        Dynamic American's Slow Death                              Commission brought the matter to a close by
                                                                   revoking the registration of Dynamic American's
          *28 After Burton resigned, Cox took over as              common stock. See Dynamic American Corp., 70
        Dynamic American's acting president (DX 20 at 12;          SEC Docket 3187 (Nov. 1, 1999) (default order).
        DX 21 at 13). Dynamic American eventually filed
        an untimely annual report and an amended annual            Witness Credibility
        report for the fiscal year ending September 30,
        1995, but those were the last periodic reports that it      Several of the Division's factual and summary
        ever submitted to the Commission (DX 20, DX 21,            witnesses were credible, including Carleen Achuff,
        DX 170).                                                   Bosgraaf, Burton, Cox, Ginger Monson, Nielsen,

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 22 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 22 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 22
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        and Susan Weeks. Burton and Cox were named as             him from appearing and practicing before the
        Respondents in this proceeding, and both settled by       Commission as an accountant). Barlow's testimony
        agreeing to cease and desist orders. See Jethro J.        was only partially credible.
        Barlow, CPA, 71 SEC Docket 2565 (March 15,
        2000) (settlement order). I was nonetheless satisfied        Cordes testified only during the investigation and
        that they testified fully about their knowledge of        I make no demeanor-based credibility findings as to
        Dynamic American's affairs. Despite the bitter            him. A search of various electronic data bases
        divorce of Kenneth and Susan Weeks, I reject              discloses that Cordes and MASCO have had prior
        Respondents' suggestion that Susan Weeks's                brushes with the American judicial system. For
        testimony should be discounted because she was            example, both figured prominently in the events
        motivated by spite and could hardly wait to testify       leading to a criminal prosecution of others for
        against her former husband (Tr. 883-87). I found          unlawfully transporting incinerator ash from the
        her to be highly credible.                                United States for the purpose of dumping it in the
                                                                  ocean. See United States v. Reilly, 33 F.3d 1396,
          *29 Barbara Hesterman, the mother of                    1400-01 & n.2 (3d Cir. 1994). In related civil
        Respondent Hesterman, was obviously hostile to the        litigation, Cordes and others were found in civil
        Division, but she was generally credible. It would        contempt for violating an order of preliminary
        have been difficult for an issuer to effectuate the       injunction. See Joseph Paolino & Sons, Inc. v.
        distribution of a massive amount of unregistered          Amalgamated Shipping Corp., 1989 U.S. Dist.
        securities without help from an accommodating             LEXIS 8056 at *7 (E.D. Pa. July 17, 1989). The
        transfer agent. Bogutski provided that help here. In      district court ordered Cordes and the other
        an unrelated proceeding, the Commission has               contemnors to pay $30,000, plus costs and
        already barred Bogutski from association with any         attorney's fees, as sanctions for their contempt. See
        broker, dealer, municipal securities dealer, transfer     id. at *14. I have weighed Cordes's investigative
        agent, investment advisor, or investment company.         testimony and particularly his eleventh-hour
        See Robert Bogutski, 66 SEC Docket 1046 (Jan.             affidavit of recantation with this contempt finding in
        20, 1998) (settlement order). In addition, the U.S.       mind.
        District Court for the Northern District of Texas has
        permanently enjoined Bogutski from future                   *30 Robert Weeks was not a very truthful
        violations of the antifraud provisions of Section         witness, and I gave little weight to his testimony.
        10(b) of the Exchange Act and the transfer agent          His innumerable “I don't recall” answers were
        recordkeeping provisions of Section 17A of the            particularly unworthy of belief. Robert Weeks is a
        Exchange Act. See SEC v. Enviromint Holdings,             large, gruff man, and I have little doubt that Barlow
        Inc., No. 3:45-CV-2192-H (N.D. Tex.), SEC Litig.          and Burton, both of whom are soft-spoken and
        Rel. No. 15620 (Jan. 15, 1998) (consent order             physically slight, found him somewhat intimidating.
        unrelated to Dynamic American). In 1989, Bogutski         Atwood has known Robert Weeks for a long time
        pleaded guilty to a felony count of embezzling            and attested to his dominant personality (Tr. 1242,
        funds from a national bank. See Bogutski, 66 SEC          1273 (“[W]hen he's present, he's always in charge.
        Docket at 1047. Despite this extensive disciplinary       That's Bob Weeks's modus operandi.”)). Atwood's
        history, I found Bogutski to be generally credible        observation was confirmed by Robert Weeks's
        because his testimony was supported by                    conduct during the hearing. On one occasion, when
        contemporaneous documents (DX 177).FN[FN27]               Robert Weeks grew weary of testifying and
                                                                  unilaterally decided it was time for a break, he
          Barlow was a very guarded witness and I am              simply got up from the witness stand and started to
        persuaded that he recounted only a fraction of what       leave the hearing room. I directed him to sit down
        he actually knew. He, too, was a Respondent in this       and ordered the questioning to continue (Tr. 271).
        proceeding, and defaulted. See Jethro J. Barlow,          The break came after another attorney finished
        CPA, 71 SEC Docket 1903 (Feb. 14, 2000) (default          questioning him (Tr. 275). On a different occasion,
        order) (requiring him to cease and desist from            Robert Weeks had started to leave the hearing room
        future violations of the securities laws and barring      while Division counsel was cross-examining

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 23 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 23 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 23
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Turner. When Robert Weeks heard the Division's              *31 I agree with the Division that Drage had a
        question, he stopped in his tracks at the back of the     strong personal motive to skew his testimony in
        hearing room, looked at the witness, and shook his        favor of Respondents: his legal advice to Dynamic
        head from side to side, signaling the witness on how      American will be second-guessed if the three
        to answer (Tr. 1440-42).                                  Respondents are held liable, and it will be
                                                                  vindicated if the charges are dismissed. Drage's
          The Division urges me to find that all of Robert        testimony that the three Respondents were merely “
        Weeks's defense witnesses were incredible (Div.           consultants” to Dynamic American, rather than
        Prop. Find. 290-330). In essence, the Division            undisclosed controlling persons, as well as his
        depicts Atwood, Drage, and Turner as uncharged            assertion that Barlow and Burton exercised
        accomplices in the distribution of unregistered           independent judgment in conducting Dynamic
        securities and/or the antifraud violations alleged in     American's affairs after mid-1995, reflected a
        the amended OIP.                                          deliberate blindness to obvious facts. The diligence
                                                                  that Drage exercised before issuing his opinion
          I disagree with the Division as to Atwood, whom         letters is also highly suspect. Quite simply, I found
        I found to be generally truthful. Atwood prepared a       much of Drage's testimony to be false.
        Preliminary Business Plan for BT&S that contained
        a cash flow analysis and estimated the net present          Turner was a much more polished witness than
        value of Pero's properties (RX 25). The plan was          Robert Weeks, but he was no more credible. Turner
        predicated on BT&S's ability to invest $6 million in      testified that the three Respondents were not the
        those properties. Atwood acknowledged that, if            shareholders or beneficial owners of BT&S. When
        those funds were not invested, the plan would not         the Division asked him who the true owners were,
        work (Tr. 1262-64). That testimony did not                he invoked Bolivian attorney-client privilege on
        demonstrate a lack of credibility. Likewise, the fact     behalf of BT&S and refused to answer (Tr.
        that Atwood had prior business relationships with         1375-83,      1476-77).FN[FN28]   After   Dynamic
        Pan World and with Turner provided no basis for           American issued twenty million shares of restricted
        impugning his credibility. The Division offered no        common stock to BT&S, BT&S split up that stock
        evidence that Atwood engaged in any sort of               into ten parcels of two million shares each (Tr.
        misconduct in those dealings.                             1455-57). Turner also refused on the grounds of
                                                                  attorney-client privilege to say what consideration
          Drage represented Barlow and/or Dynamic                 BT&S had received from the corporations
        American from 1992 through 1997 (Tr. 1291,                accepting those shares (Tr. 1460-63). I found his
        1331). He also represented Hesterman after 1993           invocation of privilege inappropriate and directed
        (Tr. 1330). Drage prepared Dynamic American's             him to answer (Tr. 1464, 1466).FN[FN29] At that
        Forms 10-Q and 10-K through early 1995, and he            juncture, Turner claimed not to recall (Tr.
        reviewed the Forms 10-Q and 10-K that Hesterman           1466-69). His purported memory lapse was
        partially drafted after mid-1995 (Tr. 725, 1307-08,       incredible.
        1348). Drage also reviewed corporate resolutions
        authorizing the issuance of millions of shares of           Turner's letterhead stationery listed Michele
        Dynamic American stock to purported consultants,          Martin's apartment as his New York City “office”
        knowing that Hesterman, not Barlow or Burton, had         address (Tr. 1105-06, 1448-51; DX 161, RX 133).
        initiated them (Tr. 1333-34, 1350). Drage was             By coincidence, that was the same apartment
        aware of the Commission's concern about abuses of         address that Hesterman used when he instructed the
        Regulation S, yet he issued letters expressing the        transfer agent to send Dynamic American stock
        views that Dynamic American could issue                   certificates to Cordero by overnight courier (Tr.
        unregistered stock in reliance on Regulation S, and       661-62; DX 177 at 3398). I infer that Turner was
        that such stock could properly be resold into the         revolved in the scheme to issue and distribute
        United States after forty days (Tr. 672-73, 1314-16,      unregistered Dynamic American stock to BT&S and
        1336-38).                                                 to Cordero, and then to resell it into the United
                                                                  States. I have given very little weight to his

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 24 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 24 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 24
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        testimony.                                                 F.2d 137, 155 (5th Cir. 1972). A showing of
                                                                   scienter is not required. See SEC v. Universal
        DISCUSSION AND CONCLUSIONS                                 Major Indus. Corp., 546 F.2d 1044, 1046-47 (2d
                                                                   Cir. 1976). Willfulness is shown where a person
          This Initial Decision concludes that the Division        intends to commit an act that constitutes a violation.
        has presented a strong case on the securities              There is no requirement that the actor also be aware
        registration    violations,    the   reporting    and      that he is violating any statutes or regulations. See
        recordkeeping violations, the failure to file              Wonsover v. SEC, 205 F.3d 408, 414 (D.C. Cir.
        beneficial ownership reports, and most of the              2000); Arthur Lipper Corp. v. SEC, 547 F.2d 171,
        antifraud violations. The evidence of misconduct is        180 (2d Cir. 1976).
        weaker, but still sufficient, with respect to the
        affiliation between Dynamic American and BT&S                If the Division meets its burden of proving the
        between mid-June and mid-July 1995, the                    prima facie elements of a Section 5 violation, the
        misrepresentation      of   reserves   in    informal      burden shifts to Respondents to prove the
        communications such as press releases and fact             availability of any exemptions. See SEC v. Ralston
        sheets, and Respondents' personal culpability for the      Purina Co., 346 U.S. 119, 126 (1953). Sections 3
        issuer's valuation of the Pioche tailings at $4.3          and 4 of the Securities Act provide various
        million. Finally, the case for deeming Dynamic             exemptions      from     registration and    certain
        American's common stock to be “penny stock”                Commission regulations provide safe harbors from
        when it traded at or above $5.00 per share has not         registration. Exemptions from registration are
        been made.                                                 affirmative defenses that must be proved by the
                                                                   person claiming the exemptions. See Swenson v.
        1. Securities Registration Violations.                     Engelstad, 626 F.2d 421, 425 (5th Cir. 1980);
                                                                   Lively v. Hirschfeld, 440 F.2d 631, 632 (10th Cir.
          *32 Paragraphs III.C.1 and III.C.2 of the                1971). Affirmative defenses must be pled in an
        amended OIP allege that the three Respondents              answer, or they are waived. See Rule 220(c) of the
        willfully violated Sections 5(a) and 5(c) of the           Commission's Rules of Practice; cf. Fed. R. Civ.
        Securities Act by offering to sell, selling, and           Pro. 8(c). Claims of exemption from the registration
        delivering after sale to members of the public             provisions of the Securities Act are construed
        Dynamic American's stock when no registration              strictly against the claimant. See SEC v. Murphy,
        statement was filed or in effect and no exemption          626 F.2d 633, 641 (9th Cir. 1980); Quinn & Co. v.
        from registration was available.                           SEC, 452 F.2d 943, 945-46 (10th Cir. 1971).

          Section 5(a) of the Securities Act provides that,          *33 No registration statement was filed with the
        unless a registration statement is in effect as to a       Commission for the fifty million Dynamic
        security, it shall be unlawful for any person, directly    American shares issued to foreign persons or the
        or indirectly, to sell or deliver the security through     thirty-two million shares subsequently resold in the
        the use of any means or instrumentality of                 United States (DX 170, DX 172). Respondents'
        transportation or communication in interstate              answers to the amended OIP did not assert that any
        commerce or of the mails. Section 5(c) of the              exemptions from registration were applicable. The
        Securities Act provides a similar prohibition as to        facts show that all three Respondents were
        offers to sell a security unless a registration            extensively involved in the offer, sale, and delivery
        statement has been filed with the Commission. A            of the unregistered stock.
        prima facie case for a violation of Section 5 of the
        Securities Act is established by showing that: (1) no        There is no merit to Robert Weeks's argument
        registration statement was in effect or filed as to the    that his purported lack of control over Dynamic
        securities; (2) a person, directly or indirectly, sold     American's affairs absolves him of liability for his
        or offered to sell the securities; and (3) the sale was    role in the offer, sale, and delivery of Dynamic
        made through the use of interstate facilities or the       American's common stock. The prohibitions of
        mails. See SEC v. Continental Tobacco Co., 463             Section 5 are not limited to controlling persons.

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 25 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4        Filed 12/11/06          Page 25 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 25
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Rather, the language of the statute sweeps broadly         public and were not confined to private placements.
        to encompass “any person” who offers or sells an
        unregistered, non-exempt security.                           *34 Notwithstanding Respondents' failure to
                                                                   assert any exemption to the registration requirement
          Robert Weeks contends that the Division failed to        in their answers, I have considered the statutory
        show that he personally played a role in Dynamic           exemptions in the Securities Act and the applicable
        American's issuance of fifty million shares of stock       SEC rules. I find that none applies to the offer and
        or the resale of thirty-two million of those shares in     sale of Dynamic American's common stock.
        the United States (RW Br. at 40-52). He asserts that
        the testimony of Barlow and Burton was ambiguous             The Dynamic American offering fails to qualify
        on this point. While some of that testimony failed to      for exemption under Regulation S, which provides a
        distinguish whether particular acts were those of          safe harbor from registration for offshore securities
        Robert Weeks or Hesterman, Barlow made clear               transactions. As explained above, Regulation S
        that Robert Weeks was his principal contact (Tr.           shelters only bona fide overseas transactions; it is
        312, 319, 400). Documentary evidence also showed           not a haven for any foreign stock distribution that is
        Robert Weeks as the actor. For example, Barlow             part of a plan to evade the registration provisions of
        signed corporate resolutions at Robert Weeks's             the Securities Act. See Preliminary Note 2 to
        request (DX 22). In addition, there are facsimile          Regulation S. The present scheme was every bit as
        cover sheets from Robert Weeks to Barlow,                  much an abuse of Regulation S as the schemes in
        transmitting corporate resolutions and documents           Schiffer, Cavanagh, and Softpoint.
        for Barlow's signature (DX 24 at 31, 40, 74).
                                                                     The three Respondents' participation in the offer
          Robert Weeks also relies on Bosgraaf's and               and sale of Dynamic American stock involved the
        Drage's testimony that Hesterman handled all the           facilities of interstate commerce and the use of the
        details of corporate resolutions and stock issuance,       mails. This prerequisite of a Section 5 violation is
        because Robert Weeks was not particularly skilled          construed broadly to include tangential mailings and
        at such matters (Tr. 741-42, 743, 1356). That              even intrastate telephone calls. See United States v.
        testimony must be balanced against Atwood's                Wolfson, 405 F.2d 779, 783-84 (2d Cir. 1968).
        observation that Robert Weeks was in charge,               Here, the Section 5 jurisdictional requirement was
        wherever he went (Tr. 1273). I conclude that Robert        amply satisfied by mailing packets of information to
        Weeks delegated this aspect of the stock-issuance          current shareholders and prospective investors and
        scheme to Hesterman, and that such delegation              by the televised infomercial and radio broadcasts.
        cannot absolve him from culpability.
                                                                     For the reasons stated, I conclude that the three
          Robert Weeks further claims that his own role            Respondents willfully violated Sections 5(a) and
        was narrowly confined to Dynamic American's                5(c) of the Securities Act by offering to sell, selling,
        acquisition of the Bolivian tin venture, to attempts       and delivering after sale unregistered Dynamic
        to get the project into production, and to                 American common stock by means of interstate
        unsuccessful efforts to find financing for the             commerce during the period June 1995 through
        venture. The testimony of Cox was to the contrary.         November 1996.
        Cox routinely conferred with Robert Weeks before
        he signed corporate resolutions authorizing the            2. Antifraud Violations.
        issuance of millions of shares of Dynamic American
        stock to Stockton, NCM/Hamilton, BT&S, and                   Paragraphs III.B.1 and III.B.2 of the amended
        others (Tr. 934-35, 950-51; DX 1). Cox rarely dealt        OIP allege that the three Respondents willfully
        with Hesterman (Tr. 915). Robert Weeks also was            violated Section 17(a) of the Securities Act, Section
        involved in the offer and sale of Dynamic American         10(b) of the Exchange Act, and Rule 10b-5 through
        stock through the television infomercial, radio talk       a series of misrepresentations and omissions.
        shows, and his work at investor conventions. Those
        promotional activities were aimed at the general            Section 17(a) of the Securities Act proscribes

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 26 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 26 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 26
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        fraudulent conduct in the offer or sale of securities        Scienter is defined as “a mental state embracing
        and Section 10(b) of the Exchange Act and Rule             intent to deceive, manipulate, or defraud.”
        10b-5 proscribe fraudulent conduct in connection           Hochfelder, 425 U.S. at 193 n. 12. It may be
        with the purchase or sale of securities. These             established by a showing of recklessness. David
        provisions prohibit essentially the same type of           Disner, 52 S.E.C. 1217, 1222 & n.20 (1997) (citing
        conduct. See United States v. Naftalin, 441 U.S.           Hollinger v. Titan Capital Corp., 914 F.2d 1564,
        768, 773 n.4 (1979). To prevail under Section              1568-69 (9th Cir. 1990) (en banc)). The en banc
        17(a)(1) of the Securities Act, Section 10(b) of the       Ninth Circuit adopted the standard of recklessness
        Exchange Act, and Rule 10b-5, the Division must            articulated by the Seventh Circuit in Sundstrand
        show: (1) misstatements or omissions of material           Corp. v. Sun Chem. Corp., 553 F.2d 1033, 1044-45
        facts; (2) made in connection with the offer, sale, or     (7th Cir. 1977): “[A] highly unreasonable omission,
        purchase of securities; and (3) that Respondents           involving not merely simple, or even inexcusable
        acted with scienter. See Ernst & Ernst v. Hochfelder       negligence, but an extreme departure from the
        , 425 U.S. 185, 193 n. 12 (1976). No scienter              standards of ordinary care, and which presents a
        requirement exists for violations of Sections              danger of misleading buyers and sellers that is
        17(a)(2) or 17(a)(3) of the Securities Act;                either known to the defendant or is so obvious that
        negligence alone is sufficient. See Aaron v. SEC,          the actor must have been aware of it.”
        446 U.S. 680, 701-02 (1980); Pagel, 803 F.2d at
        946.                                                       a. The three Respondents failed to disclose that they
                                                                   were the de facto officers and directors of Dynamic
           *35 A fact is material if there is a substantial        American and that Barlow, Burton, and Cox were
        likelihood that a reasonable investor would consider       figureheads.
        it important in making an investment decision and if
        disclosure of the omitted fact would have been               The Division presented a strong case that Robert
        viewed by the reasonable investor as having                Weeks, Hesterman, and Kenneth Weeks made all of
        significantly altered the total mix of information         the significant decisions affecting Dynamic
        made available. See Basic Inc. v. Levinson, 485            American between mid-June 1995 and November
        U.S. 224, 231-32 (1988); TSC Indus., Inc. v.               1996, and that Barlow, Burton, and Cox were no
        Northway, Inc., 426 U.S. 438, 449 (1976).                  more than titular officers and directors who
                                                                   followed their instructions. See supra pp. 15-16,
          The Division need not prove detrimental reliance         20-21, and 36-38. A company cannot lawfully hide
        by customers in an enforcement proceeding. See             a significant figure in its management behind the
        Martin Herer Engelman, 52 S.E.C. 271, 283 n.43             vague title “consultant.” See SEC v. Enterprise
        (1995) (citing SEC v. Rana Research, Inc., 8 F.3d          Solutions, Inc., 142 F. Supp. 2d 561, 574 (S.D.N.Y.
        1358, 1364 (9th Cir. 1993); SEC v. Blavin, 760             2001).
        F.2d 706, 711 (6th Cir. 1985)).
                                                                      *36 The identity of a public company's officers
          Courts have interpreted broadly the requirement          and directors is material to the reasonable investor.
        of Exchange Act Section 10(b) and Rule 10b-5 that          See SEC v. Kimmes, 799 F. Supp 852, 856 (N.D.
        violations must occur “in connection with” the             Ill. 1992), aff'd sub nom. SEC v. Quinn, 997 F.2d
        purchase or sale of a security. See Superintendent of      287 (7th Cir. 1993). For that reason, Dynamic
        Ins. v. Bankers Life & Cas. Co., 404 U.S. 6, 12            American's assertion that Barlow, Burton, and Cox
        (1971); In re Ames Dep't Stores, Inc., Stock Litig.,       were exercising managerial and directorial
        991 F.2d 953, 964-65 (2d Cir. 1993). The                   discretion was misleading as to a material fact. The
        jurisdictional requirements of the antifraud               misstatement was particularly aggravated in the case
        provisions are also interpreted broadly, and are           of Burton, given his extensive experience as a
        satisfied by intrastate telephone calls and even the       mining engineer. The failure to disclose the three
        most ancillary mailings. See Softpoint, 958 F. Supp.       Respondents' involvement with Dynamic American
        at 865.                                                    was also misleading as to a material fact. Disclosure
                                                                   of their significant participation in Dynamic

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 27 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 27 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 27
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        American would certainly have altered the total mix       That explanation does not make sense in light of
        of information available to the reasonable investor.      Burton's report. Burton wrote not only that “the
        FN[FN30]                                                  Bolivian political situation is now quite stable,
                                                                  inflation is under control, and privatization is the
          I conclude that the three Respondents acted with        order of the day,” but also that “the entire Bolivian
        scienter   by     knowingly    and    intentionally       tax code is presently under review” (DX 16, Due
        misrepresenting the roles of Barlow, Burton, and          Diligence Report, at 2, 4).
        Cox, and by concealing their own roles in Dynamic
        American.                                                    *37 Dynamic American told its shareholders very
                                                                  little about BT&S. It did not disclose the
          The three Respondents are liable as primary             jurisdiction in which BT&S had been incorporated
        violators for these material misrepresentations and       or the identity of BT&S's owners. It did not inform
        omissions because they participated in a fraudulent       its shareholders that foreign secrecy laws barred it
        scheme. See SEC v. U.S. Environmental, Inc., 155          from learning the identity of BT&S's beneficial
        F.3d 107, 111 (2d Cir. 1998); SEC v. First Jersey         owners. It did not explain that the terms under
        Secs., Inc., 101 F.3d 1450, 1471 (2d Cir. 1996);          which BT&S had acquired the Bolivian properties
        Enterprise Solutions, 142 F. Supp. 2d at 575.             from Pero differed significantly from the terms
                                                                  under which Dynamic American acquired the same
        b. The three Respondents failed to disclose that          properties from BT&S a few days later. It
        BT&S was an affiliate of Dynamic American and             eventually described BT&S as its largest
        that Dynamic American's acquisition of the                shareholder (DX 20 at 13, DX 21 at 14). When an
        Bolivian mineral properties from BT&S was not an          issuer is involved in a major acquisition, as
        arms' length transaction.                                 Dynamic American was here, information about the
                                                                  financial and business relationship between the
          Robert Weeks told Barlow that he, Hesterman,            issuer and those on the other side of the bargaining
        and Kenneth Weeks owned three-fifths of BT&S.             table may be critical to the investor who is
        Robert Weeks also outlined for Burton the three           evaluating the acquisition. The question is whether
        Respondents' plan to use a Caribbean corporation to       the duty to disclose material information about
        exploit the perceived loopholes in Regulation S to        BT&S to Dynamic American's shareholders initially
        offer and sell Dynamic American stock in the              belonged to Barlow, or to the three Respondents.
        United States. I credit Burton's testimony and
        Barlow's diary. I reject as incredible the testimony        The Division argues that Barlow relinquished
        of Robert Weeks and Turner that the three                 control of Dynamic American to the three
        Respondents did not control BT&S. I presume that          Respondents at the Salt Lake City meeting in
        the three Respondents were rational economic              mid-June 1995 (Div. Prop. Find. 88, 97, 99, 100;
        actors, and that they were not merely donating their      Div. Br. at 14-15; Div Reply Br. at 11-13). Robert
        “consulting” services to Dynamic American. If the         Weeks claims that any transfer of control did not
        three Respondents did not own at least part of            occur until a month later, at the earliest, when
        BT&S, there would be no plausible explanation as          Dynamic American signed its contract with BT&S
        to how they expected to be compensated for their          (RW Br. at 13-15). If Robert Weeks is correct, the
        time and efforts in putting together the Bolivian tin     alleged affiliation between Dynamic American and
        venture.                                                  BT&S would not have existed during the
                                                                  negotiations, there would have been no conflict of
          Robert Weeks suggests that BT&S was nothing             interest, and the allegation of a lack of arms' length
        more than Pero's offshore alter ego, created because      bargaining between Dynamic American and BT&S
        the Bolivian economy had experienced severe               would fail. Under Rule 12b-2, “control” may be
        inflation during the mid-1980s, and because               measured through the ownership of voting
        prosperous Bolivians were attempting to avoid             securities, by contract, or otherwise. See supra note
        Bolivian taxes and inflation in 1995 by sending           11. BT&S did not “own” any Dynamic American
        their assets abroad (Tr. 1373-75; RW Br. at 23).          voting securities until the autumn of 1995, well after

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 28 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 28 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 28
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        the transaction had closed. Barlow did not execute         million in Dynamic American's balance sheets.
        the contract until July 18, 1995. See supra note 15.
        Thus, resolution of the issue turns on whether               Patten, the Division's accounting expert, opined
        control by the three Respondents was “otherwise”           that the valuations of the Bolivian mining properties
        established as of mid-June 1995.                           at $40 million, and later at $38.6 million, did not
                                                                   comply with GAAP (DX 178). He stated that
          Barlow began to take directions from the three           GAAP requires that an asset acquired for stock be
        Respondents after the Salt Lake City meeting. He           valued at a reliably determined fair value. In
        explained that once he made the decision to allow          Patten's view, neither the fair value of Dynamic
        the company to go in a new direction without him,          American's convertible preferred shares, nor the fair
        he stopped making independent policy judgments.            value of the Bolivian mineral properties, were
        He signed a corporate resolution authorizing the           reliably determinable.
        issuance of 600,000 shares of Dynamic American
        common stock to Stockton on June 15, 1995. On                Patten explained that, although the Class A
        that basis, I conclude that Barlow surrendered             preferred shares were convertible to restricted
        control of Dynamic American to the three                   common stock, there was no evidence to support the
        Respondents in mid-June 1995.                              assigned redemption Value of $2 per share. He
                                                                   observed that there was no public market for
          Although Pero sold his Bolivian properties to            Dynamic American's preferred stock. Moreover,
        BT&S for five million shares of Dynamic American           given the conversion feature, Patten opined that the
        stock, Dynamic American paid twenty million                appropriate value should have been based on the
        shares to BT&S. It was material to Dynamic                 trading price of the common stock and then
        American's shareholders to know who owned                  discounted to reflect the restricted nature of such
        BT&S and why Pero's properties had become so               stock. When the Bolivian properties were later
        costly in such a short period of time. Because             valued at $38.6 million, the value was similarly
        control had shifted from Barlow to the three               arbitrarily based on the issuance of one million
        Respondents in mid-June 1995, the duty to disclose         shares of Dynamic American's Class B preferred
        this   information     to     Dynamic     American's       stock with a stated face and redemption value of
        shareholders rested with the three Respondents.            $38 per share, plus $600,000 of value ascribed to
                                                                   the twenty million shares of Class A preferred
          *38 I conclude that BT&S was an affiliate of             stock. As with the initial issuance of the Class A
        Dynamic American as of mid-June 1995, and that             preferred shares, Patten found no evidence to
        the contract between BT&S and Dynamic American             support the stated face and redemption value of the
        was not an arms' length transaction, as alleged in the     Class B shares.
        amended OIP. Because the affiliation negated the
        presumption that Dynamic American was exercising             Patten also concluded that the fair value of the
        independent judgment during its negotiations with          Bolivian mineral properties acquired was not
        BT&S, that affiliation was material information that       reliably determinable. In particular, he testified that
        Dynamic American's shareholders had a right to             Burton's pro forma cash flow analysis was not
        know. See SEC v. World-Wide Coin Invs., Ltd.,              supported by any mineral reserve studies. Based on
        567 F. Supp. 724, 757 (N.D. Ga. 1983).                     the lack of proven reserves, Patten opined that
                                                                   Burton's report did not provide any basis for
          I further conclude that the three Respondents            measuring the fair value of the Bolivian properties.
        acted with scienter by knowingly and intentionally
        concealing the affiliation of Dynamic American and           Snow, the Division's expert geologist, testified
        BT&S and the lack of arms' length bargaining over          about the relationship between mineral reserves and
        the Bolivian tin properties.                               Burton's cash flow analysis (DX 180). He explained
                                                                   that the tons of ore represented in a valid cash flow
        c. Respondents baselessly valued the Bolivian              analysis must be based on a documented system
        mining properties at $40 million and then at $38.6         analyzing ore thickness and areas of mineral

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 29 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 29 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 29
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        influence. In Snow's judgment, if the tons and grade       5-6). At the hearing, Snow stated that he did not
        estimates of the reserves are wrong, a cash flow           know enough about the metallurgy of the tailings to
        analysis, no matter how carefully done, is useless.        evaluate them (Tr. 1063-65). Respondents offered
        Burton stated that the Bolivian reserves were not          some evidence to show that Snow may well have
        considered proven by United States standards. He           been mistaken, and that Snow in fact had access to
        also characterized the Bolivian mines as just an           the three-dimensional data he claimed was missing
        interesting exploration opportunity. In Snow's             (Tr. 1235-36; RX 125, RX 126). In contrast to
        opinion, no value could be attributed to the Bolivian      Snow, Heard had discussed these tailings in his
        mines on the basis of Burton's report (DX 180 at 5).       November 15, 1993, report, and Atwood and
                                                                   Turner had valued them at $81.5 million in their
          *39 Neither Snow nor the Division challenged             Preliminary Business Plan (Tr. 1063-65, 1222,
        Dynamic American's valuation of the new smelter            1235-36; RX 25 at 4-5 and Appendix 1, RX 104,
        outside Oruro (Tr. 1043-44, 1051, 1079-80; RW              RX 106). Robert Weeks insisted that the Bolivian
        Br. at 32-34). In its September 30, 1995, quarterly        tailings would “meet anybody's standards of proven
        report,     Dynamic       American        apportioned      reserves” (Tr. 268, 293).
        approximately $20 million of the $40 million
        purchase price to the smelter (Tr. 1433-34; DX 18            Burton acknowledged that the tailings could be
        at 3). At the hearing, Robert Weeks opined that the        reworked, but he did not believe that there was
        smelter alone was worth more than $50 million and          much point to refurbishing the mills in the Tres
        Turner asserted that the smelter had a net present         Cruces region to treat only one million tons of
        value of at least $40 million (Tr. 268, 1433-34).          tailings (Tr. 506-07, 618-19; DX 16, Due Diligence
        Turner and Atwood did not value the smelter                Report at 3). In Burton's judgment, the bulk of the
        separately when they wrote the Preliminary                 future mining would come from tin ore that was still
        Business Plan in 1995 (Tr. 1430-34; RX 25). It             underground, and the tailings piles were largely
        would have been a simple matter for Respondents to         irrelevant.
        demonstrate the actual construction cost of the
        smelter through documentary evidence. In the                 The primary purpose of Burton's report was to
        absence of such corroborating evidence, Robert             review Atwood's and Turner's Preliminary Business
        Weeks's and Turner's hearing testimony about the           Plan and to determine a reasonable value for the
        value of the smelter was not trustworthy.                  proposed acquisition. Robert Weeks is not free to
                                                                   ignore Burton's analysis of the tailings and rely on
          It is difficult for the untrained eye to discern $20     the Preliminary Business Plan's valuation, simply
        million or $40 million or $50 million worth of value       because it used a much bigger number than Burton
        from the photographs of the smelter (Tr. 1223-27,          considered justified. I conclude that Burton's
        1397-98; RX 110, RX 111, RX 112). However, I               analysis, not Snow's, precluded Dynamic American
        will not resolve the issue on that basis. Robert           from attributing any value to the tailings piles. I
        Weeks has exposed a rather large hole in the               resolve this issue in the Division's favor.
        Division's case. The weight of the evidence fails to
        demonstrate that Dynamic American committed                  *40 Reserves must be drilled, sampled, and
        fraud when it apportioned approximately $20                categorized, so that the size, shape, depth and ore
        million of the $40 million acquisition price to the        content are established in accordance with industry
        new smelter.                                               criteria. Based on the work of an American
                                                                   geologist he respected, Burton knew that the
          Robert Weeks also argues that the Division               underground ore bodies in the Tres Cruces region
        improperly ignored one million tons of tailings that       had not been extensively explored. While there had
        Pero owned in the Tres Cruces region of Bolivia            been samples from adits, there had been very little
        (RW Br. at 39). Dynamic American valued the                drilling (Tr. 507, 598, 1280-82). Burton knew that
        tailings at $10 million in its September 30, 1995,         the American geologist could not categorize the
        quarterly report (DX 18 at 3). Snow did not discuss        underground ore bodies as having proven reserves.
        these tailings in his prepared testimony (DX 180 at        He informed Robert Weeks, who expressed

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 30 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4        Filed 12/11/06          Page 30 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 30
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        disappointment (Tr. 511-12). Burton was anxious to           Robert Weeks claims that at all relevant times the
        avoid the issue of reserves in his report (Tr. 598). I     three Respondents believed that the necessary
        accept Snow's testimony that Dynamic American              funding was imminent (RW Br. at 31). He argues
        could not properly attribute any value to the              that Dynamic American made a good faith effort to
        underground ore bodies in these circumstances.             obtain funding through a series of financial
                                                                   presentations in New York, Boston, London, and
          The acquisition price of Pero's assets had been set      California. He contends that the fact that these
        at $40 million even before Burton completed his            efforts were unsuccessful does not prove that
        due diligence analysis. I cannot accept the claim          Dynamic American's claims about its ability to fund
        that Pero had set a non-negotiable price. See supra        the venture were fraudulent.
        note 10. I conclude that Dynamic American
        overstated the value of the Bolivian mineral                 *41 Every promise “necessarily carries with it the
        properties in its balance sheets for the quarter           implied assertion of an intention to perform it.”
        ending September 30, 1995, and the amended                 Restatement of the Law, Torts 2d § 530 (1977).
        annual report for the fiscal year ending September         That implicit representation is at the core of all
        30, 1995 (DX 18, DX 21). The same                          promissory undertakings and is obviously material
        overstatements appeared in the pro forma                   to them. For this reason, as expressed by the
        post-escrow balance sheet in the June 30, 1995,            Restatement, “a promise made without such an
        quarterly report, and in the text of the annual report     intention [i.e., to perform it] is fraudulent.” See also
        for the fiscal year ending September 30, 1995 (DX          W. Prosser and W. Keeton, The Law of Torts § 109
        16, DX 20). See supra note 17. The pro forma               (5th Ed. 1984) (citations omitted):
        results were misleading in that they failed to                    Unless the present state of mind is misstated,
        describe fully the controlling accounting principles            there is of course no misrepresentation. When a
        on which they were based. Giving Respondents the                promise is made in good faith, with the
        benefit of the doubt about the value of the new                 expectation of carrying it out, the fact that it
        smelter outside Oruro, the overstatements involved              subsequently is broken gives rise to no cause of
        approximately $20 million, a material amount.                   action, either for deceit, or for equitable relief.
                                                                        Otherwise, any breach of contract would call
        d. Respondents misrepresented the status           of           for such a remedy. The mere breach of a
        Dynamic American's operations in Bolivia.                       promise is never enough in itself to establish
                                                                        the fraudulent intent.
          Ability to fund. The amended OIP alleges that
        Respondents misrepresented Dynamic American's                The common law distinction between a fraudulent
        ability to fund its Bolivian operations. It is             promise, made without intending to perform it, and
        undisputed that Dynamic American made several              mere breach of promise, has also been recognized
        representations that later proved to be inaccurate,        in fraud cases decided under the federal securities
        such as a “Dear Investor” letter stating that the          laws. See Wharf (Holdings) Ltd. v. United Int'l.
        company “plans the immediate construction” of an           Holdings, Inc., 121 S. Ct. 1776, 1782 (2001);
        expanded concentrator; a July 1, 1996, press release       Threadgill v. Black, 730 F.2d 810, 811-12 (D.C.
        announcing a “firm offer” of $11 million in                Cir. 1984); Walling v. Beverly Enterprises, 476
        financing from Vanity Aruba; and a September 27,           F.2d 393, 396-97 (9th Cir. 1973); A.T. Brod & Co.
        1996, announcement that it expected to close the           v. Perlow, 375 F.2d 393, 395-98 (2d Cir. 1967); cf.
        Vanity Aruba funding proposal by the end of the            Wills v. First Financial Corp., [1984-1986 Transfer
        year (DX 3, DX 32). In addition, the cash flow             Binder] Comm. Fut. L. Rep. (CCH) ¶ 22,605
        projections in Burton's report assumed the                 (CFTC May 31, 1985) (applying the same
        company's ability to fund capital improvements of          principles under the Commodity Exchange Act).
        $10 million (DX 16).FN[FN31] Burton's report was
        widely circulated after it was incorporated into             The implicit promise at issue here was the
        Dynamic American's quarterly report.                       commitment of Dynamic American to use its best
                                                                   efforts to fund the Bolivian tin venture. Whether

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 31 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 31 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 31
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        failure to obtain such funding constitutes fraud or       Hesterman withdrew $57,000          from    the   same
        mere breach of promise turns on the promisor's state      account (DX 181 at 2-3).
        of mind in making the promise. If the promise was
        made without the intention of performing it, or with        Dynamic American's announcement of a so-called
        the secret reservation not to perform fully, then         “firm offer” of $11 million in funding from Vanity
        fraud occurred. But if performance was in good            Aruba was fraudulent when made because
        faith intended when the promise was made, a               Respondents knew or should have known it had no
        subsequent default is at worst a breach of promise.       chance of succeeding. Respondents knew that
                                                                  Dynamic American would have to give Vanity
          The intention of the promisor is a question of fact     Aruba 30% of its Bolivian assets if the loan were
        that is often determined by evaluation of external        made. Dynamic American had no stake in the
        occurrences and inferences from the circumstances.        Bolivian properties that it could legitimately offer to
        See Wills, ¶ 22,605 at 30,596-97. Thus, fraud may         Vanity Aruba at the time. The three Respondents
        be inferred if the promisor is insolvent, in              also needed additional time to perform on their
        bankruptcy, or otherwise lacks sufficient capability      promises to Barlow and Burton almost as soon as
        to perform the promise when made. The requisite           they made those promises (Tr. 322-23, 563-64).
        intent not to perform can often be inferred from          The weight of the evidence supports the conclusion
        post-promise conduct: repudiating the promise             that Dynamic American's implicit promise to fund
        shortly after it was made without any intervening         the Bolivian tin venture was fraudulent when made.
        event apparently justifying the breach; seeking to        This is not a case involving changed circumstances.
        justify repudiation on something that was foreseen
        or foreseeable; failing to attempt even a degree of         Profitability of the smelter. The amended OIP
        performance; or repudiating promises made to other        next alleges that the three Respondents committed
        persons similarly situated. See id.                       fraud when Dynamic American claimed that the
                                                                  smelter outside Oruro was currently earning
          *42 In the present case, there is evidence on both      revenues of $2 to $2.5 million per year and when it
        sides of the issue. In Respondents' favor, Robert         forecast that the smelter would soon earn $12
        Weeks, Burton, and others traveled extensively to         million per year with a 50% operating margin. Pero
        several investor conventions. In addition, Burton         had acquired several pieces of the smelter from
        considered Robert Weeks to be an optimist, but not        Germany in 1994, before Dynamic American's
        a liar (Tr. 557, 590-91). In the Division's favor is      involvement. However, the record shows that by
        evidence that Dynamic American began to issue             mid-1995 the smelter was barely breaking even,
        massive amounts of its common stock to                    was only 75% to 80% complete, and badly needed a
        NCM/Hamilton and Stockton in June 1995, even              fuming furnace. Pero lacked the operating capital to
        before it signed the contract with BT&S. It never         purchase one. In addition, Burton estimated that the
        attempted to make partial performance on its              smelter would not be complete until six months
        promises in Bolivia. The Bolivian tin venture had         after funding was in place.
        no chance of succeeding because the three
        Respondents were misappropriating to themselves             Robert Weeks now contends that Dynamic
        most of the cash they raised by selling Dynamic           American simply relied on smelter earnings figures
        American stock through offshore accounts (DX              that Pero had provided, and that Atwood and Turner
        181, DX 182). For example, as Burton was                  had incorporated into BT&S's Preliminary Business
        resigning in June 1996, Kenneth Weeks was using           Plan (RX 25 at 7; RW Br. at 37-38). If that is what
        Dynamic American's money to treat himself to a            actually happened, it was reckless behavior. The
        $64,390 sports car (Tr. 465-67; DX 171, DX 182 at         purpose of Burton's investigation was to examine
        9). As Turner was complaining in October and              the assertions and assumptions in the Preliminary
        November 1996 about Dynamic American's failure            Business Plan with due diligence. For Robert
        to follow through on its promises to BT&S,                Weeks now to claim that Burton's report was itself
        Kenneth Weeks withdrew $50,900 from Hamilton's            flawed, and that Dynamic American relied upon the
        account for the benefit of Robert Weeks and               work that Atwood and Turner had performed for

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 32 of 52
           Case 3:06-cv-06384-CRB              Document 18-4          Filed 12/11/06         Page 32 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 32
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        BT&S, is to abandon any pretense of an arms'              http://www.sec.gov/divisions
        length relationship between Dynamic American and          /corpfin/forms/industry.htm #secguide7. Industry
        BT&S.                                                     Guide 7 establishes requirements for reporting
                                                                  reserve estimates and making disclosures regarding
          *43 In any event, Dynamic American could not            mining operations and adopts standard terminology
        legitimately rely on the smelter revenues in the          for the description of reserve estimates.
        Preliminary Business Plan because those figures
        were stale. Gross sales revenues from the old               Under Industry Guide 7, a reserve is defined as
        smelter in Oruro were irrelevant because that             the part of a mineral deposit that could be
        smelter had closed in 1991. There were no smelter         economically and legally extracted or produced at
        revenues at all during 1992 or 1993. There was a          the time of the reserve determination. Id. at ¶
        claim of $1.6 million in smelter revenues during          (a)(1). Proven reserves are defined as reserves for
        1994, but Atwood and Turner did not explain how           which (a) quantity is computed from dimensions
        they had converted Bolivian currency into                 revealed in outcrops, trenches, workings or drill
        American dollars, or what assumptions they had            holes; grade and/or quality are computed from the
        made about the impact of Bolivian inflation on the        results of detailed sampling, and (b) the sites for
        revenue figures they presented. None of these             inspection, sampling, and measurement are spaced
        historical revenue figures provided support for           so closely and the geologic character is so well
        Dynamic American's claim of $2 to $2.5 million in         defined that size, shape, depth, and mineral content
        annual earnings.                                          of reserves are well established. Id. at ¶ (a)(2).
                                                                  Probable reserves are defined as reserves for which
          The only data remotely supporting Dynamic               quantity and grade and/or quality are computed
        American's claim came from two weeks' worth of            from information similar to that used for proven
        smelter revenues earned in late September 1995            reserves, but the sites for inspection, sampling, and
        ($77,000). If extrapolated, those figures would           measurement are farther apart or are otherwise less
        project to an annualized rate of revenues of $2           adequately spaced. Id. at ¶ (a)(3). With probable
        million (DX 18 at 4). However, those revenues had         reserves, the degree of assurance, although lower
        not been earned at the time of the August 10, 1995,       than for proven reserves, is high enough to assume
        press release (DX 3, DX 18). I conclude that the          continuity between points of observation. Id.
        historical revenue figures, as well as the future
        predictions of revenues and operating margins, that         *44 A registrant intending to own or operate a
        Dynamic American presented in its press release           mining operation must disclose, for each mine, a
        were materially misleading. The omission of               brief description of economically significant rock
        accurate information about the completion of the          formations and mineralizations. Id. at ¶ (b)(5). If
        new smelter also rendered the press release               proven or probable reserves have been established,
        fraudulent.                                               the registrant must state the estimated tonnages and
                                                                  grades of such classes of reserves, as well as the
          Proven and probable reserves. There are different       name of the person making the estimates and the
        definitions of the term “reserves” in different           nature of his relationship to the registrant. Id.
        countries (Tr. 508, 597, 599, 623, 628, 1073-74,
        1082, 1200-01, 1279). See Michael D. Fricklas &             Instruction 2 to Industry Guide 7 ¶ (b)(5)
        Douglas D. Foote, Obligations and Consequences            provides that the summation of proven and probable
        of Ore Reserve Disclosures-Can Your Client and its        ore reserves is acceptable if the difference in degree
        Shareholders (and the SEC) Live Happily Ever              of assurance between the two classes of reserves
        After?, 39 Rocky Mt. Min. L. Inst. at § 12.03 [3]         cannot be readily defined. Instruction 3 to Industry
        (1993) (Ore Reserve Disclosures). The Commission          Guide 7 ¶ (b)(5) provides that estimates other than
        in 1992 adopted Industry Guide 7, Description of          proven or probable reserves, and any estimated
        Property by Issuers Engaged or to be Engaged in           values of such reserves shall not be disclosed unless
        Significant Mining Operations (Industry Guide 7)          such information is required to be disclosed by
        (RX 11). See Industry Guide 7, available at               foreign or state law. Instruction 3 contains an

                                 © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 33 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 33 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 33
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        important proviso: where such estimates previously        there were “commercial values” in the Bolivian
        have been provided to a person (or any of its             mineral deposits when he had no basis for assuming
        affiliates) that is offering to consolidate with the      that such deposits could be economically extracted
        registrant, such estimates may be included.               (DX 7). It was misleading for Burton's letter to
                                                                  place reliance on the German consulting firm's
          Industry Guide 7 applies to certain filings made        report when he had not read it. It was also
        with the Commission under the Securities Act and          misleading for the fact sheets to discuss “possible”
        the Exchange Act, including quarterly and annual          and “prospective” reserves in the Bolivian mineral
        reports filed on Forms 10-Q and 10-K. See 17              deposits without explaining the limitations
        C.F.R. § 229.801(g) (Securities Act filings) and 17       applicable to those terms (DX 8, DX 9).FN[FN33]
        C.F.R. § 229.802(g) (Exchange Act filings).
        Industry Guide 7 does not govern disclosures in less      e. Respondents baselessly valued the Pioche tailings
        formal communications. See Ore Reserve                    at approximately $4.3 million in Dynamic
        Disclosures at § 12.03[1] n.85.FN[FN32]                   American's balance sheets.

          I conclude that Burton's report became subject to         Snow's expert geological testimony established
        Industry Guide 7 once Respondents caused it to be         that the maximum value of the Pioche tailings was
        attached as an exhibit to Dynamic American's              approximately $1.6 million. Patten's expert
        quarterly report for the period ending June 30, 1995      accounting testimony demonstrated that Dynamic
        (DX 16). Burton's report was materially misleading        American's financial statements consistently failed
        because Burton knew that a respected American             to value the Pioche tailings in accordance with
        geologist had refused to categorize the underground       GAAP. See supra note 19. I credit this unchallenged
        ore reserves in the Tres Cruces region as proven          testimony and conclude that Dynamic American's
        (Tr. 507, 598). I also conclude that the statement in     financial statements consistently overvalued the
        Burton's report that a German consulting firm had         Pioche tailings by approximately $2.7 million, a
        categorized over two million tons of mineral              material amount. Because the three Respondents
        deposits “in a proven/probable category” was              distributed the financial statements to prospective
        materially misleading. First, Burton never even read      investors, the misstatements were made in
        the German consulting firm's report (Tr. 608, 623).       connection with the offer, sale, and purchase of
        Second, Atwood's and Turner's Preliminary                 Dynamic American's securities.
        Business Plan, which attempted to summarize the
        German consulting firm's report, broke down                 Robert Weeks raises two separate arguments
        proven and probable reserve estimates into two            (RW Br. at 9, 36). First, he notes that Paragraph
        separate categories (RX 25 at 5). Burton's report         III.F.1 of the amended OIP charges Barlow, an
        could not lump the two categories together and            accountant, with “compiling” the financial
        remain in compliance with Instruction 2 to Industry       information about the Pioche tailings that appeared
        Guide 7 ¶ (b)(5). Finally, Burton's report was            in Dynamic American's quarterly financial
        materially misleading for what it did not say: that       statements and with “preparing” the same financial
        Burton had no idea if the German consulting firm's        information for inclusion in Dynamic American's
        definitions of the terms “reserves,” “proven              annual reports. Paragraph III.F.2 of the amended
        reserves,” and “probable reserves” were the same          OIP also charges Barlow with engaging in improper
        ones that Instruction Guide 7 required Commission         professional conduct as an accountant by failing to
        registrants to use.                                       ensure that the Pioche tailings were properly valued
                                                                  in accordance with GAAP. Robert Weeks
          *45 Dynamic American's “Dear Investor” letters          essentially argues that Barlow's culpability
        and fact sheets were informal communications, not         (established by default) precludes a liability finding
        subject to Industry Guide 7. I nonetheless conclude       against him on this issue. Second, Robert Weeks
        that they were materially misleading in their             observes that Dynamic American had been valuing
        discussion of the underground Bolivian reserves. It       the Pioche tailings at $4.3 million well before he,
        was misleading for Barlow's letter to assert that         Hesterman, and Kenneth Weeks were ever involved

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                     Page 34 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4       Filed 12/11/06          Page 34 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 34
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        with the company. He points out that Barlow simply          called Barlow in February 1996, urging Barlow to
        carried forward the $4.3 million valuation, without         take certain action quickly before the audit of the
        change (Tr. 380, 384). He argues that he was not            1994 financial statements “goes stale” (DX 25 at
        shown to have known that the valuation was                  DA 185). This was an oblique reference to
        improper.                                                   Exchange Act Rule 3a51-1(g)(3), which provides
                                                                    that audited financial statements supporting a penny
          The Division asks me to take official notice of the       stock exclusion must be no more than fifteen
        Commission order sanctioning Dynamic American's             months old. I infer that the three Respondents were
        outside auditor for his performance during the fiscal       at all times interested in finding a way to
        year 1995 audit (Div. Reply Br. at 14 n.2). See R.          circumvent the penny stock disclosure rules. I
        Gordon Jones, 74 SEC Docket 2604 (May 4, 2001)              further infer that they were quite willing not to ask
        (settlement order) (finding “intentional, knowing, or       Barlow too many questions about how he had
        reckless” violations of applicable professional             valued the Pioche tailings in the first instance. The
        standards). It is difficult to see how Jones assists the    three Respondents paid nothing of any consequence
        Division's case here. The findings in the settlement        to Barlow in return for obtaining control of assets
        order are not binding on the parties in this                that were allegedly worth $4.3 million. This was
        proceeding. See id. at 2604 n.2. Moreover, the              consistent with Robert Weeks's usual method of
        settlement order was silent with respect to the issue       doing business, which was to buy for as much stock
        of whether Dynamic American's valuation of the              and as little cash as he could (Tr. 1272). Finally,
        Pioche tailings did or did not comply with GAAP.            Respondents' acquisition of the Dynamic American
        The settlement order did state that Jones violated          shell was followed closely by a series of antifraud
        generally accepted auditing standards (GAAS)                violations that did involve scienter. This suggests
        because he “failed to obtain sufficient competent           that the acquisition of the Pioche tailings, and their
        evidential matter to determine that a proper test had       continued valuation at $4.3 million, also involved
        been done of the present value” of the Pioche               scienter. I find in the Division's favor on this issue.
        tailings. See Jones, 74 SEC Docket at 2606. But             FN[FN34]
        GAAS have no application in the present
        proceeding.                                                 3. Reporting and Recordkeeping Violations.
          *46 The evidence supports inferences on both              a. Negligently causing violations that do not require
        sides of this issue. The three Respondents were             scienter.
        aware of the $4.3 million valuation, but there is no
        direct evidence that they influenced Barlow to                 Paragraph III.D.2 of the amended OIP alleges
        continue to report it after mid-June 1995. At most,         that Dynamic American repeatedly violated Section
        they simply acquiesced in Barlow's practice of              13(a) of the Exchange Act and Rules 13a-1, 13a-10,
        carrying forward the old valuation without change.          13a-11, 13a-13, 12b-20, and 12b-25 thereunder by
        Their lack of attention to this issue was consistent        filing untimely reports with the Commission, by
        with their promise eventually to spin off the Pioche        filing reports that were materially false and
        tailings and return them to Barlow (DX 22, DX 54            misleading, and by failing to file other required
        at 3). The three Respondents had a different plan           reports. Paragraph III.D.3 of the amended OIP
        for the company, one that focused on the Bolivian           alleges that Dynamic American also violated
        tin venture. Dynamic American's press releases, “           Sections 13(b)(2)(A) and 13(b)(2)(B)(ii) of the
        Dear Investor” letters, and fact sheets touted the          Exchange Act by failing to make and keep books
        Bolivian tailings, but they never mentioned the             and records and to maintain a system of internal
        Pioche tailings.                                            accounting controls. Paragraph III.D.4 of the
                                                                    amended OIP alleges that the three Respondents
          On the other hand, Hesterman told Robert Weeks            caused Dynamic American's violations, as described
        that part of Dynamic American's attraction as a shell       in Paragraphs III.D.2 and III.D.3.
        corporation was its ownership of an asset that had
        been audited (Tr. 259). In addition, Robert Weeks            *47 Section 13(a) of the Exchange Act and Rules

                                    © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 35 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 35 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 35
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        13a-1, 13a-13, and 12b-20 require issuers of               LLP, 74 SEC Docket 384, 421 (Jan. 19, 2001),
        securities registered pursuant to Section 12 of the        recon. denied, 74 SEC Docket 1351 (Mar. 8, 2001),
        Exchange Act to file periodic and other reports with       appeal pending, No. 01-1131 (D.C. Cir.); see
        the Commission. Implicit in these rules is the             Jeffrey M. Steinberg, 2001 SEC LEXIS 2640 at
        requirement that the reports accurately reflect the        *120-38 (Initial Decision) (Dec. 20, 2001)
        financial condition and operating results of the           (concluding that independent auditors did not “cause
        issuer. See United States v. Bilzerian, 926 F.2d           ” three public corporations to file misleading
        1285, 1298 (2d Cir. 1991); SEC v. Kalvex, Inc.,            financial statements), review granted.
        425 F. Supp. 310, 316 (S.D.N.Y. 1975). No
        showing of scienter is necessary to establish a               *48 From June 1995 onward, Dynamic American
        violation of Section 13(a). See SEC v. McNulty,            filed two annual reports on Form 10-K and three
        137 F.3d 732, 740-41 (2d Cir. 1998). Rule 12b-20           quarterly reports on Form 10-Q (DX 14, DX 15,
        further requires the inclusion of any additional           DX 16, DX 18, DX 20). All of these reports were
        material information that is necessary to make             filed late, and the company never notified the
        required statements, in light of the circumstances         Commission of its inability to comply with the
        under which they were made, not misleading.                filing deadlines (DX 170). See Rule 12b-25.
        Information regarding the financial condition of a         Dynamic American also filed an amended annual
        company is presumptively material. See Blavin, 760         report on Form 10-K/A (DX 21). It did not file a
        F.2d at 711.                                               transition report in connection with its change of
                                                                   fiscal year (DX 170). See Rule 13a-10. Dynamic
          Section 13(b)(2)(A) of the Exchange Act requires         American failed to file any reports for any periods
        issuers of securities registered pursuant to Section       after September 30, 1995 (DX 172).
        12 of the Exchange Act to make and keep books,
        records, and accounts, which, in reasonable detail,          Dynamic American filed no Forms 8-K during the
        accurately and fairly reflect its transactions and         period at issue here, even though it was required to
        dispositions of assets. Section 13(b)(2)(B)(ii) of the     do so by the change in control, the resignations of
        Exchange Act requires every reporting company to           Burton and Cox as directors, and the decision to
        devise and maintain a system of internal accounting        change its fiscal year-end from December to
        controls sufficient to provide reasonable assurances       September. See Rule 13a-11 and Form 8-K, Items
        that transactions are recorded as necessary to permit      1, 6, 8.
        the preparation of financial statements in
        conformity with GAAP and to maintain                         From June 1995 onward, Dynamic American
        accountability for assets. No showing of scienter is       never kept records of the reimbursement of
        necessary to establish violations of Section               expenses for its officers and directors, or the
        13(b)(2). See World-Wide Coin, 567 F. Supp. at             payment of other company expenses (Tr. 390-91).
        749-51.                                                    Burton received about $8,000 in salary and
                                                                   reimbursements, but the funds did not come to him
          The meaning of the word “cause” in the                   through the Bank of Ephraim account that Barlow
        Exchange Act has not been the subject of detailed          controlled or the Salt Lake City bank account that
        judicial construction. See Berko v. SEC, 316 F.2d          Cox controlled. Both of those corporate accounts
        137, 140-41 (2d Cir. 1963) (holding that conduct           were inactive. Pero purportedly received $200,000
        which is the “cause” of a violation must consist of        to $400,000 from Dynamic American to fund the
        more than merely conduct which has “to some                Bolivian tin venture (Tr. 134-37). Dynamic
        degree been a factor” in the violation); R.H.              American kept no record of those disbursements,
        Johnson & Co. v. SEC, 198 F.2d 690, 696 (2d Cir.           either. Payments to I-Data, Dynamic American's
        1952) (rejecting the contention that “cause” must          transfer agent, came from such off-the-books
        always be interpreted to mean “an immediate or             sources as Barbara Hesterman's checking account
        inducing cause”). Negligence is sufficient to              and Respondent Hesterman's personal credit card
        establish liability for causing a primary violation        (Tr. 640-42; DX 177 at 31). Finally, Dynamic
        that does not require scienter. KPMG Peat Marwick          American kept no records of any compensation it

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 36 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 36 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 36
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        may have received for issuing stock to Stockton,          CIBC.
        NCM/Hamilton, Cordero, or BT&S.
                                                                    *49 I conclude that Dynamic American violated
          When a company with publicly-traded securities          Sections 13(a), 13(b)(2)(A), and 13(b)(2)(B)(ii) of
        ceases operations and winds up its affairs, as            the Exchange Act, and the Commission's
        Dynamic American did in late 1996, it must notify         implementing rules, as alleged in the amended OIP.
        the appropriate regulatory authorities and the            I further conclude that the three Respondents caused
        investing public of its intentions. This ordinarily       Dynamic American's violations through acts and
        includes filing a certificate of dissolution with the     omissions that were at least negligent.
        state of incorporation, contacting the Commission
        to request the orderly termination of its periodic        b. Knowing violations.
        reporting requirements, and taking the necessary
        steps to halt public trading in its stock. The              Section 13(b)(5) of the Exchange Act prohibits
        Commission's staff has issued no-action letters           any person from knowingly circumventing or
        relieving a company from periodic reporting,              knowingly failing to implement a system of internal
        provided the company is current in its Exchange           accounting controls, or from knowingly falsifying
        Act reporting obligations, and agrees to disclose on      any book, record, or account of an issuer as
        Form 8-K any material events relating to its              described in Section 13(b)(2). Congress enacted this
        liquidation.FN[FN35] Dynamic American observed            provision as part of the Foreign Corrupt Practices
        none of these formalities. As a result, Dynamic           Act Amendments of 1988, 102 Stat. 1415. Scienter
        American's periodic reporting obligations continued       is required to establish a violation of Section
        until November 1, 1999, when the Commission               13(b)(5). See Jean-Paul Bolduc, 70 SEC Docket
        revoked the registration of its common stock.             380, 383 (July 13, 1999), interlocutory review
                                                                  granted.
          Respondents caused these violations by creating
        the predicament that resulted in Dynamic                    Paragraph III.D.4 of the amended OIP alleges
        American's violations. The company's audited              that the three Respondents willfully violated Section
        financial statements had contained “going concern”        13(b)(5) by knowingly circumventing or knowingly
        qualifications for several years. Dynamic American        failing to implement a system of internal accounting
        had not paid Drage for his legal services since 1994      controls for Dynamic American.
        (Tr. 1319). It was so far behind in making timely
        payments to its transfer agent that Bogutski                In its Statement of Policy regarding the Foreign
        threatened to “freeze the books” unless he was paid       Corrupt Practices Act of 1977, 21 SEC Docket
        in advance (Tr. 640-42). Against this background, I       1466, 1470-71 (Jan. 29, 1981) (Policy Statement),
        infer that the untimely and/or unfiled annual reports     the Commission recognized that Section 13(b)(2) of
        were a direct result of the three Respondents'            the Exchange Act does not mandate any particular
        determination to divert to themselves funds raised        kind of internal controls system. It explained that an
        by the sale of Dynamic American stock (DX 181,            issuer need not always select the best or the most
        DX 182). That diversion of funds left the                 effective control measures, as long as the one
        corporation with no money to pay its outside              selected is reasonable under all the circumstances.
        auditors. Robert Weeks and Hesterman made it              See Policy Statement, 21 SEC Docket at 1467.
        impossible for Dynamic American's nominal
        officers and directors to keep accurate financial           This is not a case where internal controls existed,
        records by refusing to tell Burton what he needed to      but proved ineffective. Rather, it is a case where the
        know (Tr. 541-44, 609-10). Hesterman and Kenneth          issuer had no system of internal controls. As the de
        Weeks caused the books and records violations by          facto management of Dynamic American, and as the
        creating and maintaining bank accounts that were          major owners of the offshore corporations that were
        used for off-the-books payments. These included           Dynamic American's major owners, the three
        Hesterman's joint account with his mother, as well        Respondents were responsible for implementing
        as Stockton's and NCM/Hamilton's accounts at              such a system. Hesterman and Kenneth Weeks were

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 37 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 37 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 37
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        directly involved in creating and maintaining              more than 5% of an equity security of a class
        accounts designed to be used for off-the-books             registered pursuant to Section 12 of the Exchange
        payments. Purportedly, Robert Weeks was unhappy            Act, must file with the Commission annual
        once he learned of the full extent of Stockton's and       disclosure statements. Those filings are due within
        NCM/Hamilton's ownership of shares (Tr.                    forty-five days of the end of each calendar year that
        1351-52). However, there is no evidence that he            the issuer's securities were registered with the
        took any corrective action. I conclude that the three      Commission.
        Respondents violated Section 13(b)(5) in ways that
        were both willful and knowing.                               In relevant part, Section 16(a) of the Exchange
                                                                   Act requires that beneficial owners of more than
        4. Failure to File Ownership Reports.                      10% of any class of any equity security registered
                                                                   pursuant to Section 12 of the Exchange Act file a
          Paragraph III.E.2 of the amended OIP alleges that        statement with the Commission within ten days of
        the three Respondents willfully violated Sections          becoming a beneficial owner, reporting the amount
        13(d), 13(g), and 16(a) of the Exchange Act and            of all equity securities of such issuer of which they
        Rules 13d-1, 13d-2, and 16a-3 thereunder by failing        are a beneficial owner. Section 16(a) also requires
        to file with the Commission reports with respect to        such beneficial owners to file with the Commission
        the acquisitions and dispositions of the 50.55             within ten days after the close of each calendar
        million shares of Dynamic American's stock over            month, if there has been a change in his ownership
        which they had dispositive control and as to which         of the issuer's equity securities during such month, a
        they were the beneficial owners.                           statement indicating such changes. The rules
                                                                   enacted pursuant to Section 16(a) provide that an
          *50 Section 13(d) of the Exchange Act, in                initial statement should be made on Form 3.
        relevant part, provides that any person who, after         Subsequent statements of changes in beneficial
        acquiring directly or indirectly the beneficial            ownership should be made on Form 4 or Form 5.
        ownership of any equity security of a class which is       The rules also specify the deadlines for filing the
        registered pursuant to Section 12 of the Exchange          Forms.
        Act, is directly or indirectly the beneficial owner of
        more than 5% of the class, must, within ten days             No showing of scienter is required to prove
        after the acquisition, file a disclosure statement with    violations of these reporting provisions. Cf. SEC v.
        the Commission. The implementing rules require             Savoy Indus., 587 F.2d 1149, 1167 (D.C. Cir. 1978)
        that such a statement be filed on Schedule 13D.            ; SEC v. McNulty, 1996 U.S. Dist. LEXIS 10649 at
        Amendments to Schedule 13D must be filed                   *19-20 (S.D.N.Y. July 29, 1996).
        promptly if any material changes occur to the facts
        set forth.                                                   Dynamic American's common stock was
                                                                   registered with the Commission under Section 12(g)
          The purpose of Section 13(d) is to alert investors       of the Exchange Act at all relevant times (DX 14,
        to potential changes in corporate control so that          DX 20, DX 21). In contrast, Dynamic American's
        they can properly evaluate the company in which            Class A, Class B, and Class C convertible preferred
        they have invested. See Bilzerian, 926 F.2d at 1297.       stock was not registered with the Commission at
        The Commission has made clear that the duty to             any time. Respondents never filed with the
        make Section 13(d) filings is not dependent on any         Commission any beneficial ownership reports on
        intention to gain control of the company, but on a         Schedule 13D, Form 3, Form 4, or Form 5 (DX
        mechanical 5% ownership test. See Oppenheimer &            173, DX 174, DX 175, DX 176).
        Co., 47 S.E.C. 286, 287 (1980). The failure to make
        a required report, even though inadvertent,                  *51 The three Respondents did not own any
        constitutes a willful violation. See id. at 288.           shares of Dynamic American common stock in their
                                                                   own names. The principal stockholders in Dynamic
          Section 13(g) of the Exchange Act, in relevant           American were BT&S, Stockton, NCM/Hamilton,
        part, requires that any person who beneficially owns       and Cordero.

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 38 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 38 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 38
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

          All three Respondents collectively controlled            demonstrate compliance with this minimum asset
        three-fifths of BT&S. See supra pp. 17-18. BT&S            requirement. See Rule 3a51-1(g)(3)(i).
        was affiliated with Dynamic American. See supra
        pp. 40-42. Hesterman and Kenneth Weeks                       The Division acknowledges that Dynamic
        controlled Stockton and NCM/Hamilton. See supra            American's common stock traded above $5.00 per
        pp. 24-27. Respondents' beneficial ownership of            share for a few weeks in July and August 1995, but
        securities    nominally    owned     by    Stockton,       it claims that Respondents' fraud inflated the share
        NCM/Hamilton, and/or BT&S resulted in beneficial           prices at the time. It also acknowledges that
        ownership of Dynamic American. See Exchange                Dynamic American's audited financial statements as
        Act Rules 13d-3(a) and 13d-5(b). Respondents were          of December 31, 1994, listed net tangible assets
        obliged to file beneficial ownership reports in June       over $2 million, but it argues that those assets were
        1995 and later, once Dynamic American started to           overstated and that their “true” value never reached
        issue massive amounts of its common stock to               $2 million (Div. Br. at 54-55). The Division's
        Stockton and NCM/Hamilton (DX 1). At that                  theory is that, if the common stock had been fairly
        juncture, Respondents became beneficial owners of          priced and if the Pioche tailings had been properly
        more than 5% and 10% of Dynamic American's                 valued, Dynamic American never would have
        registered common stock. I conclude that                   qualified for either exclusion (Div. Br. at 54-55).
        Respondents' failure to file was willful within the
        meaning of Oppenheimer.                                    a. The $5.00 per share minimum price exclusion.

        5. Penny Stock.                                              *52 There is no merit to the Division's claim that
                                                                   the “true” market price of Dynamic American
          Paragraph III.A.1 of the amended OIP alleges             should be deemed to be something less than $5.00
        that Dynamic American's common stock was “                 per share during July and August 1995. The
        penny stock” at the time of the violations in this         Division presented no evidence to support this
        case. In relevant part, Section 3(a)(51)(A)(iv) of the     theory, and the case law is not supportive. Cf.
        Exchange Act defines “penny stock” as any equity           Andrews v. Comm'r, 135 F.2d 314, 318 (2d Cir.
        security, other than a security that is excluded, on       1943) (“[T]he ‘fair market value’ of securities
        the basis of exceeding a minimum price, net                often consists of what honest and willing dupes (or,
        tangible assets of the issuer, or other relevant           to use Americanese, ‘suckers') were actually paying
        criteria, from the definition of such term by              for similar securities on a ‘rigged’ market.”); W.T.
        Commission rule or regulation. The Commission's            Grant Co. v. Duggan, 94 F.2d 859, 861 (2d Cir.
        definitional rules for penny stock are promulgated         1938) (rejecting a claim that exchange prices were
        in Exchange Act Rule 3a51-1. Section 3(a)(51)(A)           greatly inflated during the boom market of 1929 in
        of the Exchange Act determines the extent of the           excess of their actual value and finding it
        Commission's authority under Section 15(b)(6)(A)           immaterial that the market crashed shortly after a
        of the Exchange Act to censure, restrict the               security was valued).FN[FN36]
        activities of, suspend, or bar a person from
        participating in an offering of penny stock.                As former Commission Chairman Arthur Levitt
                                                                   noted more than four years ago:
          Two of the exclusions in the Commission's penny                The simplest way around the Penny Stock
        stock definition are relevant here. First, equity              Rules … is to offer or sell securities that do not
        securities that trade at or above $5.00 per share are          meet the technical definition of “penny stocks.”
        excluded from the definition of penny stock by                 The Commission today sees more fraud in …
        Exchange Act Rule 3a51-1(d). Second, if an issuer              securities valued at $5[.00] or more….
        has been in continuous operation for more than                   The Commission staff is … considering
        three years and has net tangible assets in excess of           whether to recommend amendments to the
        $2 million, the issuer's stock is excluded from the            Penny Stock Rules, such as broadening the
        definition of penny Stock by Rule 3a51-1(g)(1).                definition of “penny stock” to include securities
        Current audited financial statements must                      with a price greater than $5[.00] per share….

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 39 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4       Filed 12/11/06          Page 39 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 39
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

            FN[FN37]                                                year's opinion was on [this year's audit report]”)).
                                                                    That irregularity precluded anyone from relying on
        b. The $2 million net tangible asset exclusion.             these financial statements.

          Based on Snow's testimony, I have concluded that            I conclude that Respondents knew or should have
        the Pioche tailings were never worth more than $1.6         known that they were participating in an offering of
        million. Based on Patten's testimony, I have                penny stock before July 7, 1995, and after August
        concluded that Dynamic American's financial                 22, 1995. I further conclude that Dynamic
        statements failed to value the Pioche tailings in           American's common stock was not penny stock for
        accordance with GAAP. See supra note 19.                    those days between July 7, 1995, and August 22,
                                                                    1995, when it traded at or above $5.00 per share.
          The Commission was sensitive to claims that its
        proposed penny stock disclosure rules would place           SANCTIONS
        too heavy a burden of inquiry on the brokers and
        dealers who executed transactions in such stocks for          To protect the public interest, the Division seeks
        the investing public. It thus crafted the net tangible      cease and desist orders, disgorgement of ill-gotten
        asset standard because it wanted a figure that could        gains, substantial civil penalties, and orders barring
        be readily derived. See Penny Stock Disclosure              all three Respondents from participating in any
        Rules, 51 SEC Docket 557, 566 (Apr. 28, 1992). It           offering of penny stocks (Div. Br. at 49-55).
        did not want brokers to have to engage in the sort of
        due diligence analysis of an issuer that it typically         The public interest analysis requires that several
        requires of underwriters or auditors. See id. at 567.       factors be considered, including: (1) the
        However, the Commission made clear that brokers             egregiousness of the respondents' actions; (2) the
        and dealers could not rely on audited financial             isolated or recurrent nature of the infractions; (3)
        statements that they lacked a reasonable basis for          the degree of scienter involved; (4) the sincerity of
        believing were accurate. See Rule 3a51-1(g)(3).             the respondents' assurances against future
                                                                    violations; (5) the respondents' recognition of the
          In sustaining the charges of antifraud violations, I      wrongful nature of their conduct; and (6) the
        have determined that Dynamic American baselessly            likelihood that their occupation will present
        valued its Pioche tailings at $4.3 million. I see no        opportunities for future violations. See Steadman v.
        reason why the same requirement that binds brokers          SEC, 603 F.2d 1126, 1140 (5th Cir. 1979), aff'd on
        and dealers-a reasonable basis for believing in the         other grounds, 450 U.S. 91 (1981). The severity of
        accuracy of the audited financial statements-should         sanctions depends on the facts of each case and the
        not be applied to the issuer and its de facto officers      value of the sanctions in preventing a recurrence of
        and directors. I therefore conclude that the three          the violative conduct. See Berko, 316 F.2d at 141.
        Respondents lacked a reasonable basis for relying           Sanctions should demonstrate to the particular
        on the accuracy of Dynamic American's audited               respondent, the industry, and the public generally
        financial statements as of December 31, 1994, and           that egregious conduct elicits a harsh response. See
        that they knew or should have known that they were          Arthur Lipper, 547 F.2d at 184. Sanctions are not
        participating in an offering of penny stock.                intended to punish a respondent, but to protect the
                                                                    public from future harm. See Leo Glassman, 46
          *53 In addition, there was an irregularity on the         S.E.C. 209, 211-12 (1975).
        face of Dynamic American's “audited” financial
        statements for the fiscal year ending September 30,         Cease And Desist Orders
        1995 (DX 20). The independent auditor's
        certification letter was dated July 5, 1995, an               Section 8A(a) of the Securities Act and Section
        obvious impossibility for an issuer with more than          21C(a) of the Exchange Act authorize the
        two months still remaining in its fiscal year. The          Commission to impose a cease and desist order
        NASD caught the error instantly (DX 25 at DA 197            upon any person who “is violating, has violated, or
        (“Hesterman called-NASD wanted to know why last             is about to violate” any provision of the Securities

                                    © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 40 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 40 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 40
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Act, the Exchange Act, or the rules and regulations        disgorged must be approximately equal to the unjust
        thereunder. The sections also authorize the                enrichment, and may be ordered only against those
        Commission to order a person to cease and desist           who received such unjust enrichment. See Kenneth
        from certain conduct if the person “is, was or would       L. Lucas, 51 S.E.C. 1041, 1046 (1994) (overturning
        be a cause of [a] violation [of the Securities Act, the    an order of disgorgement against two supervisors
        Exchange Act, or the rules and regulations                 because it duplicated in part the amount ordered
        thereunder], due to an act or omission the person          disgorged separately by a sales agent, and holding
        knew or should have known would contribute to              that different respondents “cannot be ordered to
        such violation.”                                           disgorge the same amounts”).

          *54 In KPMG Peat Marwick, 74 SEC Docket at                 Once the Division shows that its disgorgement
        428-38, the Commission considered the standard             figure reasonably approximates the amount of
        for issuing cease and desist relief. It concluded that     unjust enrichment, the burden of going forward
        it would continue to consider the Steadman factors         shifts to the respondent to demonstrate clearly that
        in light of the entire record, noting that no one          the Division's disgorgement figure is not a
        factor is dispositive. It explained that the Division      reasonable approximation. See SEC v. Lorin, 76
        must show some risk of future violations. However,         F.3d 458, 462 (2d Cir. 1996); SEC v. Patel, 61 F.3d
        it also ruled that such a showing should be “              137, 140 (2d Cir. 1995). Any risk of uncertainty as
        significantly less than” that required for an              to the disgorgement amount falls on the wrongdoer
        injunction and that a single past violation ordinarily     whose illegal conduct created that uncertainty. See
        suffices to establish that the violator will engage in     First City, 890 F.2d at 1232. The Commission has
        the same type of misconduct in the future. Id. at          not permitted the wrongdoer to reduce that amount
        430, 435.                                                  to reflect taxes paid or expenses incurred. See
                                                                   Laurie Jones Canady, 69 SEC Docket 1468,
          Here, cease and desist orders are plainly                1486-87 (Apr. 5, 1999), recon. denied, 70 SEC
        warranted in the public interest. Respondents'             Docket 905 (Aug. 6, 1999), review denied, 230
        violations were egregious. They were not isolated,         F.2d 362 (D.C. Cir. 2000); L.C. Wegard & Co., 67
        but continued over seventeen months. With the              SEC Docket 814, 823-24 (May 29, 1998).
        limited exceptions noted above, the proven
        antifraud violations involved a high degree of               *55 The Division argues that the three
        scienter. Respondents have not offered any                 Respondents should be held jointly and severally
        assurances against future violations, nor have they        liable for the disgorgement of $3,741,443-all of the
        acknowledged the wrongful nature of their conduct.         proceeds flowing into the Stockton and
        In the absence of cease and desist orders, future          NCM/Hamilton accounts at CIBC that were
        violations are quite likely.                               attributable to transactions in Dynamic American
                                                                   stock (DX 181, DX 182; Div. Prop. Find. # 257;
        Disgorgement Of Ill-Gotten Gains                           Div. Br. at 51-52).FN[FN38] Citing Hughes Capital
                                                                   , 124 F.3d at 455, and First Jersey, 101 F.3d at 1475,
          Section 8A(e) of the Securities Act and Section          the Division urges me to hold that joint-and-several
        21C(e) of the Exchange Act provide that the                liability for disgorgement of all ill-gotten gains
        Commission may enter an order requiring an                 should be the default rule in all cases where two or
        accounting and disgorgement, including reasonable          more individuals or entities have collaborated or
        interest. Disgorgement seeks to deprive the                have close relationships in engaging in illegal
        wrongdoer of his ill-gotten gains. See SEC v. First        conduct.
        City Fin. Corp., 890 F.2d 1215, 1230-32 (D.C. Cir.
        1989). It returns the violator to where he would             The cases imposing joint-and-several liability for
        have been absent the violative activity. While an          disgorgement of all ill-gotten gains involved
        order to disgorge a certain amount need only be a          circumstances that are not present here. In Hughes
        reasonable approximation of profits causally               Capital, 124 F.3d at 456, joint-and-several liability
        connected to the violation, id. at 1231, the amount        for disgorgement was held to be appropriate

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 41 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4       Filed 12/11/06          Page 41 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 41
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        because there was no documentary evidence to                    the substance of these records?
        contradict the clear evidence that the individual                 A: The CIBC bank account records?
        defendants benefited substantially from the                       Q: No, the-well, yes.
        unlawful scheme. In SEC v. First Pacific Bancorp,                 A: For the most part, no. It was pretty
        142 F.3d 1186, 1191-92 (9th Cir. 1998), the “close              straightforward.
        relationship” that warranted joint-and-several                    Q: I mean, the proceeds come in and they go
        liability existed because the individual defendant              out.
        was chairman of the board, chief executive officer,               A: Right.
        and majority shareholder of the corporate                         Q: And you knew where they went, correct?
        co-defendants. In First Jersey, 101 F.3d at 1475-76,              A: Based on the documents, yes.In these
        joint-and-several liability for disgorgement rested             circumstances, the Division's efforts to give the
        on Section 20(a) of the Exchange Act (which                     broadest possible reading to the cases imposing
        provides that a controlling person shall be jointly             joint-and-several liability for disgorgement
        and severally liable with and to the same extent as             cannot be accepted. With two limited
        the controlled person), and on the finding that the             exceptions addressed below, the present case is
        controlling individual owned 100% of the stock of               the exception to the general rule that Hughes
        the controlled corporation. In Cambridge Group,                 Capital recognized:
        Inc., 50 S.E.C. 752, 754 n.4 (1991), aff'd in part and
        rev'd in part sub nom. Hateley v. SEC, 8 F.3d 653,            The imposition of joint-and-several liability in
        656 (9th Cir. 1993), the Commission stated that the         excess of $3.7 million against all three Respondents
        NASD's imposition of joint-and-several liability “          would be unreasonable and inequitable as to Robert
        does not seem unfair” as to a husband and wife and          Weeks. Robert Weeks never controlled the flow of
        their family-held corporation.                              funds into or out of the Stockton and
                                                                    NCM/Hamilton accounts. Moreover, the record is
          In Hughes Capital, 124 F.3d at 456, on which the          filled with evidence that the three Respondents did
        Division principally relies, the Third Circuit              not divide equally the proceeds from the sale of
        recognized that “the division of liability is an            Dynamic American stock. Kenneth Weeks lived a
        intensely factual determination.” The court also            flashy lifestyle, complete with a custom-built house,
        stated: “[I]n some cases, a court may be able easily        a fancy sports car, jewelry, and extensive travel (Tr.
        to identify the recipient of ill-gotten profits and         457, 465, 851, 867, 876; DX 171). Kenneth Weeks
        apportionment is practical, [although] that is not          frequently complained that Hesterman had too
        usually the case.” Id. at 455. In arguing that              many cars, too many expenses, and needed to start
        apportionment was impossible here, the Division             living within his means (Tr. 876-78). In contrast to
        omitted these rather important passages from its            his fellow Respondents, Robert Weeks lived a
        brief (Div. Br. at 51). The Division cannot simply          low-key lifestyle. He lost a credit card for
        assume that the amount of unjust enrichment cannot          non-payment, he owned no checking or savings
        be reasonably approximated and measured as to               accounts, and he was in serious financial difficulty
        each individual respondent; rather, it is necessary         at the times relevant to this case (Tr. 189, 240-41,
        for the fact-finder to determine the issue of               297-98).
        impossibility on a case-by-case basis after a
        hearing. Cf. CFTC v. Am. Metals Exch. Corp., 991              As an alternative to joint-and-several liability for
        F.2d 71, 77-78 (3d Cir. 1993) (“Without holding a           disgorgement of $3,741,443, the Division presented
        hearing, … the district court … had no basis upon           evidence of the lesser amounts of unjust enrichment
        which to conclude that it would be inordinately             accruing to each individual Respondent. With the
        difficult to measure unlawful profits.”). At the            minor modifications, described below, I accept the
        hearing in this case, the Division's summary witness        Division's calculations. All figures are rounded to
        completely      undercut       the     argument      for    the nearest dollar.
        joint-and-several liability by all three Respondents
        for over $3.7 million in ill-gotten gains (Tr. 827):          The Division seeks disgorgement of $171,500
               *56 Q: Was it difficult for you to ascertain         from Robert Weeks (Div. Prop. Find. # 259; Div.

                                    © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 42 of 52
           Case 3:06-cv-06384-CRB               Document 18-4         Filed 12/11/06         Page 42 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 42
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Br. at 52). The record shows transfers from               Martin ($886,754), O.C. Tanner ($5,000), The
        Stockton and Hamilton to Robert Weeks's close             Sanctuary ($75,068), and Washington National,
        friend, Maria Rosa Baez (Baez), in the amounts of         Ltd. ($910,931). When the sums received from
        $50,900 and $3,000 (Tr. 189-90, 903-05; DX 181,           Hamilton and Stockton are combined and rounded,
        DX 182). In addition, the record demonstrates that        the total received by Kenneth Weeks was
        Robert Weeks, Insurance Trust, a company he               $2,436,036. That amount must be reduced by
        owned, and Baez received payments of $109,100 fro         $8,500, to reflect the payment that Washington
        m Hesterman's account at First Security Bank and          National, Ltd., made to Robert Weeks, as described
        $8,500 from Washington National, Ltd., a                  above (Tr. 1116-21). Kenneth Weeks will be
        corporation controlled by Kenneth Weeks (Tr.              ordered to disgorge $2,427,536.
        18-19, 193, 690-91, 694-95, 1116-21; DX 163, DX
        184 at Tr. 193-94). When these figures are                  I do not agree with the Division that Kenneth
        combined, the total benefit accruing to Robert            Weeks should disgorge another $89,000 (Div. Prop.
        Weeks was $171,500. I will order him to disgorge          Find. #256). This sum reflects a payment by
        that amount.                                              Hamilton on February 20, 1997, to Dipo
                                                                  Construction Company for the earnest money
          The Division next petitions for disgorgement of         deposit on Kenneth Weeks's new house in Utah (Tr.
        $968,700 from Hesterman (Div. Prop. Find. 248,            861-62; DX 130 at 11401, 11408; DX 171). The
        256, 261; Div. Br. at 53). Hesterman and his mother       Hamilton account balance was only $8,674.13 as of
        held a joint account at First Security Bank (Tr.          December 6, 1996; the Division has acknowledged
        234-35, 679, 681; DX 163). The record shows wire          that, after that date, deposits to the Hamilton
        transfers to that joint account of $98,800 from           account did not come from sales of Dynamic
        Hamilton and $862,900 from Stockton (DX 181,              American stock (DX 181 at 3).
        DX 182). When those two figures are combined, the
        total is $961,700. It is undisputed that Hesterman          I also reject the Division's claim that Kenneth
        paid Robert Weeks $109,100 from this account (Tr.         Weeks should disgorge $90,910 in credit card
        234-35, 238-39, 689-91, 694-95, 1116-21). Since I         payments made from the Stockton account (Div.
        have already attributed that $109,100 to Robert           Prop. Find. # 248). The Division's summary witness
        Weeks, I decline to attribute it to Hesterman, as         initially attributed these credit card payments to all
        well. See Lucas, 51 S.E.C. at 1047. After correcting      three Respondents, jointly and severally (Tr.
        for an arithmetical error and double counting in the      808-09). Cross-examination showed that position to
        Division's pleadings, I will order Hesterman to           be untenable as to Robert Weeks (Tr. 240-41,
        disgorge $852,600.                                        819-22). The Division then stated that “it would be
                                                                  in the [province] of the Court” to determine if such
          *57 The Division also seeks disgorgement of             credit card payments benefited any one of the
        $2,531,831 from Kenneth Weeks (Div. Prop. Find.           Respondents (Tr. 1093-94). The Division's
        # 258; Div. Br. at 52). From Hamilton's account at        posthearing pleadings add nothing new on this
        CIBC, the Division attributes disbursements of            issue. Because the Division has offered no record
        $228,927 to Kenneth Weeks (DX 181). This                  citations to support its claim that such payments
        includes payments to Daninger's ($9,127), Kenneth         benefited only Kenneth Weeks, no individual
        Weeks Insurance Service ($10,000), Maxwell                disgorgement will be ordered. But see infra note 40.
        Carpets ($3,000), Michele Martin ($24,800), and
        Washington National, Ltd. ($182,000). From                  The Division fares no better with its claim that
        Stockton's account at CIBC, the Division attributes       $4,885 in Discover Card bills, paid by Stockton in
        $2,207,109 to Kenneth Weeks (DX 182). This                mid-1996, should be attributed to Kenneth Weeks
        includes payments to Augusta National Trust               (Div. Prop. Find. # 248; DX 182). The argument
        ($162,500), Canyon Corporation ($30,000), Castle          finds its only support in evidence that Kenneth
        Pines ($1,000), Colonial National, Ltd. ($7,266),         Weeks caused CIBC to issue a cashier's check to
        Dave Strong Porsche Audi ($64,390), Kenneth               pay $2,000 to Discover Card on April 25, 1997 (Tr.
        Weeks Insurance Service ($64,200), Michele                859-61, 864, 887-88; DX 171). The difficulty with

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 43 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06          Page 43 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 43
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        this evidence (which Susan Weeks provided shortly         minus $3,451,636), or less than 8% of the total. As
        before the hearing) is that it conflicted with            to this amount, two separate awards of
        evidence the Division previously obtained from            joint-and-several liability are appropriate.FN[FN40]
        Cordes (DX 130). The Bahamian bank records
        clearly show that Stockton's account at CIBC was            I see no purpose in ordering the three
        inactive, with only a token balance, after March 1,       Respondents to make an accounting. Cf. Canady,
        1997 (DX 130 at 11310-25). The Division has               2001 SEC LEXIS 2469 (Initial Decision on
        acknowledged that deposits to the Hamilton account        Remand) (Nov. 26, 2001), review granted.
        after December 6, 1996, did not come from                 Prejudgment interest shall be due on all sums
        transactions in Dynamic American stock (DX 181            disgorged, with the rate of interest computed as
        at 3). In addition, Hamilton's account at CIBC was        specified in Rule 600 of the Commission's Rules of
        inactive at the relevant time (DX 130 at 11411)           Practice. The Division has suggested that interest
        (monthly statement of May 15, 1997). While the            should be computed starting in December 1996, and
        April 25, 1997, Discover Card payment obviously           I concur.
        benefited Kenneth Weeks, there is an insufficient
        basis for inferring that the payment was linked to        Civil Monetary Penalties
        transactions in Dynamic American stock.FN[FN39]
                                                                    Under Section 21B(a) of the Exchange Act, the
          *58 Finally, I reject the Division's argument that      Commission may assess civil monetary penalties if
        Kenneth Weeks should disgorge another $185,000            the respondent has willfully violated the Securities
        paid by CIBC cashier's checks to Dipo Construction        Act, the Exchange Act, or the rules and regulations
        Company from July 1997 to October 1997 (Div.              thereunder. It must also find that such penalties are
        Prop. Find. # 256). There is no question that these       in the public interest. See Section 21B(c) of the
        payments benefited Kenneth Weeks (Tr. 457-58,             Exchange Act. Six factors are relevant to the public
        858-59; DX 171). However, Stockton's account at           interest determination: (1) fraud; (2) harm to others;
        CIBC was inactive after March 1, 1997 (DX 130 at          (3) unjust enrichment; (4) prior violations; (5)
        11310-25) and Hamilton's account was inactive             deterrence; and (6) such other matters as justice
        after July 15, 1997 (DX 130 at 11424-40). As              may require. Not all factors may be relevant in a
        noted, the Division acknowledges that deposits to         given case, and the factors need not all carry equal
        the Hamilton account after December 6, 1996, did          weight. In its discretion, the Commission may
        not come from transactions in Dynamic American            consider evidence of the respondent's ability to pay.
        stock (DX 181 at 3). Accordingly, there is no basis       See Section 21B(d) of the Exchange Act.
        for inferring that the payments represented the
        proceeds of transactions in Dynamic American                Section 21B(b) of the Exchange Act specifies a
        stock.                                                    three-tier system identifying the maximum amount
                                                                  of a penalty. For each “act or omission” by a natural
          To summarize, the Division has shown that               person, the maximum amount of a penalty in the
        $3,741,443 flowed into the Stockton and                   first tier is $5,000; in the second tier, it is $50,000;
        NCM/Hamilton accounts at CIBC and was                     and in the third tier, it is $100,000.FN[FN41] A
        attributable to transactions in Dynamic American          second-tier penalty is permissible if the act or
        stock. Of that amount, the record shows that Robert       omission involved fraud, deceit, manipulation, or
        Weeks received $171,500, Hesterman received               deliberate or reckless disregard of a regulatory
        $852,600,      and     Kenneth     Weeks     received     requirement. A third tier-penalty must have not only
        $2,427,536. When the sums received individually           involved fraud, deceit, manipulation, or deliberate
        by each of the three Respondents are added                or reckless disregard of a regulatory requirement,
        together, the total is $3,451,636, or over 92% of the     but also must have “directly or indirectly resulted in
        total. The difference between the amount flowing          substantial losses or created a significant risk of
        into the two Bahamian accounts and the amounts            substantial losses to other persons or resulted in
        disbursed from the two accounts to individual             substantial pecuniary gain to the person who
        Respondents is therefore $289,807 ($3,741,443             committed the act or omission.”

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 44 of 52
           Case 3:06-cv-06384-CRB                   Document 18-4      Filed 12/11/06          Page 44 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                    Page 44
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

          *59 The statutory maximum is not an overall               considerations such as the avoidance of
        limitation, but a limitation per violation. Thus, a “       time-and-manpower-consuming            adversary
        Dear Investor” letter containing one fraudulent             proceedings. See Stonegate Secs., Inc., 76 SEC
        misrepresentation, when mailed to 3,400 Dynamic             Docket 111, 116 n.21 (Oct. 16, 2001) (collecting
        American shareholders, constitutes 3,400 separate           cases).
        acts or omissions. Likewise, each sale of
        unregistered securities, each failure to file a             No Issue Of Inability To Pay
        quarterly or annual report or a Form 8-K, each
        failure to file a timely report, and each failure to file     Well before the hearing, I advised Respondents
        a beneficial ownership report constitutes a separate        that, if they were going to claim inability to pay
        act or omission. See United States v. Reader's              disgorgement or civil penalties, they would have to
        Digest Ass'n., 662 F.2d 955, 966, 970 (3d Cir. 1981)        submit detailed financial statements on Form D-A,
        (holding that each individual mailing constitutes a         as well as supporting income tax returns, at the
        separate violation of an FTC consent order). The            hearing (Prehearing Conference of April 18, 2000,
        Division requests civil penalties of $600,000 as to         at 14-16; Order of April 18, 2000). See Rule 630 of
        each Respondent (Div. Br. at 49, 54).FN[FN42]               the Commission's Rules of Practice; Terry T. Steen,
        Penalties at that level are well within the statutory       53 S.E.C. 618, 626-28 (1998) (holding that an ALJ
        ceiling.                                                    may require the filing of sworn financial
                                                                    statements). All three Respondents expressed the
          Third-tier penalties are warranted for the proven         intent to make such filings, but only Robert Weeks
        antifraud violations. The misconduct established on         even attempted to do so. Robert Weeks's prehearing
        this record involved fraud, deceit, and the reckless        submission was woefully incomplete (Prehearing
        disregard of regulatory requirements. It also created       Conference of June 28, 2000, at 19-20). He never
        significant risk of substantial losses to the investing     offered it as a hearing exhibit, and he eventually
        public and resulted in substantial financial gain to        withdrew it from consideration (Tr. 1501, 1503). I
        the three Respondents. In addition, first-tier civil        conclude that all three Respondents have waived
        penalties are warranted for the offer and sale of           any claim of inability to pay.
        unregistered     securities,   the    reporting    and
        recordkeeping violations, and the failure to file           Penny Stock Bars
        ownership reports.
                                                                      *60 As here relevant, Section 15(b)(6)(A) of the
          I will impose civil penalties of $200,000 against         Exchange Act permits the Commission to bar a
        Robert Weeks and Kenneth Weeks. Based on his                person from participating in an offering of penny
        prior securities fraud conviction, Hesterman is a           stock if it finds that: (1) such person has willfully
        repeat offender. I will impose a civil penalty of           violated any provision of the federal securities laws;
        $250,000 against him. While the events in this case         (2) at the time of the violation, such person was
        occurred more than ten years after his conviction, it       participating in an offering of any penny stock; and
        is evident that Hesterman never rehabilitated               (3) such a bar is in the public interest. Section
        himself.FN[FN43] I conclude that the $600,000               15(b)(6)(C) of the Exchange Act defines “person
        penalties sought by the Division involve                    participating in an offering of penny stock” to
        overreaching and are not consistent with the public         include anyone “acting as a promoter, finder,
        interest. At the same time, I recognize that the civil      consultant, agent, or other person who engages in
        penalties in settled cases involving both antifraud         activities with a broker, dealer, or issuer for
        violations and sham offshore transactions to sell           purposes of the issuance or trading in any penny
        unregistered securities in purported reliance on            stock, or inducing or attempting to induce the
        Regulation S generally have been lower than                 purchase or sale of any penny stock.”
        $200,000.FN[FN44] However, the Commission has
        recently reiterated that those who offer to settle may        Respondents' willful violations of the federal
        properly receive lesser sanctions than they                 securities laws have been discussed throughout this
        otherwise might have received, based on pragmatic           Initial Decision. The violations were serious and

                                    © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 45 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 45 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 45
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        continued over a long period of time. Dynamic                *61 IT IS FURTHER ORDERED THAT
        American's common stock was penny stock, with              David A. Hesterman disgorge $852,600, plus
        the exception of a few weeks during July and               prejudgment interest computed at the rate set forth
        August 1995 when it was trading above $5.00 per            in Rule 600 of the Commission's Rules of Practice,
        share. The willful violations occurred while               from December 1, 1996, to the last day of the
        Dynamic American's stock was penny stock.                  month preceding the month in which payment is
        Whether Respondents are described as promoters,            made;
        finders, consultants, or de facto officers and
        directors of Dynamic American, all three were                IT IS FURTHER ORDERED THAT Kenneth L.
        extensively involved with a broker (La Jolla) and an       Weeks disgorge $2,427,536, plus prejudgment
        issuer (Dynamic American) in both the issuance of          interest computed at the rate set forth in Rule 600 of
        Dynamic American common stock and in                       the Commission's Rules of Practice, from December
        attempting to induce the purchase or sale of               1, 1996, to the last day of the month preceding the
        Dynamic American common stock. In Robert                   month in which payment is made;
        Weeks's case, that involvement included, but was
        not limited to, promotional trips to London, New             IT IS FURTHER ORDERED THAT Robert G.
        York, Boston, and California, as well as                   Weeks and Kenneth L. Weeks, jointly and
        participation in a television infomercial and radio        severally, disgorge $16,294, plus prejudgment
        talk shows. Based on the Steadman factors                  interest computed at the rate set forth in Rule 600 of
        discussed above, penny stock bars are clearly              the Commission's Rules of Practice, from December
        warranted in the public interest.                          1, 1996, to the last day of the month preceding the
                                                                   month in which payment is made; such
        RECORD CERTIFICATION                                       disgorgement shall be in addition to the amounts
                                                                   these two Respondents are ordered to disgorge
          Pursuant to Rule 351(b) of the Commission's              separately;
        Rules of Practice, I certify that the record includes
        the items set forth in the record index issued by the        IT IS FURTHER ORDERED THAT David A.
        Secretary of the Commission on October 23, 2001.           Hesterman and Kenneth L. Weeks, jointly and
                                                                   severally, disgorge $273,513, plus prejudgment
        ORDER                                                      interest computed at the rate set forth in Rule 600 of
                                                                   the Commission's Rules of Practice, from December
          Based on the findings and conclusions set forth          1, 1996, to the last day of the month preceding the
        above,                                                     month in which payment is made; such
                                                                   disgorgement shall be in addition to the amounts
          IT IS ORDERED THAT Robert G. Weeks,                      these two Respondents are ordered to disgorge
        David A. Hesterman, and Kenneth L. Weeks cease             separately and, in the case of Kenneth L. Weeks, in
        and desist from committing or causing any violation        addition to the amount he is ordered to disgorge
        or future violation of Sections 5(a), 5(c), and 17(a)      jointly and severally with Robert G. Weeks;
        of the Securities Act of 1933, Sections 10(b), 13(a),
        13(b)(2)(A), 13(b)(2)(B)(ii), 13(b)(5), 13(d), 13(g),        IT IS FURTHER ORDERED THAT Robert G.
        and 16(a) of the Securities Exchange Act of 1934,          Weeks pay a civil penalty of $200,000, that David
        and Rules 10b-5, 13a-1, 13a-10, 13a-11, 13a-13,            A. Hesterman pay a civil penalty of $250,000, and
        13d-1, 13d-2, 16a-3, 12b-20, and 12b-25 thereunder;        that Kenneth L. Weeks pay a civil penalty of
                                                                   $200,000;
          IT IS FURTHER ORDERED THAT Robert G.
        Weeks disgorge $171,500, plus prejudgment                    IT IS FURTHER ORDERED THAT Robert G.
        interest computed at the rate set forth in Rule 600 of     Weeks, David A. Hesterman, and Kenneth L.
        the Commission's Rules of Practice, from December          Weeks are barred from participating in any offering
        1, 1996, to the last day of the month preceding the        of penny stock.
        month in which payment is made;

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                    Page 46 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 46 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 46
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

          Payment of the disgorgement, interest, and civil         Weeks's Posthearing Brief, dated September 3,
        penalties shall be made on the first day following         2001, will be cited as “RW Br.___.” The Division's
        the day this Initial Decision becomes final. Payment       Reply Brief, dated September 19, 2001, will be
        shall be made by certified check, United States            cited as “Div. Reply Br. ___.” I have not received
        Postal money order, bank cashier's check, or bank          any posthearing pleadings from Respondents
        money order, payable to the Securities and                 Hesterman and Kenneth Weeks. See Order of
        Exchange Commission. The payments, and cover               September 10, 2001.
        letters identifying the Respondents and the
        proceeding designation, should be delivered to the           FN3. Rule 235(a) of the Commission's Rules of
        Comptroller, Securities and Exchange Commission,           Practice may be applied only if the absent witness's
        Operations Center, 6432 General Green Way, Stop            prior sworn statements are “otherwise admissible.”
        0-3, Alexandria, Virginia 22312. A copy of the             Under Rule 320 of the Commission's Rules of
        cover letters should be sent to the Commission's           Practice, an Administrative Law Judge “may”
        Division of Enforcement.                                   receive relevant evidence and “shall” exclude all
                                                                   evidence that is irrelevant, immaterial, or unduly
          This Order shall become effective in accordance          repetitious. Because the parties seek to admit DX
        with and subject to the provisions of Rule 360 of          184, DX 185, and RX 135 for the truth of the
        the Commission's Rules of Practice. Pursuant to that       matters asserted therein, I have also considered the
        Rule, a petition for review of this Initial Decision       Commission's position on hearsay. In determining
        may be filed within twenty-one days after service of       when to admit and whether to rely on hearsay
        the Initial Decision. It shall become the final            evidence, the Commission has consistently
        decision of the Commission as to each party who            evaluated its probative value, its reliability, and the
        has not filed a petition for review pursuant to Rule       fairness of its use. See Harry Gliksman, 71 SEC
        360(d)(1) within twenty-one days after service of          Docket 892, 901 (Dec. 20, 1999), aff'd, 2001 U.S.
        the Initial Decision on that party, unless the             App. LEXIS 25479 (9th Cir. Nov. 26, 2001);
        Commission,      pursuant     to   Rule    360(b)(1),      Charles D. Tom, 50 S.E.C. 1142, 1145 (1992). The
        determines on its own initiative to review this Initial    Commission has expressed a preference for
        Decision as to that party. If a party timely files a       inclusiveness in doubtful cases. See City of Anaheim
        petition for review, or the Commission acts to             , 71 SEC Docket 191, 193-94 & nn.4-8 (Nov. 16,
        review on its own motion, the Initial Decision shall       1999). While the Federal Rules of Civil Procedure
        not become final as to that party.                         and the Federal Rules of Evidence do not govern
                                                                   the Commission's administrative proceedings, they
        *62 James T. Kelly                                         often provide helpful guidance on issues not
        Administrative Law Judge                                   directly addressed by the Commission's Rules of
                                                                   Practice. Cf. Yanopoulos v. Dept. of Navy, 796
                                                                   F.2d 468, 471 (Fed. Cir. 1986). I conclude that
          FN1. Dynamic American's nominal officers and             Cordes's investigative testimony and affidavit are “
        directors were also named as Respondents in this           otherwise admissible.”
        proceeding. As described below, one defaulted and
        two settled with the Commission.                             FN4. At the time he made these statements,
                                                                   Kenneth Weeks had no motive to shift blame to
          FN2. The hearing transcript, as amended by my            anyone else or to minimize his own culpability. His
        Order of August 29, 2000, will be cited as “Tr. ___.       lack of exculpatory motive while inculpating
        ” The hearing exhibits offered by the Division and         himself in misconduct provides the circumstantial
        by Respondents will be cited as “DX ___” and “             guarantee of reliability that underpins the hearsay
        RX___,” respectively. The Division's Proposed              exception for statements against interest and
        Findings of Fact and Conclusions of Law and the            distinguishes this case from the confrontation clause
        Division's Posthearing Brief, both dated June 1,           problem in Lilly v. Virginia, 527 U.S. 116 (1999).
        2001, will be cited as “Div. Prop. Find. ___” and “        See United States v. Boone, 229 F.3d 1231,
        Div. Br.___,” respectively. Respondent Robert              1232-34 (9th Cir. 2000) (collecting cases), cert.

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 47 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 47 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 47
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        denied, 121 S. Ct. 1747 (2001). By its own terms,         American's common stock was arguably excluded
        the Sixth Amendment right of confrontation applies        from the definition of “penny stock” in Section
        only in criminal cases. It does not apply in              3(a)(51)(A)(iv) of the Exchange Act and Rule
        administrative proceedings. See Hannah v. Larche,         3a51-1(g)(1) thereunder. The exclusion would
        363 U.S. 420, 440 n. 16 (1960). I therefore find          remain in effect as long as Dynamic American filed
        unpersuasive Respondents' reliance on Lilly (Tr.          current audited financial statements with the
        871).                                                     Commission. The exclusion allowed brokers with a
                                                                  reasonable basis for believing that the audited
         FN5. Prospective DX 28 does not appear on the            financial statements were accurate to make a market
        Exhibit List of September 25, 2001, because the           in Dynamic American common stock without
        Division never offered it at the hearing.                 providing the extensive disclosure required for
                                                                  penny stocks.
          FN6. The Division objected to Dynamic
        American's use of the term “ore concentrates” and           FN10. The notion that Pero owned such highly
        insisted that these assets were nothing more than         desirable assets that he could dictate take-it-or-leave
        tailings- waste materials produced during previous        - it terms strains belief. Samsung, a Korean
        mineral processing operations (DX 180, Appendix           company that was Dynamic American's competitor
        2). The Division's point is well taken, and this          for Pero's properties, offered Pero only modest
        decision will refer to the Pioche assets as tailings.     royalty payments after production commenced (Tr.
                                                                  1493-94). As Turner well knew, H.T. Heard
          FN7. On May 7, 1971, National Land                      (Heard), a mining engineer, had issued a report on
        Corporation filed a Form 10 registration statement,       November 15, 1993, stating that reserves were “nil”
        which was declared effective on March 16, 1972,           and describing Pero's properties as “poor boy” (RX
        registering a class of its securities with the            25, Appendix 1). Heard wrote that “any well
        Commission pursuant to Section 12(g) of the               capitalized group which might be interested in this
        Exchange Act (official notice).                           area could find any number of more attractive
                                                                  alternatives” (RX 25, Appendix 1).
          FN8. The electronic bulletin board was not a “
        stock exchange.” At the relevant times, the bulletin        FN11. An “affiliate” of a specified person is a
        board did not meet the definition of an exchange in       person that directly, or indirectly through one or
        Section 3(a)(1) of the Exchange Act and it was not        more intermediates, controls, or is controlled by, or
        registered as an exchange under Section 6 of the          is under common control with, the specified person.
        Exchange Act. The bulletin board simply provided          See, e.g., Exchange Act Rule 12b-2. “Control”
        an electronic quotation medium for subscribing            means the possession, direct or indirect, of the
        members to reflect market-making interest in              power to direct or cause the direction of the
        various securities. See NASD Manual, OTC                  management and policies of a person, whether
        Bulletin Board Service Rules, ¶¶ 2571 et seq.             through the ownership of voting securities, by
        (July 1994); see also Section 15A(b)(11) of the           contract, or otherwise. See id.
        Exchange Act (requiring NASD's rules to address
        the form and content of quotations relating to “            FN12. At the hearing, Robert Weeks denied
        securities sold otherwise than on a national              ownership or control of BT&S (Tr. 39-44). He
        securities exchange”).                                    admitted that he said what Barlow had recorded in
                                                                  his diary, denied that his statement to Barlow was
          FN9. The $4.3 million valuation for the Pioche          true, and explained that he made the statement to
        tailings first appeared in Dynamic American's             keep Barlow from terminating Dynamic American's
        financial statements for the year ending December         contract with BT&S. Based on the entire record, I
        31, 1993 (official notice of 1993 Form 10-K). As an       reject this testimony as incredible. I find that Robert
        issuer that could claim to have been in continuous        Weeks was telling the truth to Barlow in October
        operation for more than three years and to have net       1996 and that he was not telling the truth at the
        tangible assets in excess of $2 million, Dynamic          hearing.

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 48 of 52
           Case 3:06-cv-06384-CRB                Document 18-4        Filed 12/11/06         Page 48 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 48
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

          FN13. Turner is not a respondent in this                reject Turner's conflicting testimony. Finally, I note
        proceeding, and no liability would attach to him as       that the only copy of the contract in the record is
        a result of such a finding. The issue would be            incomplete: exhibits A and B are not attached.
        important only insofar as might reflect on Turner's
        credibility as a witness. Turner insisted that the          FN16. Dynamic American did not file its
        three Respondents were not shareholders, officers,        quarterly report for the period ending September
        or directors of BT&S (Tr. 1376, 1382-83). When            30, 1995, until April 2, 1996 (DX 18, DX 170). It
        asked to name the actual owners, Turner refused,          did not file its amended annual report for fiscal year
        citing Bolivian attorney-client privilege (Tr.            1995 until late in 1996 (DX 21, DX 48, DX 170).
        1476-77).
                                                                    FN17. Dynamic American's quarterly report for
          FN14. The date of execution of the Pero-BT&S            the period ending June 30, 1995, did not include the
        contract is unclear. The only copy of the contract in     value of the Bolivian mineral properties on the
        the record is undated (RX 133, Appendix A).               company's unaudited financial statements (DX 16).
        Turner's September 13, 1995, letter to Burton states      However, that quarterly report did discuss the
        that the contract was signed on June 30, 1995 (RX         Bolivian acquisition in a narrative section entitled “
        133 at 2). At the hearing, the Division based its         Other Information.” The narrative stated that, after
        questions to Robert Weeks and Burton on a version         the end of the quarter, Dynamic American had
        of the contract that was apparently dated July 15,        closed a transaction to acquire the Bolivian assets
        1995 (Tr. 48, 54-56, 59, 81-82, 84, 92, 101, 103,         from BT&S for $40 million. It also stated:
        283, 497). However, the Division never offered that             Included as an exhibit hereto is a
        version of the contract into evidence (prospective            pro-forma/post-escrow closing balance sheet
        DX 47). Burton testified credibly that he had                 reflecting the acquisition as of June 30, 1995.
        already left Bolivia, and that he had never seen that         Management believes that this pro-forma
        contract (Tr. 497).                                           balance sheet closely resembles the way the
                                                                      balance sheet would appear as of September
          FN15. The date of execution of the                          18, 1995, the date of conclusion of the
        BT&S-Dynamic American contract is also unclear.               acquisition.The      unaudited     pro      forma
        While DX 5 recites that this contract was signed on           post-escrow balance sheet valued the Bolivian
        July 18, 1995, Turner's September 13, 1995, letter            mineral properties at $40 million.
        to Burton states that it was executed on July 5, 1995
        (RX 133 at 2). Turner insisted that Burton                  Dynamic American's annual report for the fiscal
        negotiated the terms on behalf of Dynamic                 year ending September 30, 1995, filed on August 9,
        American and that he, Turner, signed the contract in      1996, did not include the value of the Bolivian
        La Paz (Tr. 1387-88). In fact, Burton had no              mineral properties as an asset on the balance sheet
        authority to act for Dynamic American at the time.        (DX 20). However, the narrative portion of the
        Barlow testified that Turner was in Robert Weeks's        annual report discussed the Bolivian transaction at
        office in Salt Lake City when the parties signed the      some length (DX 20 at 4-6).
        contract (Tr. 400).
                                                                    It is insignificant that this information appeared in
          Turner was anxious to start Dynamic American's          a pro forma balance sheet and in the narrative
        sixty-day due diligence period running, and his use       section of the annual report, as distinguished from
        of the earlier date is best understood in that light.     the balance sheets identified in the amended OIP.
        The sooner the shares could be released from              The three Respondents have not pressed the point.
        escrow, the sooner the forty-day Regulation S
        holding period could start to run. Although                 FN18. Dynamic American did not authorize its
        Dynamic American considered the due diligence             transfer agent to issue these shares to BT&S until
        period to close on September 18, 1995, Burton             November 16, 1995, and the transfer agent did not
        completed his report on September 5, 1995 (DX 3           do so until November 27, 1995. Although both
        at 5617, DX 16). I credit Barlow's testimony and          dates were well after the close of fiscal year 1995,

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                 Page 49 of 52
           Case 3:06-cv-06384-CRB               Document 18-4         Filed 12/11/06         Page 49 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                 Page 49
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        Dynamic American reported the transaction as a            not receive a copy of the July 1, 1996, corporate
        fiscal year 1995 transaction (DX 1 at DA 72, DX           resolution until August 21, 1996 (DX 177 at 1121).
        177 at 27). A Dynamic American resolution reflects
        BT&S's demand to convert its convertible preferred          FN22. For reasons that are unclear, the Division
        shares to common shares on September 18, 1995.            elected not to question Turner about Cordero. But
        However, Burton's facsimile trailer on that               see Annual Report of Golden Eagle International,
        document is dated November 22, 1995 (DX 1 at              Inc. (Form 10-K, filed with the Commission on
        4552). I infer that Burton signed the document in         April 2, 2001) (containing Turner's executive
        November 1995 and that the document was                   biography and stating: “During the entire period of
        backdated to September 1995. The corporate                1983 through 1997, Mr. Turner was affiliated with
        resolution authorizing the issuance of Class B            and ‘of counsel’ to Cordero and Cordero, a La Paz,
        shares was not signed until December 15, 1995.            Bolivia, law firm, dealing with mineral and
        Dynamic American reported it, too, as a fiscal year       international law.”) (official notice).
        1995 transaction.
                                                                    FN23. One of Dynamic American's creditors was
          FN19. Geoffrey G. Snow (Snow), Ph.D., the               responsible for some of the short sales (DX 169 at
        Division's expert geologist, opined that the Pioche       1, DX 185 at 253). Although Turner accused Robert
        tailings had a gross value of no more than $45.94         Weeks and Hesterman of selling Dynamic
        per ton (DX 180 at 3-5). Under his analysis, the          American short, Robert Weeks denied an
        maximum value of 35,000 tons of tailings would be         understanding of short sales (Tr. 131-32; DX 25 at
        approximately $1.6 million. Leslie A. Patten              220).
        (Patten), CPA, the Division's expert accountant,
        opined that Dynamic American's financial                    FN24. The most the Division can offer on this
        statements consistently failed to value the Pioche        subject is a mixture of conjecture and surmise (Div.
        tailings in accordance with generally accepted            Br. at 14):
        accounting principles (GAAP) (DX 178 at 5-7). I                  A reasonable inference from the evidence is
        credit this testimony, which Respondents did not               that respondents retained control over some of
        attempt to rebut.                                              the [twenty] million Dynamic American shares
                                                                       transferred to BT&S. It was the groups'
          FN20. A transfer agent is defined in Section                 intention to sell all of this stock by illegally
        3(a)(25) of the Exchange Act as a person who                   using Regulation S. Respondents … would not
        engages on behalf of an issuer of securities in                have given all of the stock to Pero and Turner,
        countersigning such securities upon issuance;                  the only other participants in the deal.
        monitoring the issuance of such securities with a
        view to preventing unauthorized issuance;                  FN25. La Jolla had received $5,000 from
        registering the transfer of such securities;              Dynamic American to market its stock (DX 10).
        exchanging or converting such securities; or
        transferring record ownership of securities by              FN26. Dynamic American's quarterly report for
        bookkeeping entry without physical issuance of            the period ending September 30, 1995, stated that
        securities certificates. Dynamic American's transfer      the company spent $100,000 on legal work, title
        agent was I-Data, Inc., of Dallas, Texas (Tr.             research, and professional fees (DX 18 at 7). It
        632-33). Robert Bogutski (Bogutski), an associated        mentioned nothing about using any funds to
        person of the transfer agent, testified for the           complete the smelter or reopen the mines. Turner
        Division.                                                 characterized the funds Dynamic American sent to
                                                                  Bolivia as “meager” (DX 48 at 2).
          FN21. The July 1, 1996, corporate resolution was
        either backdated or prepared by someone with                FN27. Consistent with Rule 323 of the
        advance knowledge of NCM's name change: NCM               Commission's Rules of Practice, I advised the
        did not become Hamilton until August 7, 1996.             parties of my intent to consider cases involving
        Moreover, Dynamic American's transfer agent did           Bogutski and Cordes. See Posthearing Conference

                                  © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                   Page 50 of 52
           Case 3:06-cv-06384-CRB                  Document 18-4      Filed 12/11/06          Page 50 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                   Page 50
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        of April 11, 2001, at 7-9. No party objected.              States had the more direct and compelling interest
                                                                   here.
          FN28. The Division argues that Turner's
        invocation of the Bolivian attorney-client privilege         The proponent of the privilege must establish not
        should not be allowed to frustrate meaningful              merely the privileged relationship, but all essential
        cross-examination. See United States v. Bilzerian,         elements to the privilege. Golden Trade, 143 F.R.D.
        926 F.2d 1285, 1292 (2d Cir. 1991); In re von              at 523. The proponent of the privilege must present
        Bulow, 828 F.2d 94, 103 (2d Cir. 1987). As a               affidavits or other competent evidence to establish
        remedy, it asks me to give no weight to Turner's           sufficient facts to prove applicability of the
        testimony (Tr. 1376-82, 1463; Div. Reply Br. at            privilege; conclusory or ipse dixit assertions are not
        13). This is an interesting argument, coming from          enough. See Saxholm AS v. Dynal, Inc., 164 F.R.D.
        the party that offered Cordes's investigative              331, 333, 337 (E.D.N.Y. 1996); Burroughs
        testimony. Respondents had no opportunity to               Wellcome Co. v. Barr Labs., Inc., 143 F.R.D. 611,
        cross-examine Cordes, and the Division has not             621 (E.D.N.C. 1992). Robert Weeks, who
        addressed its inconsistent positions. See also Adrian      sponsored Turner's testimony, failed to offer such
        Antoniu, 48 S.E.C. 909, 913 (1987), aff'd in part          competent evidence at the hearing, and the affidavit
        and rev'd in part, 877 F.2d 721, 724 n.4 (8th Cir.         appended to his brief lacks the necessary
        1989). In Antoniu, Respondent argued that his              specificity. See Scutillo, 74 SEC Docket at 2532-34
        cross-examination of certain of the Division's             (holding that it is fundamentally unfair to admit
        witnesses had been improperly curtailed when the           testimony on foreign law (here, Turner's testimony
        witnesses invoked the grand jury secrecy rule. The         about Bolivian law on attorney-client privilege)
        Commission found that the witnesses' refusal to            without reasonable written notice and without
        disclose matters occurring before the grand jury was       affording opposing counsel an opportunity to
        entirely proper. It further found that there had been      cross-examine on the scope of the foreign law).
        no prejudice because the testimony was irrelevant.         Turner did not substantiate his claim of Bolivian
        Finally, it did not rely on the disputed testimony in      attorney-client privilege at the hearing.
        resolving the case. See 48 S.E.C. at 913.
                                                                     FN30. Items 401 (e) and 401 (f) of Exchange Act
          FN29. If a communication to a foreign attorney           Regulation S-K describe the sort of information that
        has nothing to do with the United States or has only       directors and officers must disclose as to their
        an incidental connection to this country, a privilege      business experience and employment and their
        issue should be determined by the law of the foreign       involvement in legal proceedings during the past
        nation; however, if the communication has more             five years. If the three Respondents had
        than an incidental connection to the United States, a      acknowledged their roles as de facto directors and
        court should undertake a traditional choice-of-law         officers of Dynamic American, Robert Weeks's
        analysis and defer to the law of privilege of the          employment by Pan World would have been
        nation having the most direct and compelling               reportable. The Commission's determination to
        interest in the communication. See VLT Corp. v.            suspend trading in Pan World stock in May 1995
        Unitrode Corp., 194 F.R.D. 8, 15-16 (D. Mass.              and the district court order enjoining Pan World
        2000); Golden Trade S.r.L. v. Lee Apparel Co., 143         from the sale of unregistered securities in August
        F.R.D. 514, 520-23 (S.D.N.Y. 1992). Such an                1995 would not have been reportable. The ongoing
        interest will be determined after considering the          grand jury and Commission investigations of Pan
        parties to and the substance of the communication,         World and Robert Weeks also would not have been
        the place where the relationship was centered at the       reportable at the times relevant to this case.
        time of the communication, the needs of the                Hesterman's criminal conviction would not have
        international system, and whether the application of       been reportable because it was over five years old.
        foreign privilege law would be clearly inconsistent        Under Items 403 and 404 of Exchange Act
        with important policies embedded in federal law.           Regulation S-K, the three Respondents' beneficial
        See VLT, 194 F.R.D. at 16. The attorney-client             ownership of Dynamic American stock and
        privilege applicable under the laws of the United          related-party transactions would have been

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 51 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 51 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 51
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        reportable.                                                Decision) (Sept. 25, 1997) (imposing a penny stock
                                                                   bar, even though the stock in question traded above
          FN31. Other Dynamic American documents,                  $5.00 per share for several weeks immediately after
        including the quarterly and annual reports, the            the respondent made fraudulent statements to the
        August 10, 1995, press release, and the fact sheets        investing public), final, 65 SEC Docket 2418 (Oct.
        contained disclaimers stating that Dynamic                 30, 1997); or New Allied Dev. Corp., 60 SEC
        American had no firm plans as to how it would              Docket 339, 348, 369 (Initial Decision) (Aug. 31,
        obtain sufficient capital to fund its Bolivian tin         1995) (imposing a penny stock bar, although the
        venture (DX 3, DX 8, DX 9, DX 16 at 6, DX 18 at            stock in question traded at $7.00 per share for a
        7, DX 20 at 10, DX 21 at 10).                              brief time), reviewed de novo, 63 SEC Docket 807,
                                                                   811, 824 (Nov. 26, 1996). Those Initial Decisions
          FN32. At the hearing, the Division focused on            support the proposition that a penny stock bar is not
        Dynamic American's representations about reserves          precluded because the price of the security went
        in documents filed with the Commission (Tr. 1069).         above $5.00 per share at some point during the
        It now pursues relief for representations about            relevant time period. They do not support the
        reserves in Dynamic American's informal                    proposition that a penny stock bar would be
        communications, as well (Div. Br. at 22).                  warranted if the Division could prove violations of
                                                                   the federal securities laws only while the security
          FN33. If Industry Guide 7 were applied to the            traded at or above $5.00 per share.
        disclosure in the fact sheets, Dynamic American's
        discussion of “possible” and “prospective” reserves          FN37. Testimony of SEC Chairman Arthur Levitt
        would have been permissible under the proviso to           before the Committee on Governmental Affairs,
        Instruction 3 for Industry Guide 7 ¶ (b)(5). Those         Permanent Subcommittee on Investigations, United
        estimates previously had been provided to a firm           States Senate, Concerning Fraud in the “Micro Cap”
        that was offering to consolidate with Dynamic              Market at 11, 26 (Sept. 22, 1997), available at
        American (namely, BT&S). The material omission             http://www.sec.gov/news/testimon
        arises from the fact that Dynamic American did not         y/testarchive/1997/tsty1497.txt.
        explain, or explain adequately, the limitations of the
        terms “possible” and “prospective.”                          FN38. This represents a minor reduction from the
                                                                   Division's prehearing request for disgorgement of “
          FN34. Even if this did not demonstrate scienter,         at least” $3,794,604 (Division's Supplemental
        the outcome would not change. In that event, the           Prehearing Brief, dated June 28, 2000).
        three Respondents could not be held liable under
        Section 17(a)(1) of the Securities Act, Section 10(b)        FN39. If the Discover Card payment came from
        of the Exchange Act, or Rule 10b-5. However, their         another Kenneth Weeks-controlled entity that had
        failure to correct Barlow's valuation of the Pioche        an account at CIBC (such as Washington National,
        tailings would still rise to the level of negligence,      Ltd.), an order to disgorge would involve double
        and liability would be sustained under Sections            counting. If the Discover Card payment came from
        17(a)(2) and 17(a)(3) of the Securities Act.               Kenneth Weeks's involvement in other businesses
        Negligence is a failure to exercise reasonable care        (perhaps relating to the unproven charges in the Pan
        or competence. See SEC v. Hughes Capital Corp.,            World injunctive and criminal cases), there would
        124 F.3d 449, 453-54 (3d Cir. 1997).                       be no basis for ordering disgorgement in this case,
                                                                   which is confined to illicit benefits obtained in
         FN35. See e.g., JG Indus., Inc., 2001 SEC                 transactions involving Dynamic American. Cordes
        No-Act. LEXIS 622 (June 18, 2001); Sierra Real             made this point in his affidavit (RX 135 at ¶ 6).
        Estate Equity Trust & Co., 1995 SEC No-Act.
        LEXIS 832 (Nov. 22, 1995).                                   FN40. The record shows transfers of $16,294
                                                                   from Stockton and NCM/Hamilton to the nursing
          FN36. The Division's argument finds no support           home that cared for the father of Robert and
        in Matt Matson, 65 SEC Docket 1458, 1459 (Initial          Kenneth Weeks, to the mortuary that made

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
                                                                                                                  Page 52 of 52
           Case 3:06-cv-06384-CRB                 Document 18-4       Filed 12/11/06          Page 52 of 52

         Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release                                  Page 52
        No.)
        (Cite as: Release No. 199, Release No. ID - 199, 2002 WL 169185 (S.E.C. Release No.))

        arrangements for their father's funeral, and to their      violations); SEC v. Jui-Teng Lin, No. 1:98 CV
        sister, Kay Wyler (Tr. 192, 234, 1113-16; DX 181,          2123 (D.D.C. Sept. 3, 1998), SEC Litig. Rel. No.
        DX 182). It is undisputed that Robert and Kenneth          15870 (Sept. 3, 1998) (settled case) (imposing
        Weeks benefited equally from these payments, and           permanent injunctions, disgorgement, $100,000 and
        that Hesterman did not benefit at all. I will order        $50,000 civil penalties against two defendants for
        Robert and Kenneth Weeks to disgorge that                  securities registration and antifraud violations, and
        amount, jointly and severally. Hesterman and               for filing false beneficial ownership reports).
        Kenneth Weeks will be jointly and severally liable
        for the remaining $273,513, because they controlled         Release No. 199, Release No. ID - 199, 2002 WL
        the Stockton and NCM/Hamilton accounts. Robert             169185 (S.E.C. Release No.)
        Weeks will not be liable for that sum because he did
        not control the Bahamian accounts.                         END OF DOCUMENT

          FN41. The Commission increased the amounts
        for violations occurring after December 9, 1996,
        and, again, for violations occurring after February
        2, 2001. See 17 C.F.R. §§ 201.1001 and 201.1002.
        Those increases are not relevant here.

          FN42. This represents a major reduction from the
        Division's prehearing request for civil penalties of “
        at least” $3,794,604 as to each Respondent
        (Division's Supplemental Prehearing Brief, dated
        June 28, 2000).

          FN43. Section 21B(c) does not limit the age of
        prior violations, and Hesterman's prior conviction
        makes him a greater danger to the investing public.
        Even if there were some Exchange Act policy
        against considering “stale” prior convictions,
        Hesterman's conviction was not stale. By analogy to
        the federal sentencing guidelines in criminal cases,
        sentences exceeding thirteen months are excluded
        from the defendant's criminal history calculation
        only if they were imposed more than fifteen years
        before the commencement of the instant offense.
        See U.S. Sentencing Guidelines Manual §
        4Aa.2(e)(1) (2001). While the federal sentencing
        guidelines do not control the imposition of
        sanctions      in    administrative     enforcement
        proceedings, they are instructive as to the type of
        conduct that might warrant stiffer administrative
        sanctions.

          FN44. See, e.g., SEC v. Members Serv. Corp.,
        No. 97 CV 1146 (HHK) (D.D.C. Oct. 4, 2000),
        SEC Litig. Rel. No. 16775 (Oct. 19, 2000) (default
        order as to Philip Sung) (imposing permanent
        injunction, disgorgement, and $100,000 civil
        penalty for securities registration and antifraud

                                   © 2006 Thomson/West. No Claim to Orig. U.S. Govt. Works.




http://web2.westlaw.com/print/printstream.aspx?sv=Split&destination=atp&prid=A00558000000107... 12/11/2006
